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                                Exhibit A




                                                            MCARTHUR OPP. 1
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                   Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                    June 03, 2021

· · · · · · · · · ·UNITED STATES DISTRICT COURT

· · · · · · · · ·CENTRAL DISTRICT OF CALIFORNIA

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· · ·THRIVE NATURAL CARE, INC.,

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· · · · · · · · · · ·Plaintiff,

·

· · ·vs.· · · · · · · · · · · · · Case No. 2:20-cv-9091-PA-AS

·

· · ·THRIVE CAUSEMETICS, INC.

·

· · · · · · · · · · ·Defendant.

·

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· · · · · · · ·VIDEOCONFERENCE 30(B)(6) DEPOSITION

· · · · · · · · · · · · · OF KARISSA BODNAR

· · · · · · · · · · · ·THURSDAY, JUNE 3, 2021

· · · · · · · · · · · · · · · 9:30 a.m.

·

· · · · · · · · · · · · · *CONFIDENTIAL*

· · · · · · · · · · · *ATTORNEYS' EYES ONLY*

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                                                      MCARTHUR OPP. 2
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                   Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                    June 03, 2021
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     ·1· · · BE IT REMEMBERED THAT, the confidential                 ·1· · · · · · · · · · · ·EXAMINATION INDEX
     ·2· ·videoconference 30(b)(6) deposition of KARISSA BODNAR      ·2
     ·3· ·was reported by Mary C. Soldati, Registered Professional   ·3· ·KARISSA BODNAR· · · · · · · · · · · · · · · · ·PAGE NO.
     ·4· ·Reporter and Certified Shorthand Reporter, on Thursday,    ·4· ·By Mr. Dietrich· · · · · · · · · · · · · · · · · · ·8
     ·5· ·June 3, 2021, commencing at the hour of 9:30 a.m., the     ·5
     ·6· ·proceedings being reported remotely from Portland,         ·6
     ·7· ·Oregon.                                                    ·7· · · · · · · · · · · · EXHIBIT INDEX
     ·8                                                              ·8
     ·9                                                              ·9· ·EXHIBIT NO.· · · · · ·DESCRIPTION· · · · · · · PAGE NO.
     10                                                              10
     11                                                              11· ·Exhibit No. 9· · · · Amended 30(B)(6) Notice· · · · 13
     12                                                              12
     13                                                              13· ·Exhibit No. 10· · · ·Webpage Screenshot· · · · · · ·26
     14                                                              14
     15                                                              15· ·Exhibit No. 11· · · ·Webpage Screenshot· · · · · · ·27
     16                                                              16
     17                                                              17· ·Exhibit No. 12· · · ·Webpage Screenshot· · · · · · ·49
     18                                                              18
     19                                                              19· ·Exhibit No. 13· · · ·Email Dated 9/23/14· · · · · · 62
     20                                                              20
     21                                                              21· ·Exhibit No. 14· · · ·TCI Facebook Page· · · · · · · 66
     22                                                              22
     23                                                              23· ·Exhibit No. 15· · · ·Email Dated 6/27/16· · · · · · 71
     24                                                              24
     25                                                              25



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     ·1· · · · · · · · · · · · ·APPEARANCES                          ·1· · · · · · · · · · · · EXHIBIT INDEX

     ·2                                                              ·2

     ·3· ·Appearing on behalf of the Plaintiff:                      ·3· ·EXHIBIT NO.· · · · · ·DESCRIPTION· · · · · · · PAGE NO.
     ·4· ·MR. THOMAS DIETRICH                                        ·4

     ·5· ·THE MCARTHUR LAW FIRM, PC                                  ·5· ·Exhibit No. 16· · · ·Product List· · · · · · · · · ·86

     ·6· ·9465 Wilshire Blvd., Suite 300                             ·6

     ·7· ·Beverly Hills, CA 90212                                    ·7· ·Exhibit No. 17· · · ·Email Dated 7/27/16· · · · · · 98

     ·8· ·tom@smcarthurlaw.com                                       ·8
     ·9                                                              ·9· ·Exhibit No. 18· · · ·Email Dated 1/8/16· · · · · · ·114

     10· ·Appearing on behalf of the Defendant:                      10

     11· ·MR. ROLLIN RANSOM                                          11· ·Exhibit No. 19· · · ·Product Chart· · · · · · · · · 135

     12· ·SIDLEY AUSTIN LLP                                          12
     13· ·555 West Fifth Street, Ste. 4000                           13· ·Exhibit No. 20· · · ·Demographics Chart· · · · · · ·141

     14· ·Los Angeles, CA 90013                                      14

     15· ·Rransom@sidley.com                                         15· ·Exhibit No. 21· · · ·Thrive Causemetics Ad· · · · · 147

     16                                                              16

     17· ·ALSO PRESENT:· Jim Stull, Videographer                     17· ·Exhibit No. 22· · · ·Paid Media Summary· · · · · · ·149
     18                                                              18

     19                                                              19· ·Exhibit No. 23· · · ·ACI Document· · · · · · · · · ·151

     20                                                              20

     21                                                              21· ·Exhibit No. 24· · · ·Theory Metrics Document· · · · 155

     22                                                              22
     23                                                              23· ·Exhibit No. 25· · · ·Spreadsheet· · · · · · · · · · 163

     24                                                              24

     25                                                              25· ·Exhibit No. 26· · · ·Spreadsheet· · · · · · · · · · 167




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     ·1· · · · · · · · · · · · EXHIBIT INDEX                           ·1·   ·financially interested in the outcome.
     ·2                                                                ·2·   · · · · · · ·At this time, will the reporter, Mary
     ·3· ·EXHIBIT NO.· · · · · ·DESCRIPTION· · · · · · · PAGE NO.      ·3·   ·Soldati, on behalf of U.S. Legal Support, swear in the
     ·4                                                                ·4·   ·witness.
     ·5· ·Exhibit No. 27· · · ·Trademark Report· · · · · · · ·183      ·5
     ·6                                                                ·6·   · · · · · · · · · · · ·KARISSA BODNAR,
     ·7· ·Exhibit No. 28· · · ·Email Dated· 12/19/07· · · · · 190      ·7·   ·was thereupon produced as a witness and, after having
     ·8                                                                ·8·   ·been sworn on oath, was examined and testified as
     ·9· ·Exhibit No. 29· · · ·Letter Dated 11/15/16· · · · · 192      ·9·   ·follows:
     10                                                                10·   · · · · · · · · · · · ·EXAMINATION
     11· ·Exhibit No. 30· · · ·Email Dated· 4/22/16· · · · · ·196      11·   ·BY MR. DIETRICH:
     12                                                                12·   · · Q.· All right.· Good morning.· Could you please state
     13· ·Exhibit No. 31· · · ·Letter Dated 3/13/17· · · · · ·205      13·   ·your full name for the record.
     14                                                                14·   · · A.· Karissa Elizabeth Bodnar.
     15· ·Exhibit No. 32· · · ·Email Dated 6/27/19· · · · · · 207      15·   · · · · · · ·MR. DIETRICH:· And I would just like Mr.
     16                                                                16·   ·Stull to correct -- this is actually the 30(b)(6)
     17· ·Exhibit No. 33· · · ·Notes· · · · · · · · · · · · · 211      17·   ·deposition of Thrive Causemetics, Inc.· It's not the
     18                                                                18·   ·personal deposition Ms. Bodnar.· So I just wanted to get
     19· ·Exhibit No. 34· · · ·Trademark Registration· · · · ·228      19·   ·that on the record to start off with.· This will be
     20                                                                20·   ·followed by the personal deposition of Ms. Bodnar.
     21· ·Exhibit No. 35· · · ·Instagram Post· · · · · · · · ·234      21·   ·BY MR. DIETRICH:
     22                                                                22·   · · Q.· Ms. Bodnar, my name is Tom Dietrich, and I'm an
     23· ·Exhibit No. 36· · · ·Advertisement· · · · · · · · · 236      23·   ·attorney that represents Thrive Natural Care.· And thank
     24                                                                24·   ·you for appearing this morning.
     25                                                                25·   · · · · Have you ever had your deposition taken before?

                                                            Page 7                                                            Page 9
     ·1                                                                ·1·   · · A.· For this matter, no.
     ·2·   · · · · · · · · ·P R O C E E D I N G S                      ·2·   · · Q.· In any other matters?
     ·3                                                                ·3·   · · A.· Yes.
     ·4                                                                ·4·   · · Q.· Okay.· Well, you're probably somewhat familiar
     ·5·   · · · · · · ·THE VIDEOGRAPHER:· Good morning.· We are now   ·5·   ·with the process.· I don't know if you've had a remote
     ·6·   ·on the record.· Participants should be aware that this     ·6·   ·deposition before or not.· Have you?
     ·7·   ·proceeding is being recorded, and as such, all             ·7·   · · A.· No.
     ·8·   ·conversations held will be recorded, unless there is a     ·8·   · · Q.· Is that a no?
     ·9·   ·request and agreement go off the record.                   ·9·   · · A.· No.
     10·   · · · · · · ·Private conversations and/or attorney-client   10·   · · Q.· Thank you.· The court reporter is going to record
     11·   ·interactions should be held outside the presence of the    11·   ·everything that we say.· Please speak loudly and
     12·   ·remote interface.                                          12·   ·clearly.· If I don't understand you, I will ask.
     13·   · · · · · · ·A link to the recording will be available to   13·   · · · · Please answer verbally with a yes or a no or
     14·   ·all parties to the case for up to 90 days from today's     14·   ·further answer.· No head nods or huh-uh or uh-huh.
     15·   ·date, provided the requesting party has purchased a        15·   ·That's hard to get down in the transcript.
     16·   ·certified copy of the transcript.                          16·   · · · · I'll do my best not to interrupt you and if you
     17·   · · · · · · ·This is the remote video recorded deposition   17·   ·would please not interrupt me.· That is also pretty hard
     18·   ·of Karissa Bodnar.· Today is Thursday, June 3rd, 2021.     18·   ·to take down for the court reporter if we start talking
     19·   ·The time is now 9:30 a.m. in the Pacific time zone.        19·   ·over each other.
     20·   ·We're here in the matter of Thrive Natural Care v.         20·   · · · · If you don't understand a question, please let me
     21·   ·Thrive Causemetics, Inc.                                   21·   ·know and I'll try to rephrase it or ask a better one.
     22·   · · · · · · ·My name is Jim Stull, remote video             22·   · · · · I would ask that -- we're going to take breaks
     23·   ·technician on behalf of U.S. Legal Support, located at     23·   ·throughout.· So if you need a break, please let me know.
     24·   ·1200 6th Avenue, Suite 610, Seattle, Washington 98101.     24·   ·I would just ask that you not take a break while there
     25·   ·I am not related to any party in this action, nor am I     25·   ·is a question pending.· Please answer the question and


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     ·1·   then we can take a break.· I'm sure we'll        ·1·   · · · ·Q.· · And your answers in this
     ·2·   break for lunch and then come back after that.   ·2·   deposition are on behalf of TCI; is that
     ·3·   · · · · · · ·If we -- if you remember            ·3·   correct?
     ·4·   something five or ten minutes down the road      ·4·   · · · ·A.· · Yes.
     ·5·   that related to a prior question, please let     ·5·   · · · ·Q.· · If I refer to TMC or Thrive
     ·6·   me know and we can go back and get that on the   ·6·   Natural Care, I mean the plaintiff in this
     ·7·   record.                                          ·7·   case.· Do you understand that?
     ·8·   · · · · · · ·Is there any reason you can think   ·8·   · · · ·A.· · Yes.
     ·9·   of that you can't testify fully and truthfully   ·9·   · · · ·Q.· · I'm going to ask to admit the
     10·   today?                                           10·   amended 30(b)(6) notice.· And I've just sent a
     11·   · · · ·A.· · No.                                 11·   copy via chat, so we can give that a try.
     12·   · · · ·Q.· · And in a remote deposition          12·   · · · · · · ·MR. DIETRICH:· Rollin, did you
     13·   setting, I would please ask you to not look at   13·   receive that?
     14·   your phone, not look at other documents or       14·   · · · · · · ·MR. RANSOM:· I have it in the
     15·   communicate with anybody else during the         15·   chat, yes, so give me one second.· So are you
     16·   deposition.                                      16·   marking this?
     17·   · · · · · · ·If there's an exhibit, I'll send    17·   · · · · · · ·MR. DIETRICH:· Yeah, I would ask
     18·   it to you.· And the other remote depositions     18·   to mark this Exhibit No. 1.
     19·   I've used, I have sent PDFs of exhibits via      19·   · · · · · · ·MR. RANSOM:· And again, just to
     20·   the chat function in Zoom, and you can           20·   be clear, because I think Stephen in the prior
     21·   download it there.· We can then -- everybody     21·   deposition started at 1 as well.
     22·   can download it there.                           22·   · · · · · · ·My suggestion would be that you
     23·   · · · · · · ·We can give Rollin some time to     23·   actually mark it sequentially to whatever the
     24·   review it and state any objections he may have   24·   last number was that you ended in, in Ned's
     25·   first, so please give him some time.· And then   25·   deposition.· I don't know if you have it. I

                                                  Page 11                                                Page 13
     ·1·   I'll go ahead and ask you questions about it     ·1·   can look back, but just so we're avoiding
     ·2·   once we get it marked as an exhibit.             ·2·   confusion.· I know some judges prefer you
     ·3·   · · · · · · ·Do you understand that process?     ·3·   match exhibit numbers if you can.
     ·4·   · · · · · · ·MR. RANSOM:· Tom if I may, I        ·4·   · · · · · · ·MR. DIETRICH:· Let me see what I
     ·5·   think it's fine if you would use the chat        ·5·   have for the last exhibit there.
     ·6·   feature.· I would ask if you could also email    ·6·   · · · · · · ·MR. RANSOM:· So the last one, at
     ·7·   it, in addition to using the chat, that would    ·7·   least that I received from Stephen, was
     ·8·   be appreciated.                                  ·8·   Exhibit 8.
     ·9·   · · · · · · ·MR. DIETRICH:· Okay.· Would it be   ·9·   · · · · · · ·MR. DIETRICH:· Yeah.· I have that
     10·   all right with you if I did sort of a back       10·   as well.
     11·   email after -- say at lunch time -- of           11·   · · · · · · ·MR. DIETRICH:· So let's go with
     12·   exhibits that we did beforehand?                 12·   Exhibit 9 here.
     13·   · · · · · · ·MR. RANSOM:· Why don't see how it   13·   · · · · · · ·MR. RANSOM:· Perfect.· That
     14·   goes.· I may can ask for it to be realtime,      14·   works.· Thank you.
     15·   but we can take it one by one.                   15·   · · · · · · ·(Exhibit No. 9 marked for
     16·   BY MR. DIETRICH:                                 16·   identification.)
     17·   · · · ·Q.· · Sounds good.· Do you understand     17·   BY MR. DIETRICH:
     18·   you're here in this deposition as a              18·   · · · ·Q.· · Ms. Bodnar, did you receive
     19·   representative of Thrive Causemetics, Inc.?      19·   what's been marked Exhibit 9?
     20·   · · · ·A.· · Yes.                                20·   · · · ·A.· · Mm-hmm.
     21·   · · · ·Q.· · I will refer to Thrive              21·   · · · · · · ·MR. RANSOM:· You have to answer
     22·   Causemetics, Inc., most likely, as TCI or        22·   yes.
     23·   Thrive Causemetics.                              23·   · · · · · · ·THE WITNESS:· Yes.
     24·   · · · · · · ·Do you understand that?             24·   BY MR. DIETRICH:
     25·   · · · ·A.· · Yes.                                25·   · · · ·Q.· · You recognize this document?



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     ·1·   · · · ·A.· · Yes.                                ·1·   beginning in September of 2014.
     ·2·   · · · ·Q.· · Have you reviewed it before?        ·2·   · · · ·Q.· · What products did you start
     ·3·   · · · ·A.· · Yes.                                ·3·   selling in 2014?
     ·4·   · · · ·Q.· · Are you prepared to answer the      ·4·   · · · ·A.· · False lashes and lash
     ·5·   questions on the topics for which you've been    ·5·   adhesive.
     ·6·   designated?                                      ·6·   · · · ·Q.· · What were your job duties at that
     ·7·   · · · ·A.· · Yes.                                ·7·   time when you started the company?
     ·8·   · · · ·Q.· · What did you do to prepare for      ·8·   · · · ·A.· · I was the founder and CEO.
     ·9·   this deposition?                                 ·9·   · · · ·Q.· · Right.· I think that's more of a
     10·   · · · · · · ·I would caution you that I don't    10·   title than actual duties.· What did you do
     11·   want information about what you communicated     11·   with the company?
     12·   with counsel, but what else you may have         12·   · · · ·A.· · I was the company's only
     13·   reviewed to prepare.                             13·   employee at the time, so I did everything.
     14·   · · · ·A.· · Met with counsel.                   14·   · · · ·Q.· · Can we go a little bit more into
     15·   · · · ·Q.· · Did you review any documents?       15·   detail on what everything consists of?
     16·   · · · ·A.· · Yes, provided by counsel.           16·   · · · · · · ·MR. RANSOM:· Objection.· Vague
     17·   · · · ·Q.· · And which documents did you         17·   and ambiguous.· Ms. Bodnar, you can answer to
     18·   review?                                          18·   the extent you can.
     19·   · · · · · · ·MR. RANSOM:· I am going to object   19·   · · · · · · ·THE WITNESS:· I did order
     20·   and caution the witness not to disclose either   20·   fulfillment, product development, customer
     21·   the content of our communication or provide a    21·   service.
     22·   list of documents.                               22·   BY MR. DIETRICH:
     23·   · · · · · · ·Tom, if in the course of the        23·   · · · ·Q.· · Did you manufacture the product?
     24·   deposition she's shown a document, you can ask   24·   · · · ·A.· · No.
     25·   her whether she saw it and whether it            25·   · · · ·Q.· · Who did?

                                                  Page 15                                                Page 17
     ·1·   refreshed her memory.                            ·1·   · · · ·A.· · Our contract manufacturer.
     ·2·   · · · · · · ·But documents that I shared with    ·2·   · · · ·Q.· · Who was that?
     ·3·   the witness in connection with the preparation   ·3·   · · · ·A.· · I don't recall.
     ·4·   is work product, so I'll instruct her not to     ·4·   · · · ·Q.· · Did you communicate with the
     ·5·   answer that question at this time.               ·5·   contract manufacturer?
     ·6·   · · · · · · ·MR. DIETRICH:· Understood.          ·6·   · · · ·A.· · Yes.
     ·7·   BY MR. DIETRICH:                                 ·7·   · · · ·Q.· · And they made the only product
     ·8·   · · · ·Q.· · Let's talk a little bit about       ·8·   Thrive Causemetics sold?
     ·9·   your background with TCI.· What is your          ·9·   · · · ·A.· · In 2014, yes.
     10·   position within TCI?                             10·   · · · ·Q.· · Did you contract with them
     11·   · · · ·A.· · I am the founder and CEO.           11·   frequently?
     12·   · · · ·Q.· · Have you always had that            12·   · · · ·A.· · In 2014, yes.
     13·   position?                                        13·   · · · ·Q.· · And you don't recall the name of
     14·   · · · ·A.· · Yes.                                14·   the company?
     15·   · · · ·Q.· · Did you start TCI?                  15·   · · · · · · ·MR. RANSOM:· Objection.· Asked
     16·   · · · ·A.· · Yes.                                16·   and answered.· You can answer again.
     17·   · · · ·Q.· · When?                               17·   · · · · · · ·THE WITNESS:· I don't recall.
     18·   · · · ·A.· · 2015.· I apologize.· 2014.          18·   · BY MR. DIETRICH:
     19·   · · · ·Q.· · When in 2014?                       19·   · · · ·Q.· · Do you recall where they were
     20·   · · · ·A.· · I don't recall.                     20·   located?
     21·   · · · ·Q.· · You don't recall when you started   21·   · · · ·A.· · China.
     22·   the company?                                     22·   · · · ·Q.· · How many employees does TCI have
     23·   · · · ·A.· · Yes.                                23·   now?
     24·   · · · ·Q.· · Did TCI sell products in 2014?      24·   · · · ·A.· · About 100.
     25·   · · · ·A.· · I believe we sold products          25·   · · · ·Q.· · And what are your job duties now



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                   Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
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     ·1·   · · · ·Q.· · What does the term "skincare        ·1·   · · · ·A.· · Yes.
     ·2·   products" mean?                                  ·2·   · · · ·Q.· · Are these the skincare products
     ·3·   · · · ·A.· · Products that you use on your       ·3·   for sale on Thrive Causemetics's website?
     ·4·   skin.                                            ·4·   · · · ·A.· · Some of them, yes.
     ·5·   · · · ·Q.· · And on TCI's website, there's a     ·5·   · · · ·Q.· · Would these have been products
     ·6·   tab labeled Skincare, right?                     ·6·   for sale as of September 21st, 2020?
     ·7·   · · · ·A.· · To the best of my knowledge, I      ·7·   · · · ·A.· · To the best of my knowledge,
     ·8·   believe so.                                      ·8·   yes.
     ·9·   · · · ·Q.· · And are the products listed under   ·9·   · · · ·Q.· · And do you see at the top, these
     10·   that tab Skincare Products?                      10·   are listed under All Skincare Products?
     11·   · · · ·A.· · I don't know.                       11·   · · · ·A.· · I see that it says All
     12·   · · · · · · ·MR. DIETRICH:· And entering what    12·   Skincare Products.
     13·   I would ask to have marked as Exhibit 10.        13·   · · · ·Q.· · Is that something that was added
     14·   · · · · · · ·(Exhibit No. 10 marked for          14·   to TCI's website by TCI?
     15·   identification.)                                 15·   · · · ·A.· · To the best of my knowledge,
     16·   · · · · · · ·THE WITNESS:· Did you send a        16·   yes.
     17·   file?                                            17·   · · · ·Q.· · And looking at the side of the
     18·   BY MR. DIETRICH:                                 18·   first page, there are labels Skincare and
     19·   · · · ·Q.· · I did, via the chat.                19·   Makeup.· Do you see that?
     20·   · · · ·A.· · Got it.                             20·   · · · ·A.· · Could you be more specific?
     21·   · · · ·Q.· · Okay.· Ms. Bodnar, looking at       21·   · · · ·Q.· · First page, left-hand side in the
     22·   Exhibit No. 10.· Do you recognize this web       22·   middle, there are various labels for the
     23·   page?                                            23·   website.
     24·   · · · ·A.· · No.                                 24·   · · · ·A.· · Yes.
     25·   · · · ·Q.· · Do you recognize had the URL        25·   · · · ·Q.· · One is Skincare and one is

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     ·1·   thrivecausemetics.com?                           ·1·   Makeup.· Do you see that?
     ·2·   · · · ·A.· · Yes.                                ·2·   · · · ·A.· · Yes.
     ·3·   · · · ·Q.· · Does Thrive Causemetics have an     ·3·   · · · ·Q.· · Is that how Thrive Causemetics'
     ·4·   All Skincare page?                               ·4·   website is split up, by skincare and makeup?
     ·5·   · · · ·A.· · From this, yes.                     ·5·   · · · ·A.· · No, it's not.
     ·6·   · · · ·Q.· · Do you recognize these products?    ·6·   · · · · · · ·MR. RANSOM:· Vague and ambiguous.
     ·7·   · · · ·A.· · Yes.                                ·7·   · · · · · · ·THE WITNESS:· No.
     ·8·   · · · ·Q.· · Are these products that TCI has     ·8·   BY MR. DIETRICH:
     ·9·   sold?                                            ·9·   · · · ·Q.· · Are any of the products on this
     10·   · · · ·A.· · Yes.                                10·   page in Exhibit 11 considered color cosmetics?
     11·   · · · ·Q.· · Are these skincare products?        11·   · · · ·A.· · Yes.
     12·   · · · ·A.· · Yes.                                12·   · · · ·Q.· · Which ones?
     13·   · · · · · · ·MR. DIETRICH:· Another exhibit      13·   · · · ·A.· · On page 1, Pumpkin Spice Latte
     14·   that I would ask to be marked as Exhibit 11.     14·   Liquid Balm Lip Treatment, and then it
     15·   · · · · · · ·(Exhibit No. 11 marked for          15·   looks like the product name is cut off,
     16·   identification.)                                 16·   but it's also -- the product right below
     17·   · BY MR. DIETRICH:                               17·   the Pumpkin Spice Latte, which is called
     18·   · · · ·Q.· · Ms. Bodnar do you have Exhibit 11   18·   Liquid Balm.
     19·   open?                                            19·   · · · ·Q.· · So those would be considered
     20·   · · · ·A.· · Yes.                                20·   color cosmetics?
     21·   · · · ·Q.· · And do you recognize what has       21·   · · · ·A.· · They could be, yes.
     22·   been marked Exhibit 11?                          22·   · · · ·Q.· · Could they be considered skincare
     23·   · · · ·A.· · No.                                 23·   products?
     24·   · · · ·Q.· · Are you familiar with the Thrive    24·   · · · ·A.· · Yes.
     25·   Causemetics website?                             25·   · · · ·Q.· · How about the other products on



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                   Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                    June 03, 2021
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     ·1·   · · · ·Q.· · What social media does TCI use?     ·1·   · · · ·A.· · No.
     ·2·   · · · ·A.· · One example would be Facebook.      ·2·   · · · ·Q.· · At that time, did TCI have
     ·3·   · · · ·Q.· · Does TCI use Instagram?             ·3·   advisors that it worked with?
     ·4·   · · · ·A.· · Yes.                                ·4·   · · · · · · ·MR. RANSOM:· Vague and ambiguous.
     ·5·   · · · ·Q.· · Is TCI on any other social media?   ·5·   · · · · · · ·THE WITNESS:· I don't know. I
     ·6·   · · · ·A.· · Yes.                                ·6·   don't understand the question.
     ·7·   · · · ·Q.· · Which ones?                         ·7·   BY MR. DIETRICH:
     ·8·   · · · ·A.· · TickTok.                            ·8·   · · · ·Q.· · Well, did TCI work with any
     ·9·   · · · ·Q.· · Any others?                         ·9·   business advisors at any point?
     10·   · · · ·A.· · Yes.· To the best of my             10·   · · · ·A.· · I don't know what you mean by
     11·   knowledge, Snapchat.                             11·   "business advisors."
     12·   · · · ·Q.· · When was the decision made to go    12·   · · · ·Q.· · Did you work with anyone that
     13·   forward with expanding into skincare products?   13·   advised you on running a business?
     14·   · · · ·A.· · I don't recall the specific         14·   · · · · · · ·MR. RANSOM:· Vague and ambiguous,
     15·   date.                                            15·   including as to time.
     16·   · · · ·Q.· · Do you recall the approximate       16·   · · · · · · ·THE WITNESS:· I don't know what
     17·   date?                                            17·   you mean.
     18·   · · · ·A.· · No.                                 18·   · BY MR. DIETRICH:
     19·   · · · ·Q.· · What considerations -- strike       19·   · · · ·Q.· · Was anybody else involved in the
     20·   that.                                            20·   decision to expand into skincare products
     21·   · · · · · · ·At some point TCI did decide to     21·   besides you, Ned and customers?
     22·   expand into skincare products?                   22·   · · · ·A.· · To make the final decision,
     23·   · · · ·A.· · Correct.· Yes.                      23·   no.
     24·   · · · ·Q.· · And TCI did start selling           24·   · · · ·Q.· · You narrowed that a little bit
     25·   skincare products after that time?               25·   more than I asked the question.· I am not

                                                  Page 43                                                Page 45
     ·1·   · · · ·A.· · Yes.                                ·1·   asking about the final decision.· I was asking
     ·2·   · · · ·Q.· · What considerations went into the   ·2·   about the process of coming to that decision.
     ·3·   decision to start selling skincare products?     ·3·   · · · · · · ·Who was involved in the process
     ·4·   · · · ·A.· · To serve our customers and          ·4·   of coming to the decision to sell skincare
     ·5·   giving partners.                                 ·5·   products?
     ·6·   · · · ·Q.· · Was profitability of the market     ·6·   · · · ·A.· · Our customers, me, Ned
     ·7·   considered?                                      ·7·   Menninger.
     ·8·   · · · ·A.· · Could you clarify?                  ·8·   · · · ·Q.· · Anyone else?
     ·9·   · · · ·Q.· · Sure.· Did TCI consider whether     ·9·   · · · ·A.· · I don't know.· I don't recall.
     10·   it could make money selling skincare products?   10·   · · · ·Q.· · When did TCI actually start
     11·   · · · ·A.· · Yes.                                11·   selling skincare products?
     12·   · · · ·Q.· · Who was involved in those           12·   · · · ·A.· · To the best of my knowledge,
     13·   considerations?                                  13·   2018.
     14·   · · · ·A.· · Me.                                 14·   · · · ·Q.· · Do you know when in 2018?
     15·   · · · ·Q.· · Anyone else?                        15·   · · · ·A.· · It was in the second half of
     16·   · · · ·A.· · Could you clarify what you          16·   2018, to the best of my knowledge.
     17·   mean around "considerations"?                    17·   · · · ·Q.· · What skincare products did TCI
     18·   · · · ·Q.· · Sure.· Maybe I should rephrase      18·   first sell?
     19·   that.                                            19·   · · · ·A.· · Overnight Sensation.
     20·   · · · · · · ·Who was involved in the decision    20·   · · · ·Q.· · Anything else?
     21·   to expand into the skincare products?            21·   · · · ·A.· · To the best of my knowledge,
     22·   · · · ·A.· · Me and our customers.               22·   it was Overnight Sensation.
     23·   · · · ·Q.· · Anyone else from TCI?               23·   · · · ·Q.· · Has TCI expanded its skincare
     24·   · · · ·A.· · Ned Menninger.                      24·   line since then?
     25·   · · · ·Q.· · Anyone else?                        25·   · · · ·A.· · Yes.



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                   Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                    June 03, 2021
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     ·1·   · · · ·Q.· · What products were added o the      ·1·   · · · ·A.· · Yes.
     ·2·   skincare line?                                   ·2·   · · · ·Q.· · Does TCI have plans to continue
     ·3·   · · · ·A.· · Defying Gravity Moisturizer.        ·3·   its skincare offering?
     ·4·   · · · ·Q.· · When was that added?                ·4·   · · · ·A.· · Yes.
     ·5·   · · · ·A.· · Could you be more specific          ·5·   · · · · · · ·MR. RANSOM:· Objection.· Vague
     ·6·   about what you mean when you say "added"?        ·6·   and ambiguous to scope.· You can answer.
     ·7·   · · · ·Q.· · Sure.· I mean, when the product     ·7·   · · · · · · ·THE WITNESS:· Yes.
     ·8·   was released to the public.                      ·8·   BY MR. DIETRICH:
     ·9·   · · · ·A.· · 2020.                               ·9·   · · · ·Q.· · Are you familiar with the term
     10·   · · · ·Q.· · Did you TCI start selling any --    10·   SKU?
     11·   · · · · · · ·MR. RANSOM:· We've been going       11·   · · · ·A.· · Yes.
     12·   about an hour.· When you reach a convenient      12·   · · · ·Q.· · What does that mean to you?
     13·   breaking time, let's take a short break.         13·   · · · ·A.· · I believe the definition is
     14·   · · · · · · ·MR. DIETRICH:· Sure.· Sounds        14·   stock keeping unit.
     15·   good.· Actually, now is fine.· So let's just     15·   · · · ·Q.· · Does each TCI product have a SKU?
     16·   take a -- what do you want?· Five, ten           16·   · · · ·A.· · Yes.
     17·   minutes?                                         17·   · · · ·Q.· · Is there any certain number of
     18·   · · · · · · ·MR. RANSOM:· We can take ten        18·   skincare product SKUs that TCI plans to
     19·   minutes.· Is that all right?                     19·   release in the future?
     20·   · · · · · · ·MR. DIETRICH:· Sounds good.         20·   · · · ·A.· · Not specifically.
     21·   · · · · · · ·THE VIDEOGRAPHER:· We're off the    21·   · · · ·Q.· · Has TCI continued to expand its
     22·   record.· The time is 10:30.                      22·   skincare product line after the lawsuit being
     23·   · · · · · · ·(Break taken.)                      23·   filed by Thrive Natural Care?
     24·   · · · · · · ·THE VIDEOGRAPHER:· And we are on    24·   · · · · · · ·MR. RANSOM:· Vague and ambiguous.
     25·   the record.· The time is 10:41.                  25·   You can answer.

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     ·1·   BY MR. DIETRICH:                                 ·1·   · · · · · · ·THE WITNESS:· To the best of my
     ·2·   · · · ·Q.· · Thank you, Ms. Bodnar.· Before      ·2·   knowledge, yes.
     ·3·   the break we were talking about skincare         ·3·   BY MR. DIETRICH:
     ·4·   products that are offered by TCI.                ·4·   · · · ·Q.· · What products were added or
     ·5·   · · · · · · ·In 2020, did TCI add any skincare   ·5·   released after the lawsuit being filed
     ·6·   products to its line?                            ·6·   referring to skincare products?
     ·7·   · · · ·A.· · Yes.                                ·7·   · · · ·A.· · I don't know.· I don't recall.
     ·8·   · · · ·Q.· · Which products were those?          ·8·   · · · ·Q.· · Showing you an exhibit ask it to
     ·9·   · · · ·A.· · A few of them would be Defying      ·9·   be marked Exhibit 12.
     10·   Gravity Moisturizer, Defying Gravity Eye         10·   · · · · · · ·(Exhibit No. 12 marked for
     11·   Cream, Bright Balance Cleanser.                  11·   identification.)
     12·   · · · ·Q.· · A little bit ago we talked about    12·   · · · · · · ·MR. DIETRICH:· Let me know when
     13·   a cream.· Is there anything specific about       13·   you're ready, Rollin.
     14·   Defying Gravity Eye Cream that made TCI call     14·   · · · · · · ·MR. RANSOM:· Working on it.
     15·   it a cream?                                      15·   Okay.· I have it.
     16·   · · · ·A.· · In the market, eye products         16·   BY MR. DIETRICH:
     17·   that perform like Defying Gravity Eye            17·   · · · ·Q.· · Ms. Bodnar, do you have
     18·   Cream are often called eye cream.                18·   Exhibit 12 in front of you?
     19·   · · · ·Q.· · Is that a specific definition or    19·   · · · ·A.· · Yes.
     20·   just something TCI chose?                        20·   · · · ·Q.· · Do you recognize this exhibit?
     21·   · · · ·A.· · In the beauty industry,             21·   · · · ·A.· · Yes.
     22·   there's not really a specific definition,        22·   · · · ·Q.· · What does it show?
     23·   I would say.                                     23·   · · · ·A.· · It shows Smart
     24·   · · · ·Q.· · Has the skincare market been        24·   Microdermabrasion 2-in-1 Instant Facial.
     25·   profitable for TCI?                              25·   · · · ·Q.· · Is that a TCI skincare product?



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                    Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
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      ·1·   manufacturer.                                    ·1·   manufacturers TCI has worked with for skincare
      ·2·   · · · ·Q.· · What did they do?                   ·2·   products?
      ·3·   · · · ·A.· · They make beauty products.          ·3·   · · · · · · ·MR. RANSOM:· Objection.· Asked
      ·4·   · · · ·Q.· · Did they make beauty products for   ·4·   and answered.· Exceeds the scope.· Lacks
      ·5·   TCI?                                             ·5·   foundation.· You can answer.
      ·6·   · · · ·A.· · Yes.                                ·6·   · · · · · · ·THE WITNESS:· I am sure, yes. I
      ·7·   · · · ·Q.· · Do you still work with Oxygen?      ·7·   don't -- but I don't recall specifics.
      ·8·   · · · ·A.· · Yes.                                ·8·   · · · ·Q.· · Do you recall names?
      ·9·   · · · ·Q.· · Do you work with other contract     ·9·   · · · ·A.· · Well, we work with quite a few
      10·   manufacturers?                                   10·   different contract manufacturers.· And so
      11·   · · · ·A.· · Yes.                                11·   the names that I provided you are
      12·   · · · ·Q.· · Are TCI's skincare products made    12·   representative of some that we've worked
      13·   by a contract manufacturer?                      13·   with.
      14·   · · · ·A.· · Yes.                                14·   · · · ·Q.· · But there are others?
      15·   · · · ·Q.· · Who is that?                        15·   · · · ·A.· · Yes.
      16·   · · · ·A.· · We work with a variety of           16·   · · · ·Q.· · And do you know the names of the
      17·   contract manufacturers.                          17·   others in relation to skincare products?
      18·   · · · ·Q.· · And what are their names?           18·   · · · ·A.· · Most contract manufacturers
      19·   · · · ·A.· · We work with a group called         19·   have multiple categories that they operate
      20·   Northwest Cosmetic Labs, NCL, Oxygen,            20·   in.· So it would be the contract
      21·   Schawn-Stabilo, to name a few.                   21·   manufacturers that we've talked to.
      22·   · · · ·Q.· · Can you spell that last one,        22·   · · · · · · ·You know, we -- our -- we
      23·   please?                                          23·   talked to a lot of contract manufacturers,
      24·   · · · ·A.· · S C H A W N-S T A B I L O.          24·   even if we don't engage them specifically.
      25·   · · · ·Q.· · Do those three that you listed      25·   · · · ·Q.· · And I am not interested in which

                                                   Page 75                                            Page 77
      ·1·   make skincare products for TCI?                ·1· contract manufacturers you might have talked
      ·2·   · · · ·A.· · Yes.                              ·2· to at some point.
      ·3·   · · · ·Q.· · Are there any other contract      ·3· · · · · · · ·I am interested in the contract
      ·4·   manufacturers that TCI has worked with for     ·4· manufacturers TCI has actually had manufacture
      ·5·   skincare products?                             ·5· skincare products for TCI.
      ·6·   · · · ·A.· · Yes.                              ·6· · · · · · · ·Are there any other names besides
      ·7·   · · · ·Q.· · Can you name those?               ·7· the ones that you've given me?
      ·8·   · · · ·A.· · I don't remember.· I don't        ·8· · · · ·A.· · Oh, I am sure, yeah.
      ·9·   recall specifically.· Causeway is one of       ·9· · · · ·Q.· · And what are those names?
      10·   them.                                          10· · · · · · · ·MR. RANSOM:· Lacks foundation.
      11·   · · · ·Q.· · Does TCI still work with          11· Exceeds the scope.· You can answer.
      12·   Causeway?                                      12· · · · · · · ·THE WITNESS:· I don't recall.
      13·   · · · ·A.· · To the best of my knowledge,      13· BY MR. DIETRICH:
      14·   yes.                                           14· · · · ·Q.· · You don't recall who makes
      15·   · · · ·Q.· · Are there any other contract      15· skincare products for TCI?
      16·   manufacturers TCI has used for skincare        16· · · · · · · ·MR. RANSOM:· Objection.· Asked
      17·   products ever in its history?                  17· and answered.· Mischaracterizes testimony.
      18·   · · · ·A.· · With our contract                 18· · · · · · · ·THE WITNESS:· The names that I
      19·   manufacturers, we have discussions with        19· provided you are the ones that I remember.
      20·   them about all kinds of products, so it's      20· BY MR. DIETRICH:
      21·   a pretty broad question.                       21· · · · ·Q.· · We've seen images of TCI's
      22·   · · · ·Q.· · I'm just focused on skincare      22· website.· And I believe you testified TCI has
      23·   products.                                      23· sold products from its website, correct?
      24·   · · · ·A.· · Mm-hmm.                           24· · · · ·A.· · Yes.
      25·   · · · ·Q.· · Are there any other contract      25· · · · ·Q.· · Are there any other sales



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      ·1·   channels that TCI sells its products through     ·1·   to women who were experiencing cancer in
      ·2·   besides its website?                             ·2·   the 2016 time frame, I believe.· Our
      ·3·   · · · · · · ·MR. RANSOM:· Vague and ambiguous    ·3·   giving mission has grown over time, so...
      ·4·   as to time.                                      ·4·   · · · ·Q.· · The boutiques that you mentioned
      ·5·   · BY MR. DIETRICH:                               ·5·   that TCI was sold at, are those brick and
      ·6·   · · · ·Q.· · And with Rollin's objection, I'll   ·6·   mortar stores?
      ·7·   say let's start in the 2014-2015 time period.    ·7·   · · · ·A.· · They were Swing Style Bar is
      ·8·   · · · ·A.· · At the time, I believe it           ·8·   mainly a beauty -- it's -- like, you would
      ·9·   was -- our primary channel was                   ·9·   go there to get your hair blow dried.
      10·   thrivecausemetics.com.· I was very               10·   That's really what it is.· That's the main
      11·   unsuccessful in getting retailers to carry       11·   thing that they do or that they did at the
      12·   our products.· So I don't recall if we had       12·   time.· And then they have products, like,
      13·   any -- I don't recall if we had any other        13·   by the checkout area.
      14·   retailers at that time.                          14·   · · · ·Q.· · And TCI products were sold there?
      15·   · · · ·Q.· · In that 2014-2015 time period,      15·   · · · ·A.· · I don't remember when we
      16·   did you pitch retailers to carry Thrive          16·   started, but yes.
      17·   Causemetics products?                            17·   · · · ·Q.· · Did those include color cosmetics
      18·   · · · ·A.· · I did, yes.                         18·   by that time?
      19·   · · · ·Q.· · Who and what retailers did you      19·   · · · ·A.· · I don't recall.· Actually,
      20·   make pitches too?                                20·   could you be more specific around the
      21·   · · · ·A.· · I am smiling because I was          21·   timing that you're asking about?
      22·   very unsuccessful in pitching those              22·   · · · ·Q.· · Right.· I had said 2016, 2017.
      23·   retailers.· I don't even know if I got           23·   · · · ·A.· · I don't recall specifically,
      24·   responses from my emails that I sent.            24·   but I am sure -- I do know that with
      25·   · · · · · · ·But I was trying to get the         25·   Swink, we had -- eventually had more

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      ·1·   brand carried.· I had -- my dream at the         ·1·   products than just our false eyelashes and
      ·2·   time was to have the products carried at         ·2·   adhesive sold there.
      ·3·   Nordstrom or Sephora, a retailer like            ·3·   · · · ·Q.· · Other than the small boutiques
      ·4·   that.· I was unsuccessful in that, though.       ·4·   during that 2016-2017 time period, were there
      ·5·   · · · ·Q.· · Did you pitch or contact anybody    ·5·   any other sales channels for TCI products?
      ·6·   else besides Nordstrom and Sephora?              ·6·   · · · ·A.· · Thrivecausemetics.com.
      ·7·   · · · ·A.· · Oh, I am sure, yeah.                ·7·   · · · ·Q.· · Other than the website, anything
      ·8·   · · · ·Q.· · Do you recall which retailers?      ·8·   else?
      ·9·   · · · ·A.· · I don't recall.                     ·9·   · · · ·A.· · To the best of my knowledge,
      10·   · · · ·Q.· · How about 2016-2017 time period?    10·   no.
      11·   Were there any other sales channels besides      11·   · · · ·Q.· · How about, let's go to 2018-2019
      12·   the website at that time?                        12·   time period.· Were there any other sales
      13·   · · · ·A.· · We had some small boutiques.        13·   channels besides the website during that time
      14·   I believe that started in 2016.· One of          14·   period?
      15·   them that comes to mind was Swink Style          15·   · · · ·A.· · Again, there would be some
      16·   Bar in Seattle, which is where I started         16·   very small boutiques, like I mentioned
      17·   the business.· And they also -- Swink            17·   with Swink.
      18·   Style Bar was -- they are great because          18·   · · · · · · ·And then in December of 2019,
      19·   they also helped us donate our products.         19·   we did an a limited edition capsule
      20·   · · · · · · ·So when I met with their owner      20·   collection with Ulta.· That started in
      21·   at the time, that was one of -- we talked        21·   December of 2019.
      22·   about selling the products, as well as           22·   · · · ·Q.· · How long did that run for?
      23·   donating the products.                           23·   · · · ·A.· · The intention was for it to be
      24·   · · · · · · ·So, for example, we would           24·   for -- I believe three months, three to
      25·   partner with them to provide our products        25·   four months.· And honestly, with the



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      ·1·   pandemic, locking down a specific time           ·1·   · · · ·A.· · I don't understand the
      ·2·   frame beyond the original intention would        ·2·   question.
      ·3·   be a bit challenging for me.· But that was       ·3·   · · · ·Q.· · Sure.· You said resellers will
      ·4·   the goal to be there for a few months.           ·4·   buy TCI products and resell them on Amazon
      ·5·   · · · ·Q.· · You said a capsule, I believe.      ·5·   sites?
      ·6·   What does that mean?                             ·6·   · · · ·A.· · That's not what I said. I
      ·7·   · · · ·A.· · It was a very limited               ·7·   said people will resell our products. I
      ·8·   offering.                                        ·8·   did not say retailers.
      ·9·   · · · ·Q.· · Were there any skincare products    ·9·   · · · ·Q.· · I said resellers not retailers.
      10·   from TCI in that offering other than Ulta?       10·   · · · ·A.· · Okay.· I misunderstood you.
      11·   · · · · · · ·MR. RANSOM:· Sorry.· Just again,    11·   · · · ·Q.· · Sorry.· It's okay.· I think you
      12·   it's been another hour, and at some point we     12·   answered the question, so that's fine.
      13·   should take a break and talk about lunch.        13·   · · · · · · ·Let's go to -- I mean, how about
      14·   · · · · · · ·MR. DIETRICH:· What do you prefer   14·   walmart.com?· Has TCI ever sold products
      15·   as far as timing from a lunch break?             15·   though that website?
      16·   · · · · · · ·(Discussion off the record.)        16·   · · · ·A.· · No.
      17·   BY MR. DIETRICH:                                 17·   · · · ·Q.· · How about the 2020-2021 time
      18·   · · · ·Q.· · So let's go -- you mentioned the    18·   period?· Other than TCI's website, where have
      19·   2018-2019 we have the small boutiques, we have   19·   TCI products been sold?
      20·   all we have Ulta and TCI's website.              20·   · · · ·A.· · You said 2020 to 2021?
      21·   · · · · · · ·Were there any other channels       21·   · · · ·Q.· · Correct.
      22·   through which TCI products were sold?            22·   · · · ·A.· · Our intention -- so Thrive
      23·   · · · ·A.· · Not intentionally, no.              23·   Causemetics, Inc. would be only on our
      24·   · · · ·Q.· · What do you mean by not             24·   website.· And then with Ulta, that was
      25·   intentionally?                                   25·   only in-store, even though we had a --

                                                   Page 83                                                Page 85
      ·1·   · · · ·A.· · People can purchase our             ·1·   they did have a web page, you could not
      ·2·   products and then resell them on websites        ·2·   transact though that web page.· It was
      ·3·   that we don't authorize.                         ·3·   more just speaking to the nature of this
      ·4·   · · · ·Q.· · Does that happen from time to       ·4·   very limited edition partnership we had
      ·5·   time?                                            ·5·   with them.
      ·6·   · · · ·A.· · Unfortunately, yes.· And we --      ·6·   · · · ·Q.· · And has there ever been any other
      ·7·   an example would be, like, an Amazon.· We        ·7·   brick and mortar stores that had sold TCI
      ·8·   don't authorize that our products are sold       ·8·   products other than the small boutiques you
      ·9·   on Amazon and quite honestly can't even          ·9·   mentioned and Ulta?
      10·   verify whether it's our product or not.          10·   · · · ·A.· · To the best of my knowledge,
      11·   · · · ·Q.· · Does TCI sell products itself on    11·   no, not intentionally.
      12·   Amazon?                                          12·   · · · ·Q.· · And as far as authorized sales,
      13·   · · · ·A.· · We do not, no.                      13·   have there been any other websites that have
      14·   · · · ·Q.· · Has it ever?                        14·   sold TCI products besides TCI's own website?
      15·   · · · ·A.· · To the best of my knowledge,        15·   · · · ·A.· · We participate in beauty
      16·   no.                                              16·   boxes, Ipsy or Fab Fit Fun, but we don't
      17·   · · · ·Q.· · How about any other websites?       17·   really consider that sales.· So that's
      18·   · · · ·A.· · Not intentionally, to the best      18·   more of a sampling initiative, so the
      19·   of my knowledge.                                 19·   answer would be no.
      20·   · · · ·Q.· · But you have seen them up here --   20·   · · · ·Q.· · What is a beauty box?
      21·   there from time to time because of resellers?    21·   · · · ·A.· · A beauty box is a sampling --
      22·   · · · · · · ·MR. RANSOM:· Vague and ambiguous.   22·   like you -- consumers who love beauty
      23·   Lacks foundation.                                23·   products can sample a bunch of different
      24·   BY MR. DIETRICH:                                 24·   beauty products.
      25·   · · · ·Q.· · You can answer.                     25·   · · · ·Q.· · And what is Ipsy?



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Case 2:20-cv-09091-PA-AS Document 89-2 Filed 09/21/21 Page 13 of 95 Page ID #:4444
                    Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                     June 03, 2021
                                                   Page 86                                                Page 88
      ·1·   · · · ·A.· · Yes.                                ·1·   if you know?
      ·2·   · · · ·Q.· · I asked what is Ipsy?               ·2·   · · · ·A.· · Yes.· It's the channel in
      ·3·   · · · ·A.· · Ipsy is a beauty box.               ·3·   which it's sold.
      ·4·   · · · ·Q.· · Okay.· And Fab Fit Fun, is that     ·4·   · · · ·Q.· · The first sale?
      ·5·   also a beauty box?                               ·5·   · · · ·A.· · Yes.· I'm scrolling through
      ·6·   · · · ·A.· · They are more than a beauty         ·6·   the document right now.
      ·7·   box.· They also sample other items.              ·7·   · · · ·Q.· · Sure.· And please take your time
      ·8·   · · · ·Q.· · Does TCI distribute skincare        ·8·   and look at the document as much as you need
      ·9·   products in either of these beauty boxes?        ·9·   to.
      10·   · · · ·A.· · I don't know.· I don't recall.      10·   · · · ·A.· · But yes.· The channel would
      11·   · · · ·Q.· · Sending you what I would ask to     11·   be -- it looks like they're all labeled as
      12·   be marked Exhibit 16.                            12·   our online store.
      13·   · · · · · · ·(Exhibit No. 16 marked for          13·   · · · ·Q.· · Each of these would be considered
      14·   identification.)                                 14·   a SKU that TCI has sold?
      15·   · BY MR. DIETRICH:                               15·   · · · ·A.· · Yes.
      16·   · · · ·Q.· · Ms. Bodnar, do you have             16·   · · · ·Q.· · It looks like the very first sale
      17·   Exhibit 16 in front of you?                      17·   was Jackie Faux Lashes on 9/11/2014.
      18·   · · · ·A.· · Let me just move my screen.         18·   · · · ·A.· · Yes.
      19·   · · · ·Q.· · Sure.                               19·   · · · ·Q.· · Is that accurate?
      20·   · · · ·A.· · Yes.                                20·   · · · ·A.· · Mm-hm.· I'm smiling because I
      21·   · · · ·Q.· · Do you recognize this exhibit?      21·   named the Jackie lashes after my
      22·   · · · ·A.· · If it looks like a product          22·   grandmother.
      23·   list.                                            23·   · · · ·Q.· · Do you still sell those today?
      24·   · · · ·Q.· · Was this prepared for this case?    24·   · · · ·A.· · Yes.
      25·   · · · ·A.· · At the top it says, Thrive          25·   · · · ·Q.· · Do you know what a Bates number

                                                   Page 87                                                Page 89
      ·1·   Causemetics, Inc., so I would believe so.        ·1·   is?
      ·2·   · · · ·Q.· · Have you reviewed this document     ·2·   · · · ·A.· · A Bates number?
      ·3·   before?                                          ·3·   · · · ·Q.· · A Bates number.· It's the
      ·4·   · · · ·A.· · This specific document, I           ·4·   numbering at the bottom of the right-hand of
      ·5·   can't recall.· I did review several              ·5·   the page that is used when a document is
      ·6·   documents with counsel.                          ·6·   produced in a case.
      ·7·   · · · ·Q.· · I'm going to ask you about the      ·7·   · · · · · · ·So I'm going to -- I'll refer to
      ·8·   columns in the document first.                   ·8·   pages by their Bates number here because they
      ·9·   · · · · · · ·There's a column that says First    ·9·   don't have other -- well, I guess they do, but
      10·   Sale.                                            10·   I wrote over it.· So Bates number ending in
      11·   · · · · · · ·Do you see that?                    11·   952, which is page 3.
      12·   · · · ·A.· · Yes.                                12·   · · · · · · ·MR. RANSOM:· If I may, if you
      13·   · · · ·Q.· · What does that mean on this         13·   don't mind, just for the witness's benefit.
      14·   document?                                        14·   · · · · · · ·What Mr. Dietrich said, when we
      15·   · · · ·A.· · I believe, to the best of my        15·   produce documents on behalf of TCI, we apply a
      16·   knowledge, it would mean the first time we       16·   number so that we all can keep track of the
      17·   sold it on thrivecausemetics.com.                17·   documents.· That's the Bates number that he's
      18·   · · · ·Q.· · And the price, that's the price     18·   referring to.· It's the number that we put on
      19·   of that first sale?                              19·   for production.
      20·   · · · ·A.· · Without reviewing all of            20·   · · · · · · ·THE WITNESS:· Okay.
      21·   these, to the best of my knowledge, I            21·   BY MR. DIETRICH:
      22·   believe that yes, that would be first            22·   · · · ·Q.· · So let's use Bates numbers and go
      23·   price point.                                     23·   to the one ending in 952.
      24·   · · · ·Q.· · And it looks -- I guess, can you    24·   · · · ·A.· · Got it.
      25·   describe to me what the Channel column means,    25·   · · · ·Q.· · Are you with me?



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                    Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                     June 03, 2021
                                                   Page 90                                                Page 92
      ·1·   · · · ·A.· · Yes.                                ·1·   · · · · · · ·THE WITNESS:· Oh, yes, I do.
      ·2·   · · · ·Q.· · There towards the middle of the     ·2·   Sorry about that.
      ·3·   page, there's a product called Eye Cream,        ·3·   BY MR. DIETRICH:
      ·4·   first sale date, June 5, 2018.· Do you see       ·4·   · · · ·Q.· · What is Buildable Blur CC Cream?
      ·5·   that?                                            ·5·   · · · ·A.· · Buildable Blur CC Cream is
      ·6·   · · · ·A.· · Yes.· I see that on this            ·6·   defined as a CC cream, which is a product
      ·7·   document.                                        ·7·   that -- I actually have it on today.· It's
      ·8·   · · · ·Q.· · Would that be the first skincare    ·8·   on -- it's right here on my face.
      ·9·   product that TCI released?                       ·9·   · · · ·Q.· · What is a CC cream?
      10·   · · · ·A.· · No.                                 10·   · · · ·A.· · A CC cream is a product that
      11·   · · · ·Q.· · What came before that?              11·   covers up imperfections, evens out your
      12·   · · · · · · ·MR. RANSOM:· Objection.· Vague      12·   skin tone.
      13·   and ambiguous.· Assumes facts.                   13·   · · · ·Q.· · And does it moisturize the skin?
      14·   · · · ·Q.· · What skincare -- I'll re-ask the    14·   · · · ·A.· · Depending on the skin type,
      15·   question.                                        15·   yes.
      16·   · · · · · · ·If this wasn't the first, can you   16·   · · · ·Q.· · Is it advertised by TCI as a
      17·   identify a skincare product that was released    17·   moisturizer?
      18·   before that date?                                18·   · · · ·A.· · I don't recall.
      19·   · · · ·A.· · Overnight Sensation was the         19·   · · · ·Q.· · And the product description is
      20·   product that we -- that was our first            20·   broad spectrum SPF 35.· Is this product a
      21·   skincare product.                                21·   sunscreen as well?
      22·   · · · ·Q.· · I am not seeing that on this        22·   · · · ·A.· · It does have sunscreen in it.
      23·   document.· Do you see it there?                  23·   · · · ·Q.· · Would Buildable Blur be
      24·   · · · · · · ·MR. RANSOM:· Do you need help,      24·   considered a skincare product?
      25·   Mr. Dietrich?· The witness can take time out     25·   · · · ·A.· · I personally think of

                                                   Page 91                                                Page 93
      ·1·   and locate it.                                   ·1·   Buildable Blur CC Cream as more of a
      ·2·   BY MR. DIETRICH:                                 ·2·   makeup product.
      ·3·   · · · ·Q.· · I'll strike that.· I see            ·3·   · · · · · · ·MR. RANSOM:· I don't know if
      ·4·   Overnight Sensation Brightening Sleep Mask on    ·4·   you're done or not.
      ·5·   the next page.                                   ·5·   · · · · · · ·THE WITNESS:· Yeah, I'm done.
      ·6·   · · · ·A.· · Yes.                                ·6·   · · · · · · ·MR. RANSOM:· And we're at 11:57,
      ·7·   · · · ·Q.· · Is that what you're referring to?   ·7·   so whenever we can break that would be --
      ·8·   · · · ·A.· · Yes, on page 4, yes, I see          ·8·   · · · · · · ·MR. DIETRICH:· I just have a
      ·9·   that.                                            ·9·   couple more questions on this document and
      10·   · · · ·Q.· · And it has a release date of        10·   then we can finish up.
      11·   October 9th, 2018; is that right?                11·   · · · · · · ·MR. RANSOM:· Go ahead.
      12·   · · · ·A.· · On this document it looks like      12·   · BY MR. DIETRICH:
      13·   it, yeah.                                        13·   · · · ·Q.· · Do you consider Buildable Blur a
      14·   · · · ·Q.· · Is that accurate?                   14·   makeup product?
      15·   · · · ·A.· · To the best of my knowledge,        15·   · · · ·A.· · Yes.
      16·   yes.                                             16·   · · · ·Q.· · Why is that?
      17·   · · · ·Q.· · Do you know what the eye cream on   17·   · · · ·A.· · Because of pigment that's in
      18·   the prior page refers to?                        18·   it.· It's shaded.· So currently we have 18
      19·   · · · ·A.· · I don't.                            19·   shades.· And it really is helping to
      20·   · · · ·Q.· · On the third page, there's a        20·   improve the appearance of the skin from
      21·   product called Buildable Blur CC Cream.· Do      21·   a -- the same way makeup would.
      22·   you see a there's a number of listings for       22·   · · · ·Q.· · And has TCI discontinued any
      23·   that?                                            23·   skincare products?
      24·   · · · ·A.· · Mm-hmm.                             24·   · · · ·A.· · I don't recall.· I don't
      25·   · · · · · · ·MR. RANSOM:· You need to say yes.   25·   recall.



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                    Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                     June 03, 2021
                                                   Page 94                                                Page 96
      ·1·   · · · ·Q.· · Turning to the fourth page, Bates   ·1·   · · · ·A.· · Yes.
      ·2·   No. 953, you identified Overnight Sensation      ·2·   · · · ·Q.· · Below that, there are two that
      ·3·   Brightening Sleep Mask as the first, in your     ·3·   are called Deluxe Travel.· And one is Deluxe
      ·4·   view, skincare product TCI released; is that     ·4·   Travel Bright Balance 3-in-1 Cleanser, and
      ·5·   right?                                           ·5·   Deluxe Travel Defying Gravity Transforming
      ·6·   · · · ·A.· · Yes.                                ·6·   Moisturizer.
      ·7·   · · · ·Q.· · Does TCI still sell that today?     ·7·   · · · · · · ·Are those both skincare products?
      ·8·   · · · ·A.· · Yes, we do.                         ·8·   · · · ·A.· · Yes.· They would be the
      ·9·   · · · ·Q.· · And how about down at the bottom,   ·9·   smaller version of that, like, a sample
      10·   there is a Liquid Balm Lip Treatment.            10·   essentially.
      11·   · · · · · · ·Do you see that?                    11·   · · · ·Q.· · A travel version?
      12·   · · · ·A.· · Yes.                                12·   · · · ·A.· · Yes.
      13·   · · · ·Q.· · Does TCI still sell that today?     13·   · · · ·Q.· · Going to Bates 955, the 6th page.
      14·   · · · ·A.· · Yes.                                14·   · · · ·A.· · I am there, yes.
      15·   · · · ·Q.· · Just above that it looks like       15·   · · · ·Q.· · Pumpkin Spice Latte Liquid Balm
      16·   there's an Overnight Sensation Brightening       16·   Lip Treatment.· Is that a skincare product?
      17·   Sleep Mask V2?                                   17·   · · · ·A.· · It's -- depending on how you
      18·   · · · ·A.· · Yes.                                18·   define -- both the Liquid Balm Lip
      19·   · · · ·Q.· · Is that an update of the first      19·   Treatment category could be makeup or
      20·   version or what is that?                         20·   skincare.
      21·   · · · ·A.· · I believe it is the smaller         21·   · · · ·Q.· · Defying Gravity Nourishing Hand
      22·   version of Overnight Sensation.                  22·   Plus Nail Cream.· Is that a skincare product?
      23·   · · · ·Q.· · Okay.· It just comes in a smaller   23·   · · · ·A.· · I would consider it more
      24·   package?                                         24·   hand -- hand care.
      25·   · · · ·A.· · I believe that's what it is         25·   · · · ·Q.· · Is there any distinction between

                                                   Page 95                                                Page 97
      ·1·   referring to, yes.                               ·1·   caring for skin on your hands and elsewhere?
      ·2·   · · · ·Q.· · The prices are the same.· They're   ·2·   · · · · · · ·MR. RANSOM:· Vague and ambiguous.
      ·3·   both listed at $62.· Does that match with it     ·3·   Lacks foundation.
      ·4·   being in a smaller package?                      ·4·   · · · · · · ·THE WITNESS:· It really depends
      ·5·   · · · ·A.· · I don't recall.                     ·5·   on who you ask.
      ·6·   · · · ·Q.· · Going to Bates 954, page 5.· Are    ·6·   BY MR. DIETRICH:
      ·7·   you with me?                                     ·7·   · · · ·Q.· · Is it sold under the skincare
      ·8·   · · · ·A.· · Yes.· I am on page 5, yes.          ·8·   products category by TCI?
      ·9·   · · · ·Q.· · There's Bright Balance 3-in-1       ·9·   · · · ·A.· · I don't recall specifically.
      10·   Cleanser.                                        10·   But I can see why it would be.
      11·   · · · · · · ·Do you see that?                    11·   · · · ·Q.· · And below that Overnight
      12·   · · · ·A.· · Yes.                                12·   Sensation Gentle Resurfacing Peel, is that
      13·   · · · ·Q.· · Is that a skincare product?         13·   considered a skincare product?
      14·   · · · ·A.· · Yes.                                14·   · · · ·A.· · Yes.
      15·   · · · ·Q.· · And just below that Defying         15·   · · · ·Q.· · There's a few entries for
      16·   Gravity Transforming Moisturizer.· Is that a     16·   Overnight Sensation Brightening Sleep Mask. I
      17·   skincare product?                                17·   think we already covered that, but is that a
      18·   · · · ·A.· · Yes.                                18·   skincare product?
      19·   · · · ·Q.· · And below that, Defying Gravity     19·   · · · ·A.· · Yes.
      20·   Eye Lifting Cream.· Is that a skincare           20·   · · · ·Q.· · And then down toward the bottom,
      21·   product?                                         21·   there's Defying Gravity Eye Lifting Cream.· Is
      22·   · · · ·A.· · Yes.                                22·   that a skincare product?
      23·   · · · ·Q.· · Below that is Liquid Light          23·   · · · ·A.· · Yes.
      24·   Therapy Face Serum.· Is that a skincare          24·   · · · · · · ·MR. RANSOM:· Now it's 12:05.· If
      25·   product?                                         25·   you're about to wrap up --



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                    Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                     June 03, 2021
                                                  Page 134                                               Page 136
      ·1·   · · · · · · ·MR. RANSOM:· Vague and ambiguous.   ·1·   · · · ·Q.· · Are those TCI skincare products?
      ·2·   · · · · · · ·THE WITNESS:· They weren't          ·2·   · · · ·A.· · Yes.
      ·3·   interested.                                      ·3·   · · · ·Q.· · Do you know who categorized those
      ·4·   BY MR. DIETRICH:                                 ·4·   products as such?
      ·5·   · · · ·Q.· · Did TCI approach Shiseido about a   ·5·   · · · ·A.· · No.
      ·6·   potential sale?                                  ·6·   · · · ·Q.· · Was it you?
      ·7·   · · · ·A.· · No.                                 ·7·   · · · ·A.· · No.
      ·8·   · · · ·Q.· · Did Shiseido approach TCI?          ·8·   · · · ·Q.· · What is TCI's top selling product
      ·9·   · · · ·A.· · Yes.                                ·9·   today?
      10·   · · · ·Q.· · Did L'Oréal approach TCI about an   10·   · · · · · · ·MR. RANSOM:· Objection.· Exceeds
      11·   acquisition?                                     11·   the scope.· You can answer.
      12·   · · · ·A.· · No.                                 12·   · · · · · · ·THE WITNESS:· I don't know.
      13·   · · · ·Q.· · Did TCI approach L'Oréal?           13·   BY MR. DIETRICH:
      14·   · · · ·A.· · No.                                 14·   · · · ·Q.· · How about with top selling
      15·   · · · ·Q.· · How did those discussions start?    15·   skincare products, do you know?
      16·   · · · ·A.· · I used to work for L'Oréal.         16·   · · · · · · ·MR. RANSOM:· Same objections.
      17·   · · · ·Q.· · And how did it go from there to a   17·   · · · · · · ·THE WITNESS:· No.· No, I don't
      18·   potential purchase of the company?               18·   know.
      19·   · · · ·A.· · I have maintained a                 19·   BY MR. DIETRICH:
      20·   relationship with L'Oréal.                       20·   · · · ·Q.· · Looking at Exhibit 19, there's a
      21·   · · · ·Q.· · And who approached who about an     21·   category labeled COGS.· Do you see that?
      22·   acquisition?                                     22·   · · · ·A.· · Yes.
      23·   · · · ·A.· · They were never serious             23·   · · · ·Q.· · What does that mean?
      24·   discussions.· I honestly don't know how to       24·   · · · · · · ·MR. RANSOM:· Objection.· Lacks
      25·   answer that question.                            25·   foundation.· Exceeds the scope.

                                                  Page 135                                               Page 137
      ·1·   · · · · · · ·MR. DIETRICH:· Let's go ahead and   ·1·   · · · · · · ·THE WITNESS:· I honestly don't
      ·2·   take a break.                                    ·2·   know for this document.
      ·3·   · · · · · · ·THE VIDEOGRAPHER:· We're off the    ·3·   · · · · · · ·(Technical difficulties.)
      ·4·   record.· The time is 2:09.                       ·4·   · · · · · · ·(Discussion off the record.)
      ·5·   · · · · · · ·(Break taken.)                      ·5·   BY MR. DIETRICH:
      ·6·   · · · · · · ·THE VIDEOGRAPHER:· We're on the     ·6·   · · · ·Q.· · Ms. Bodnar, does TCI advertise
      ·7·   record.· The time is 2:20.                       ·7·   with online advertisement?
      ·8·   · · · · · · ·(Exhibit No. 19 marked for          ·8·   · · · ·A.· · We advertise on Facebook,
      ·9·   identification.)                                 ·9·   Instagram, TickTok, to name a few.
      10·   · BY MR. DIETRICH:                               10·   · · · ·Q.· · And do you advertise on Google?
      11·   · · · ·Q.· · Ms. Bodnar, I show you another      11·   · · · ·A.· · Yes, we do.
      12·   exhibit.· I would ask to mark this Exhibit 19.   12·   · · · ·Q.· · And do you purchase keywords for
      13·   · · · · · · ·(Exhibit No. 19 marked for          13·   advertising purposes?
      14·   identification.)                                 14·   · · · ·A.· · Yes.
      15·   BY MR. DIETRICH:                                 15·   · · · ·Q.· · And those sources that you
      16·   · · · ·Q.· · Look at Exhibit 19.· Do you         16·   listed, was that the same in 2018 or
      17·   recognize this document?                         17·   different?
      18·   · · · · · · ·MR. RANSOM:· Objection.· Exceeds    18·   · · · ·A.· · You cut out for a second.
      19·   the scope.· Lacks foundation, but you can        19·   Could you repeat the question?
      20·   answer.                                          20·   · · · ·Q.· · The sources that you listed, was
      21·   · · · · · · ·THE WITNESS:· No.                   21·   that the same for 2018 or different?
      22·   BY MR. DIETRICH:                                 22·   · · · ·A.· · I believe our advertising
      23·   · · · ·Q.· · There are products included on      23·   efforts are always evolving and changing,
      24·   this document.· Do you see those?                24·   so I would believe they were different.
      25·   · · · ·A.· · Yes.                                25·   · · · ·Q.· · Is there a target audience for



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      ·1·   · · · ·Q.· · Okay.· It appears to refer to an    ·1·   · · · ·A.· · Conversion.
      ·2·   advertising campaign; is that right?             ·2·   · · · ·Q.· · And CVR?
      ·3·   · · · ·A.· · Yes.                                ·3·   · · · ·A.· · That's speaking to the
      ·4·   · · · ·Q.· · Do you know what campaign this      ·4·   conversion, depending on the platform.
      ·5·   was?                                             ·5·   And the way that it is defined -- sorry.
      ·6·   · · · ·A.· · No.                                 ·6·   · · · ·Q.· · And do you know what platform
      ·7·   · · · · · · ·MR. RANSOM:· Tom, just for the      ·7·   this campaign was conducted on?
      ·8·   record.· I believe this is a summary portion     ·8·   · · · ·A.· · Without reading it further, I
      ·9·   of a much longer document.· If I am not          ·9·   would have to -- I would have to -- it
      10·   mistaken, it's about a 3,500-page document.      10·   doesn't -- I haven't reviewed the document
      11·   · · · · · · ·So I don't have an issue with you   11·   in full, so no.
      12·   asking questions about the top line summary,     12·   · · · ·Q.· · Go on to the second page.· It
      13·   but I would just note that the document is       13·   states under Takeaways that 45 to 54 is the
      14·   incomplete, although given its size,             14·   strongest performing (ROI and revenue) age
      15·   understandably so.                               15·   range, both in brand and non-brand.
      16·   · · · · · · ·MR. DIETRICH:· Okay.                16·   · · · · · · ·Do you see that?
      17·   BY MR. DIETRICH:                                 17·   · · · ·A.· · Yes.
      18·   · · · ·Q.· · Do you know if the data in this     18·   · · · ·Q.· · What does that mean by brand and
      19·   exhibit relates to the campaign between          19·   non-brand?
      20·   November 7, 2019 and February 4, 2020?           20·   · · · ·A.· · Without knowing the platform
      21·   · · · ·A.· · That's what is listed on the        21·   that this report came from, it's hard for
      22·   PDF that you shared.· I see that in there.       22·   me to be specific.
      23·   · · · ·Q.· · Okay.· And there's a column that    23·   · · · ·Q.· · This is a TCI report, right?
      24·   IMPR.· What does that mean?                      24·   · · · ·A.· · I have to believe so if it was
      25·   · · · ·A.· · Impressions.                        25·   provided by us.

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      ·1·   · · · ·Q.· · What does that mean?                ·1·   · · · ·Q.· · Turn to the next page.· It
      ·2·   · · · ·A.· · It truly depends on the             ·2·   states:· "Takeaways."· And the seconds line
      ·3·   advertising platform, but in a very broad        ·3·   is, "Men do not have poor deficiency
      ·4·   terms, it would be the amount of consumers       ·4·   performance."
      ·5·   that an advertiser can claim your                ·5·   · · · · · · ·Do you see that?
      ·6·   advertisement reached.                           ·6·   · · · ·A.· · Yes, I see that on the page.
      ·7·   · · · ·Q.· · And clicks are the number of        ·7·   · · · ·Q.· · What does that mean?
      ·8·   people that clicked on the advertisement; is     ·8·   · · · ·A.· · I don't know.
      ·9·   that correct?                                    ·9·   · · · ·Q.· · This spreadsheet appears to show
      10·   · · · ·A.· · It depends because                  10·   revenue by gender of purchaser; is that
      11·   advertisements are set up separately.· So        11·   correct?
      12·   in this case, it says clicks, and then           12·   · · · ·A.· · It has female, male and
      13·   column D is click-through rate, so...            13·   unknown listed.
      14·   · · · ·Q.· · Is that CPI, click-through rate?    14·   · · · ·Q.· · And it shows $338,075 revenue on
      15·   · · · ·A.· · Yes.                                15·   sales to men; is that correct.
      16·   · · · ·Q.· · What does that mean?                16·   · · · ·A.· · Yes.
      17·   · · · ·A.· · Again, it depends on the            17·   · · · ·Q.· · And that's just purchaser that
      18·   platform.· But again, in broad terms, it         18·   gender was known, right?
      19·   would be if a consumer saw an                    19·   · · · ·A.· · Yes.
      20·   advertisement, clicked through, and went         20·   · · · ·Q.· · And that is during the
      21·   to the landing page or a product page or         21·   November 7, 2019 to February 4th, 2020 time
      22·   another web page that was intended for the       22·   period?
      23·   consumer to click on or click through to.        23·   · · · ·A.· · Let me just scroll up in this
      24·   · · · ·Q.· · And then CONV, what does that       24·   document.· Yes, yes.
      25·   mean?                                            25·   · · · ·Q.· · Do you know if this campaign was



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      ·1·   separate spaces and really don't -- we see       ·1·   Do you see that?
      ·2·   our target markets as completely                 ·2·   · · · ·A.· · I do see that on this
      ·3·   different.                                       ·3·   document.
      ·4·   · · · ·Q.· · What separate spaces do you think   ·4·   · · · ·Q.· · This was produced to us by TCI in
      ·5·   that you operate in?                             ·5·   this case.
      ·6·   · · · ·A.· · We believe that we sell to          ·6·   · · · · · · ·Do you know how it came to be in
      ·7·   different consumers.                             ·7·   TCI's possession?
      ·8·   · · · ·Q.· · Than Natural Care?                  ·8·   · · · · · · ·MR. RANSOM:· Assumes facts not
      ·9·   · · · ·A.· · Yes.                                ·9·   evidence.· To be clear, Tom, we produced
      10·   · · · ·Q.· · And can you explain what            10·   documents that were not just in TCI's
      11·   different consumers could you believe TCI        11·   possession, but also in control including from
      12·   sells to?                                        12·   outside counsel.
      13·   · · · ·A.· · We specifically target woman        13·   · · · · · · ·MR. DIETRICH:· Okay.· I can
      14·   with mostly everything that we do, and we        14·   rephrase that.
      15·   don't -- we're also sold in different            15·   · BY MR. DIETRICH:
      16·   channels.                                        16·   · · · ·Q.· · Was this document in TCI's
      17·   · · · ·Q.· · Did you believe Thrive Natural      17·   possession?
      18·   Care didn't target women?                        18·   · · · ·A.· · It's understanding through
      19·   · · · ·A.· · Honestly, I don't know.             19·   preparation with counsel that this was --
      20·   · · · ·Q.· · After learning about Thrive         20·   · · · ·Q.· · Okay.· I would just -- only the
      21·   Natural Care, did TCI do anything to change      21·   fact of any discussion with counsel.
      22·   the way it advertised?                           22·   · · · · · · ·MR. RANSOM:· You can simply
      23·   · · · ·A.· · No.                                 23·   testify -- Tom, I don't want there to be an
      24·   · · · ·Q.· · Did TCI monitor Thrive Natural      24·   inadvertent privileged disclosure, but the
      25·   Care at all after and learning of its            25·   witness is prepared to testify, at least to

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      ·1·   existence?                                       ·1·   the knowledge of company, with respect to
      ·2·   · · · ·A.· · I don't know what you mean by       ·2·   document.
      ·3·   "monitor."                                       ·3·   · · · · · · ·Would it be all right with you if
      ·4·   · · · ·Q.· · Well, did anyone at TCI look up     ·4·   we took a moment just to make sure, again, she
      ·5·   Thrive Natural Care after finding out about      ·5·   understands the line between privileged and
      ·6·   its trademark registration?                      ·6·   non-privileged information?· I think it will
      ·7·   · · · ·A.· · Yeah.· I looked at their            ·7·   get you the information quicker.
      ·8·   website.                                         ·8·   · · · · · · ·MR. DIETRICH:· Sure.
      ·9·   · · · ·Q.· · And did you look at what products   ·9·   · · · · · · ·(Discussion off the record.)
      10·   they sold?                                       10·   · · · · · · ·THE VIDEOGRAPHER:· We're off the
      11·   · · · ·A.· · To the best of my recollection      11·   record.· The time is 4:03.
      12·   it was men's shaving products.                   12·   · · · · · · ·(Break taken.)
      13·   · · · ·Q.· · But you said you didn't know if     13·   · · · · · · ·THE VIDEOGRAPHER:· We're on the
      14·   they targeted women or not?                      14·   record.· The time is 4:10.
      15·   · · · ·A.· · No, I don't know.                   15·   · · · · · · ·MR. DIETRICH:· I believe Thrive
      16·   · · · · · · ·(Exhibit No. 27 marked for          16·   Causemetics counsel had a statement to make
      17·   identification.)                                 17·   regarding Exhibit 27.
      18·   BY MR. DIETRICH:                                 18·   · · · · · · ·MR. RANSOM:· So Exhibit 27 was
      19·   · · · ·Q.· · Okay.· Showing you what has been    19·   not in the files that we collected from Thrive
      20·   marked as Exhibit 27.· Do you recognize this     20·   Causemetics.· But we did reach out to former
      21·   document?                                        21·   counsel for Thrive Causemetics to obtain
      22·   · · · ·A.· · I recognize it from                 22·   documents that were within the client's
      23·   preparation with counsel.                        23·   control.
      24·   · · · ·Q.· · And it is a trademark report,       24·   · · · · · · ·And those documents that we
      25·   dated generated as listed as January 12, 2015.   25·   received from outside counsel and then



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      ·1·   produced, including Exhibit 27, sorry --         ·1·   effect on TCI's decision to expand into
      ·2·   included Exhibit 27, it was attached to a        ·2·   skincare products?
      ·3·   privileged email reflecting that Exhibit 27      ·3·   · · · ·A.· · No.
      ·4·   had been emailed to Ms. Bodnar at Thrive         ·4·   · · · ·Q.· · Has TCI ever received an inquiry
      ·5·   Causemetics in August of 2015.· And so that's    ·5·   about Thrive Natural Care products?
      ·6·   the source of this document.                     ·6·   · · · ·A.· · Could you be more specific
      ·7·   · · · · · · ·I will say the witness doesn't      ·7·   about what you mean by inquiry?
      ·8·   have, I understand, a particular memory of it,   ·8·   · · · ·Q.· · A question from anyone.
      ·9·   but also doesn't dispute that she received it    ·9·   · · · ·A.· · When you mean -- could you be
      10·   at that time.· But Mr. Dietrich, you can         10·   more specific about, like, who you're
      11·   examine the witness directly on that issue.      11·   talking about?
      12·   · · · · · · ·MR. DIETRICH:· Okay.· Thank you.    12·   · · · ·Q.· · Well, let's start broad.· Are you
      13·   · BY MR. DIETRICH:                               13·   aware of TCI ever receiving an inquiry of any
      14·   · · · ·Q.· · Ms. Bodnar, hearing the statement   14·   kind about Thrive Natural Care?
      15·   from your counsel, do you dispute that you       15·   · · · ·A.· · Sure.
      16·   received Exhibit 27 in August 2015?              16·   · · · ·Q.· · And what example are you thinking
      17·   · · · ·A.· · No.                                 17·   of?
      18·   · · · ·Q.· · And that document was in your       18·   · · · ·A.· · I remember one time our PR
      19·   possession after that time?                      19·   firm mentioned them, but really thought
      20·   · · · ·A.· · Yes.                                20·   they operated in different spaces, a
      21·   · · · ·Q.· · Did you review this document?       21·   different space than us.· But it was more
      22·   · · · ·A.· · In --                               22·   just like an FYI.
      23·   · · · · · · ·MR. RANSOM:· Vague and ambiguous    23·   · · · ·Q.· · Has TCI ever received a question
      24·   as to time.                                      24·   as to whether a Thrive Natural Care product
      25·   · BY MR. DIETRICH:                               25·   came from TCI?

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      ·1·   · · · ·Q.· · Did you review in document in       ·1·   · · · ·A.· · Could you repeat the question?
      ·2·   2015 when you received it?                       ·2·   · · · ·Q.· · Sure.· Has TCI ever received a
      ·3·   · · · ·A.· · I honestly don't recall.            ·3·   question about whether a Thrive Natural Care
      ·4·   · · · ·Q.· · But you don't dispute that you      ·4·   product came from TCI?
      ·5·   had, I guess looking -- strike that.             ·5·   · · · ·A.· · To my knowledge, no.
      ·6·   · · · · · · ·Looking at Exhibit 27, it is a      ·6·   · · · ·Q.· · Have you prepared to testify on
      ·7·   trademark search result showing Thrive Natural   ·7·   this particular topic?
      ·8·   Care's trademark registration and application;   ·8·   · · · ·A.· · Yes.
      ·9·   is that correct?                                 ·9·   · · · ·Q.· · So when you say to your
      10·   · · · ·A.· · Yes.                                10·   knowledge, you mean to the company's
      11·   · · · ·Q.· · And you agree that TCI had this     11·   knowledge?
      12·   knowledge as of August 2015?                     12·   · · · ·A.· · Yes.
      13·   · · · ·A.· · Yes.                                13·   · · · ·Q.· · Has TCI ever received information
      14·   · · · ·Q.· · Did TCI take any action based on    14·   indicating someone believed that a TCI product
      15·   having the knowledge in this report?             15·   came from Thrive Natural Care?
      16·   · · · ·A.· · I don't believe so.                 16·   · · · ·A.· · No.
      17·   · · · ·Q.· · Do you know why not?                17·   · · · ·Q.· · Has TCI ever received information
      18·   · · · · · · ·MR. RANSOM:· Objection.· Vague      18·   indicating someone believed TCI and Thrive
      19·   and ambiguous.· Lacks foundation.                19·   Natural Care were affiliated?
      20·   · · · · · · ·THE WITNESS:· I don't recall.       20·   · · · ·A.· · No.
      21·   BY MR. DIETRICH:                                 21·   · · · ·Q.· · Have you ever had investors ask
      22·   · · · ·Q.· · Has TCI knowledge of Thrive's       22·   with whether Thrive Causemetics and Thrive
      23·   ever affected TCI's business plans in any way?   23·   Natural Care were affiliated or related?
      24·   · · · ·A.· · No.                                 24·   · · · ·A.· · No.
      25·   · · · ·Q.· · Did that knowledge have any         25·   · · · · · · ·(Exhibit No. 28 marked for



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      ·1·   it states:                                       ·1·   · · · · · · ·She's free to answer the question
      ·2·   · · · · · · ·"As such, we ask that Thrive        ·2·   to the extent it is divorced from -- does not
      ·3·   Causemetics use the word Causemetics more        ·3·   reflect any communication with counsel.
      ·4·   prominently in relation to the word thrive in    ·4·   · · · · · · ·THE WITNESS:· Yeah I -- based on
      ·5·   its branding and on its website."                ·5·   conversation with counsel.
      ·6·   · · · · · · ·Do you see that?                    ·6·   · BY MR. DIETRICH:
      ·7·   · · · ·A.· · Yes.                                ·7·   · · · ·Q.· · I would asked this to be marked
      ·8·   · · · ·Q.· · Did TCI ever take any action to     ·8·   Exhibit 30.
      ·9·   do what Le-Vel asked you to?                     ·9·   · · · · · · ·(Exhibit No. 30 marked for
      10·   · · · ·A.· · We see Thrive Causemetics as        10·   identification.)
      11·   our brand name and this letter doesn't           11·   · · · · · · ·THE WITNESS:· Okay.· I have it
      12·   really change that one way or another.           12·   open.
      13·   · · · ·Q.· · Did you do anything to make the     13·   BY MR. DIETRICH:
      14·   word Causemetics more prominent in relation to   14·   · · · ·Q.· · Do you recognize what's been
      15·   the word Thrive?                                 15·   marked Exhibit 30?
      16·   · · · ·A.· · Not due to this letter.             16·   · · · ·A.· · I recognize that it came from
      17·   · · · ·Q.· · Below, it states:                   17·   my email address.
      18·   · · · · · · ·"We similarly hope you will avoid   18·   · · · ·Q.· · This is an email chain that came
      19·   uses of Thrive standing alone, in favor of       19·   from your email account?
      20·   using it with Causemetics, e.g., Thrive          20·   · · · ·A.· · Yes.
      21·   Causemetics Lab instead of Thrive Lab."          21·   · · · ·Q.· · Are the dates of the email
      22·   · · · · · · ·Do you see that?                    22·   exchange accurate?
      23·   · · · ·A.· · Yes, I see that.                    23·   · · · ·A.· · I believe so.
      24·   · · · ·Q.· · Did you take any action to stop     24·   · · · ·Q.· · At the bottom, the bottom third
      25·   using the phrase Thrive Lab after this letter?   25·   of the document, it looks like there's an

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      ·1·   · · · ·A.· · Not due you to this letter. I       ·1·   email you sent on April 22, 2016.· Do you see
      ·2·   don't recall the timing.                         ·2·   that?
      ·3·   · · · ·Q.· · Why did TCI not take any action     ·3·   · · · ·A.· · Yes.
      ·4·   in response to this letter?                      ·4·   · · · ·Q.· · Is that the first contact that
      ·5·   · · · · · · ·MR. RANSOM:· Objection.· Vague      ·5·   you referred to a minute ago?
      ·6·   and ambiguous.                                   ·6·   · · · ·A.· · I believe so.
      ·7·   · · · · · · ·THE WITNESS:· I don't recall.       ·7·   · · · ·Q.· · Do you recall any prior contact
      ·8·   BY MR. DIETRICH:                                 ·8·   before this?
      ·9·   · · · ·Q.· · When was the first time TCI made    ·9·   · · · ·A.· · I don't recall any prior
      10·   contact with Thrive Natural Care?                10·   contact.
      11·   · · · ·A.· · I believe it was towards the        11·   · · · ·Q.· · Did you know of Thrive's
      12·   end of 2015 or early 2016.                       12·   trademark registration by this point?
      13·   · · · ·Q.· · And what sort of contact was        13·   · · · ·A.· · Yes.
      14·   that?                                            14·   · · · ·Q.· · And you wrote:
      15·   · · · ·A.· · I reached out to TNC's              15·   · · · · · · ·"I am reaching out to speak with
      16·   customer service email.                          16·   your founder or someone on your team to
      17·   · · · ·Q.· · How did you get that email          17·   discuss permission to use the word Thrive as
      18·   address?                                         18·   part of our brand name."
      19·   · · · ·A.· · I don't recall.                     19·   · · · · · · ·Do you see that?
      20·   · · · ·Q.· · And what was the purpose of you     20·   · · · ·A.· · Yes.
      21·   reaching out?                                    21·   · · · ·Q.· · Why did TCI feel it needed
      22·   · · · · · · ·MR. RANSOM:· Let me just do one     22·   Thrive's permission to use the word Thrive in
      23·   caution.· I don't want the witness to disclose   23·   its brand name?
      24·   any communication with counsel or instructions   24·   · · · · · · ·MR. RANSOM:· Vague and ambiguous.
      25·   or advice she received from counsel.             25·   Assumes facts not in evidence.



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      ·1·   · · · · · · ·THE WITNESS:· I don't recall.       ·1·   · · · ·A.· · As part of this testimony, I
      ·2·   BY MR. DIETRICH:                                 ·2·   remember looking at that document with
      ·3·   · · · ·Q.· · Well you wrote this, right?         ·3·   you.
      ·4·   · · · · · · ·MR. RANSOM:· Asked and answered.    ·4·   · · · ·Q.· · And so you don't recall if TCI
      ·5·   · · · · · · ·THE WITNESS:· Yes.                  ·5·   had plans to expand into skincare when this
      ·6·   BY MR. DIETRICH:                                 ·6·   email was sent?
      ·7·   · · · ·Q.· · And do you -- and you stated you    ·7·   · · · · · · ·MR. RANSOM:· Asked and answered.
      ·8·   wanted to discuss permission to use the word     ·8·   You can answer again.
      ·9·   Thrive as part of our brand name?                ·9·   · · · · · · ·THE WITNESS:· I don't recall.
      10·   · · · ·A.· · Yes.                                10·   BY MR. DIETRICH:
      11·   · · · ·Q.· · Why did you want to discuss that    11·   · · · ·Q.· · You stated, following that:
      12·   issue?                                           12·   · · · · · · ·"We will never use the word
      13·   · · · · · · ·MR. RANSOM:· Objection.· Asked      13·   Thrive without the word Causemetics because
      14·   and answered.· And again, I would caution the    14·   the two words we use are our brand."
      15·   witness not to disclose privileged               15·   · · · · · · ·Do you see that?
      16·   communications to the extent that it would be    16·   · · · ·A.· · I see that.
      17·   disclosed in answer to the question.· But if     17·   · · · ·Q.· · Was that an accurate statement?
      18·   there are non-privileged aspects to that         18·   · · · · · · ·MR. RANSOM:· Vague and ambiguous.
      19·   answer, she may provide it to the extent she     19·   · · · · · · ·THE WITNESS:· Our intention is
      20·   recalls.                                         20·   always to use Thrive and Causemetics together.
      21·   · · · · · · ·THE WITNESS:· Yeah, I don't         21·   That's our brand name.
      22·   recall.                                          22·   BY MR. DIETRICH:
      23·   BY MR. DIETRICH:                                 23·   · · · ·Q.· · Didn't we look at some documents
      24·   · · · ·Q.· · Were you worried about trademark    24·   earlier where you used Thrive without
      25·   infringement liability?                          25·   Causemetics several different times?

                                                  Page 199                                               Page 201
      ·1·   · · · · · · ·MR. RANSOM:· Same objection and     ·1·   · · · · · · ·MR. RANSOM:· Objection.
      ·2·   instruction not to disclose privileged           ·2·   Argumentative.· Asked and answered.
      ·3·   communications.· Non-privileged information      ·3·   BY MR. DIETRICH:
      ·4·   that you can share and you recall, you're free   ·4·   · · · ·Q.· · You can answer.
      ·5·   to do so.                                        ·5·   · · · ·A.· · As part of this testimony,
      ·6·   · · · · · · ·THE WITNESS:· I don't recall.       ·6·   yes.
      ·7·   · BY MR. DIETRICH:                               ·7·   · · · ·Q.· · We have discussed the fact that
      ·8·   · · · ·Q.· · You state below that:               ·8·   TCI has purchased advertising keywords that
      ·9·   · · · · · · ·"We are a color cosmetics brand."   ·9·   just contain the word Thrive without the word
      10·   · · · · · · ·Do you see that?                    10·   Causemetics, right?
      11·   · · · ·A.· · Yes.                                11·   · · · ·A.· · Yes.
      12·   · · · ·Q.· · What did you mean by that?          12·   · · · ·Q.· · You state further in your email:
      13·   · · · ·A.· · In April of 2016, we sold           13·   · · · · · · ·"We only help women and I see
      14·   color cosmetics.                                 14·   that you are a men's line."
      15·   · · · ·Q.· · Didn't TCI have plans to expand     15·   · · · · · · ·Did you write that?
      16·   into skincare at this time?                      16·   · · · ·A.· · It appears so in this email.
      17·   · · · · · · ·MR. RANSOM:· Vague and ambiguous.   17·   · · · ·Q.· · On what did you base the
      18·   Lacks foundation.                                18·   conclusion that Thrive Natural Care was a
      19·   · · · · · · ·THE WITNESS:· I don't recall.       19·   men's line?
      20·   BY MR. DIETRICH:                                 20·   · · · ·A.· · I don't recall specifically.
      21·   · · · ·Q.· · Well, we saw the slide earlier      21·   I just -- from my recollection, Thrive
      22·   from January 2016 referring to releasing         22·   Natural Care had men's shaving products.
      23·   skincare SKUs in 2017.                           23·   It was a different space than us.
      24·   · · · · · · ·Do you remember looking at that     24·   · · · ·Q.· · Did TCI have any information on
      25·   document?                                        25·   the demographics of Thrive Natural Care's



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                    Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                     June 03, 2021
                                                  Page 202                                               Page 204
      ·1·   customers?                                       ·1·   · · · ·Q.· · Who is Mary Baker Anderson?
      ·2·   · · · ·A.· · No.                                 ·2·   · · · ·A.· · She was a contract finance
      ·3·   · · · ·Q.· · The middle of this page shows the   ·3·   person that we worked for -- worked with
      ·4·   response from Thrive Natural Care; is that       ·4·   for a short period of time.
      ·5·   correct?                                         ·5·   · · · ·Q.· · Did TCI take any action as a
      ·6·   · · · ·A.· · Yes.                                ·6·   result of this email exchange?
      ·7·   · · · ·Q.· · Do you recall reviewing this        ·7·   · · · ·A.· · I don't recall.
      ·8·   response?                                        ·8·   · · · ·Q.· · Did TCI stop using Thrive as part
      ·9·   · · · ·A.· · As part of my preparation for       ·9·   of its name?
      10·   this testimony with counsel.                     10·   · · · ·A.· · No.
      11·   · · · ·Q.· · And this is from Alex McIntosh      11·   · · · ·Q.· · Did TCI change the way it
      12·   with Thrive Natural Care.· Do you see that?      12·   advertised?
      13·   · · · ·A.· · Yes.                                13·   · · · ·A.· · I don't understand the
      14·   · · · ·Q.· · And he wrote:                       14·   question.
      15·   · · · · · · ·"We already sell female cosmetic    15·   · · · ·Q.· · Well, did this response from
      16·   products."· Do you see that?                     16·   Thrive Natural Care have any effect at all on
      17·   · · · ·A.· · Yes.                                17·   TCI's business practices?
      18·   · · · ·Q.· · Did you believe that statement?     18·   · · · ·A.· · No.
      19·   · · · ·A.· · I don't recall.                     19·   · · · · · · ·MR. RANSOM:· Whenever you're done
      20·   · · · ·Q.· · And he wrote:                       20·   with this document, if we can take a short
      21·   · · · · · · ·"I also have outside investors in   21·   break, I would appreciate it.· Go ahead and
      22·   my company and owe them the protection of the    22·   finish up.
      23·   Thrive mark across the gamut of personal care    23·   · · · · · · ·MR. DIETRICH:· No.· Let's go
      24·   products that fall within our own mark."         24·   ahead and do that now.
      25·   · · · · · · ·Do you see that?                    25·   · · · · · · ·THE VIDEOGRAPHER:· Off record.

                                                  Page 203                                               Page 205
      ·1·   · · · ·A.· · Yes.                                ·1·   The time is 4:41.
      ·2·   · · · ·Q.· · This was a pretty clear rejection   ·2·   · · · · · · ·(Break taken.)
      ·3·   of your request to use the Thrive name, wasn't   ·3·   · · · · · · ·THE VIDEOGRAPHER:· And we are on
      ·4·   it?                                              ·4·   the record.· The time is 4:51.
      ·5·   · · · · · · ·MR. RANSOM:· Objection.             ·5·   BY MR. DIETRICH:
      ·6·   Argumentative.· Lacks foundation.· Document      ·6·   · · · ·Q.· · I'm sending you another exhibit.
      ·7·   speaks for itself.                               ·7·   This will be Exhibit 31.
      ·8·   · · · · · · ·THE WITNESS:· I don't know. I       ·8·   · · · · · · ·(Exhibit No. 31 marked for
      ·9·   don't know.                                      ·9·   identification.)
      10·   BY MR. DIETRICH:                                 10·   · · · · · · ·(Discussion off the record.)
      11·   · · · ·Q.· · Well, did you think that this       11·   · BY MR. DIETRICH:
      12·   gave you permission to use the Thrive name?      12·   · · · ·Q.· · Showing you Exhibit 31.· Do you
      13·   · · · · · · ·MR. RANSOM:· Argumentative.         13·   recognize this exhibit?
      14·   · · · · · · ·THE WITNESS:· I don't recall.       14·   · · · ·A.· · I recall this document from
      15·   BY MR. DIETRICH:                                 15·   discussions with counsel in preparation
      16·   · · · ·Q.· · Is there anything in Mr.            16·   for this.
      17·   McIntosh's response that you would think gave    17·   · · · ·Q.· · And this is a letter from counsel
      18·   you permission as you requested?                 18·   for Thrive Natural Care, dated March 3rd,
      19·   · · · ·A.· · I don't know.                       19·   2017.
      20·   · · · ·Q.· · Well, you sent a one word           20·   · · · · · · ·Do you recall receiving this
      21·   response to Mary Baker Anderson, Ugh,            21·   letter at about that time?
      22·   exclamation point.· Do you see that?             22·   · · · ·A.· · I don't recall at that time.
      23·   · · · ·A.· · Yes.                                23·   · · · ·Q.· · Do you have any reason to doubt
      24·   · · · ·Q.· · Why did you say Ugh?                24·   that you did receive the letter this
      25·   · · · ·A.· · I don't recall.                     25·   March 2017?



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                    Karissa Bodnar· 30(b)(6), Attorneys Eyes Only
                                     June 03, 2021
                                                           Page 238
      ·1· · · · · · · · · · · · CERTIFICATE

      ·2

      ·3· · · · · I, Mary C. Soldati, Registered Professional
      ·4· ·reporter, Oregon and Washington Certified Shorthand

      ·5· ·Reporter, hereby certify that said witness remotely

      ·6· ·appeared before me at the time and place set forth in

      ·7· ·the caption hereof; that at said time and place I

      ·8· ·reported in stenotype all testimony adduced and other
      ·9· ·oral proceedings had in the foregoing matter; that

      10· ·thereafter my notes were transcribed through

      11· ·computer-aided transcription by me; and that the

      12· ·foregoing pages constitute a full, true and accurate
      13· ·record of all such testimony adduced and oral

      14· ·proceedings had, and of the whole thereof.· I further

      15· ·certify review of the transcript was requested.

      16· · · · · In witness whereof, I have hereunto set my hand

      17· ·this 23rd day of June, 2021.
      18

      19

      20· · · · · · · · · · · · · ·Mary C. Soldati, RPR

      21· · · · · · · · · · · · · ·CSR-WA No. 3406

      22· · · · · · · · · · · · · ·Expires April 20, 2022
      23· · · · · · · · · · · · · ·CSR-OR No. 19-0457

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                                Exhibit B




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            Brendan Gardner-Young· Confidential - Attorneys' Eyes Only
                                     July 20, 2021

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 ·   ·   ·   · · · · · · · · · · ·Defendant.· )
 ·   ·   ·   ·________________________________________________________

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 · · · · · · ** CONFIDENTIAL - ATTORNEYS' EYES ONLY **
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 · · · · · · · · · DEPOSITION UPON ORAL EXAMINATION

 · · · · · · · · · · · · · · · · · OF

 · · · · · · · · · · · · BRENDAN GARDNER-YOUNG

 · · · ·________________________________________________________

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 · · · · · · · · · · ·Taken at Seattle, Washington

 · · · · · · · · · (Conducted via video conference.)

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 · · · ·DATE TAKEN:· · July 20, 2021

 · · · ·REPORTED BY:· Nicole A. Bulldis, RPR
 · · · · · · · · · · ·AZ CCR No. 50955 | WA CCR No. 3384


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                                     July 20, 2021
                                                               Page 2                                                                    Page 4
      ·1· · · · · · · · · · · A P P E A R A N C E S                     ·1·   ·   ·   ·   ·····       ** FOR ATTORNEYS' EYES ONLY **
      ·2
                                                                        ·2·   ·   ·   ·   ·REPORTED   REMOTELY FROM MARICOPA COUNTY, ARIZONA
      ·3· · ·FOR PLAINTIFF:
      ·4· · · · · · · · · · · · · ·THOMAS E. DIETRICH                   ·3·   ·   ·   ·   ·····       · · Tuesday, July 20, 2021
      · · · · · · · · · · · · · · ·The McArthur Law Firm, PC            ·4·   ·   ·   ·   ·····       · · · · · 9:29 a.m.
      ·5· · · · · · · · · · · · · ·9465 Wilshire Boulevard, Suite 300   ·5·   ·   ·   ·   ·····       · · · · · ·--o0o--
      · · · · · · · · · · · · · · ·Beverly Hills, CA 90212
                                                                        ·6
      ·6· · · · · · · · · · · · · ·(323) 639-4455
      · · · · · · · · · · · · · · ·tom@smcarthurlaw.com
                                                                        ·7·   ·   ·BRENDAN GARDNER-YOUNG,· · · ·witness herein, having been
      ·7                                                                ·8·   ·   · · · · · · · · · · · · · · · first duly sworn on oath,
      ·8· · ·FOR DEFENDANT:                                             ·9·   ·   · · · · · · · · · · · · · · · was examined and testified
      ·9· · · · · · · · · · · · · ·LAUREN M. DE LILLY
                                                                        10·   ·   · · · · · · · · · · · · · · · as follows:
      · · · · · · · · · · · · · · ·Sidley Austin LLP
      10· · · · · · · · · · · · · ·555 West Fifth Street, Suite 4000
                                                                        11
      · · · · · · · · · · · · · · ·Los Angeles, CA 90013                12·   ·   ·········EXAMINATION
      11· · · · · · · · · · · · · ·(213) 896-6085                       13·   ·   ·BY MR. DIETRICH
      · · · · · · · · · · · · · · ·ldelilly@sidley.com
                                                                        14·   ·   · · · Q.· ·Good morning, Brendan.· My name's
      12
                                                                        15·   ·   ·Tom Dietrich.· I'm an attorney for Thrive Natural Care,
      13· · · · · · · · · · · · · · ·--o0o--
      14                                                                16·   ·   ·so thanks for coming this morning.· I know remote
      15                                                                17·   ·   ·deposition setup may be little different.
      16                                                                18·   ·   · · · · · ·The court reporter is -- Nicole is going to
      17
                                                                        19·   ·   ·take down everything that we say.
      18
      19                                                                20·   ·   · · · · · ·Have you ever had your deposition taken
      20                                                                21·   ·   ·before?
      21                                                                22·   ·   · · · A.· ·I have not.
      22
                                                                        23·   ·   · · · Q.· ·Okay.· I'm just going to go over a few ground
      23
      24                                                                24·   ·   ·rules on how to do this.· So, again, my name is Tom.
      25                                                                25·   ·   ·Nicole is going to be recording our conversation.

                                                               Page 3                                                                    Page 5
      ·1· · · · · · · · · · ·**ATTORNEYS' EYES ONLY**                   ·1·   ·   ·Please answer verbally with a "yes" or a "no" rather
      ·2· · · · · · · ·DEPOSITION OF BRENDAN GARDNER-YOUNG              ·2·   ·   ·than a nod of the head or "huh-uh" or something along
      ·3                                                                ·3·   ·   ·those lines.
      ·4· · · · · · · · · · · · EXAMINATION INDEX                       ·4·   ·   · · · · · ·It's -- it's hard to take down conversation if
      ·5· · ·EXAMINATION BY· · · · · · · · · · · · · · · · · · · PAGE   ·5·   ·   ·we're talking over each other, so please just give me
      ·6· · ·Mr. Dietrich........................................ 4     ·6·   ·   ·the courtesy of finishing my questions and then I'll --
      ·7                                                                ·7·   ·   ·I'll let you complete your full answer and it'll be much
      ·8                                                                ·8·   ·   ·easier to make a transcript that way.
      ·9                                                                ·9·   ·   · · · · · ·If you don't understand a question, please
      10                                                                10·   ·   ·just ask me and I'll rephrase it or -- or ask a
      11· · · · · · · · · · · · · EXHIBIT INDEX                         11·   ·   ·different one.
      12· · ·EXHIBITS FOR IDENTIFICATION· · · · · · · · · · · · ·PAGE   12·   ·   · · · · · ·I would ask -- we'll probably take a break
      13· · ·EXH 42· LinkedIn Profile............................ 48    13·   ·   ·every hour, maybe a ten-minute break or so.· If you need
      14· · ·EXH 43· 11/07/19 - 02/04/2020 Campaign Spreadsheet.. 62    14·   ·   ·to take a break, that's completely fine.· Just let me
      15· · ·EXH 44· Thrive Causemetics Skin Care Collection Page.91    15·   ·   ·know.· I would just ask that you not take a break while
      16· · ·EXH 45· Google Keyword Report....................... 97    16·   ·   ·a question is pending.· Answer the question and then we
      17· · ·EXH 46· Google "Amazon Thrive Natural Care" Search.. 115   17·   ·   ·can have a break.
      18· · ·EXH 47· Google "Thrive Natural Care" Search......... 116   18·   ·   · · · · · ·If we get five or ten minutes down the road
      19· · ·EXH 48· Email - 04/19/16 "Thrive Lab" Template Test. 127   19·   ·   ·and then you remembered an answer to something that I
      20                                                                20·   ·   ·asked before, please feel free to say so and we can go
      21· · · · · · · · · · · · · · ·--o0o--                            21·   ·   ·back and get that on the record or add more information
      22                                                                22·   ·   ·to an answer.
      23                                                                23·   ·   · · · · · ·In the remote deposition setting, I would ask
      24                                                                24·   ·   ·to please not have your phone near you or -- or on, I
      25                                                                25·   ·   ·mean, unless you're using it for audio for the


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      ·1·   ·   · · · A.· ·It was all a blur, so I don't know the exact     ·1·   ·   · · · A.· ·I can't remember if there were other products
      ·2·   ·   ·year.· I don't want to get my timeline wrong.              ·2·   ·   ·discussed.
      ·3·   ·   · · · Q.· ·That's fine.· I just want to know what you       ·3·   ·   · · · Q.· ·And, at that time, did she have a name for
      ·4·   ·   ·remember.                                                  ·4·   ·   ·this brand?
      ·5·   ·   · · · · · ·And what kind of jobs -- what kind of jobs did   ·5·   ·   · · · A.· ·No.
      ·6·   ·   ·you have as a program manager?                             ·6·   ·   · · · Q.· ·Did you have regular conversations with
      ·7·   ·   · · · A.· ·It was the same program.· I was switching from   ·7·   ·   ·Karissa about this idea?
      ·8·   ·   ·the IT to the business side.                               ·8·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Vague.
      ·9·   ·   · · · Q.· ·Okay.· So what did you do on the business side   ·9·   ·   · · · · · · · · THE WITNESS:· Yes.
      10·   ·   ·of it?                                                     10·   ·   · · · Q.· (By Mr. Dietrich) And, to your knowledge, after
      11·   ·   · · · A.· ·I was the liaison to the international           11·   ·   ·that first conversation, what was the next step that
      12·   ·   ·customer because of the experience I had on the IT side.   12·   ·   ·happened in the progression of Thrive Causemetics?
      13·   ·   · · · Q.· ·And did you take any other additional job        13·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Vague and
      14·   ·   ·positions at Boeing?                                       14·   ·   ·calls for a narrative.
      15·   ·   · · · A.· ·Not to my knowledge.                             15·   ·   · · · Q.· (By Mr. Dietrich) You can answer.
      16·   ·   · · · Q.· ·So program manager was the last position you     16·   ·   · · · A.· ·I -- I don't know the next step.
      17·   ·   ·held with Boeing?                                          17·   ·   · · · Q.· ·What was the first involvement you had in
      18·   ·   · · · A.· ·Yes.                                             18·   ·   ·relation to Thrive Causemetics?
      19·   ·   · · · Q.· ·And where did you go after you left Boeing?      19·   ·   · · · A.· ·I was asked how to build a website.
      20·   ·   · · · A.· ·I left to go to Thrive Causemetics.              20·   ·   · · · Q.· ·And do you remember when that was?
      21·   ·   · · · Q.· ·When was the first time you heard about the      21·   ·   · · · A.· ·2014.
      22·   ·   ·idea that would become Thrive Causemetics?                 22·   ·   · · · Q.· ·And what -- what did you do when you were
      23·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Vague.           23·   ·   ·asked that?
      24·   ·   · · · Q.· (By Mr. Dietrich) You can answer.                 24·   ·   · · · A.· ·Research.
      25·   ·   · · · · · · · · MS. DE LILLY:· Yeah.                        25·   ·   · · · Q.· ·Did you build the website?

                                                               Page 15                                                               Page 17
      ·1·   ·   · · · · · · · · THE WITNESS:· I don't remember the -- the   ·1·   ·   · · · A.· ·Did I build the website?· Yes.
      ·2·   ·   ·year that it was first brought up.                         ·2·   ·   · · · Q.· ·And was that site for Thrive Causemetics?
      ·3·   ·   · · · Q.· (By Mr. Dietrich) Was it before                   ·3·   ·   · · · A.· ·Yes.
      ·4·   ·   ·Thrive Causemetics, as a company, existed?                 ·4·   ·   · · · Q.· ·Do you recall the domain name of that website?
      ·5·   ·   · · · A.· ·Yes.                                             ·5·   ·   · · · A.· ·Can you -- or, I mean, it started under a
      ·6·   ·   · · · Q.· ·And who did you hear about that idea from?       ·6·   ·   ·Shopify one, so it's not -- I guess it was
      ·7·   ·   · · · A.· ·From Karissa.                                    ·7·   ·   ·ThriveCausemetics.com.
      ·8·   ·   · · · Q.· ·And what did she tell you?                       ·8·   ·   · · · Q.· ·Did you register that domain name?
      ·9·   ·   · · · A.· ·That she wanted to build a -- a brand or had     ·9·   ·   · · · A.· ·I did.
      10·   ·   ·an idea for a brand.                                       10·   ·   · · · Q.· ·And was that in 2014?
      11·   ·   · · · Q.· ·And build a brand for what?                      11·   ·   · · · A.· ·I don't remember when that domain name was
      12·   ·   · · · A.· ·I -- can you clarify me "for what"?              12·   ·   ·registered.
      13·   ·   · · · Q.· ·Sure.· I guess you had said she wanted to        13·   ·   · · · Q.· ·Did Thrive Causemetics have any other domain
      14·   ·   ·build a brand.                                             14·   ·   ·names before that?
      15·   ·   · · · A.· ·Yeah.                                            15·   ·   · · · A.· ·Yes.
      16·   ·   · · · Q.· ·Is that right?                                   16·   ·   · · · Q.· ·And what were those?
      17·   ·   · · · A.· ·More, she had an idea of something that she      17·   ·   · · · A.· ·Well, I guess I should clarify.· I don't know
      18·   ·   ·wanted to pursue.                                          18·   ·   ·if it was before or not because I don't remember when I
      19·   ·   · · · Q.· ·And what was that idea?                          19·   ·   ·registered each one.
      20·   ·   · · · A.· ·The -- something in the beauty industry.         20·   ·   · · · Q.· ·But you registered multiple domain names for
      21·   ·   · · · Q.· ·And did she describe any specific products       21·   ·   ·Thrive Causemetics?
      22·   ·   ·that she wanted to sell?                                   22·   ·   · · · A.· ·Yes.
      23·   ·   · · · A.· ·She did describe her lashes that she wanted to   23·   ·   · · · Q.· ·What were the other ones that -- besides
      24·   ·   ·sell, yes.                                                 24·   ·   ·ThriveCausemetics.com?
      25·   ·   · · · Q.· ·And did she describe any other products?         25·   ·   · · · A.· ·It was different spellings.


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      ·1·   ·   ·Sephora pitch?                                             ·1·   ·   ·wholesalers besides the boutiques you mentioned?
      ·2·   ·   · · · A.· ·I do not know.                                   ·2·   ·   · · · A.· ·No.
      ·3·   ·   · · · Q.· ·Through what channel did TCI first sell its      ·3·   ·   · · · Q.· ·Do you recall if TCI ever sold products at
      ·4·   ·   ·products?                                                  ·4·   ·   ·Ulta?
      ·5·   ·   · · · A.· ·Our website.                                     ·5·   ·   · · · A.· ·Oh, yes.
      ·6·   ·   · · · Q.· ·In those early days, did TCI sell products       ·6·   ·   · · · Q.· ·Do you know when that happened?
      ·7·   ·   ·through any other channels?                                ·7·   ·   · · · A.· ·I don't know the years for it, no.
      ·8·   ·   · · · A.· ·No.                                              ·8·   ·   · · · Q.· ·Is TCI still selling products through Ulta?
      ·9·   ·   · · · Q.· ·At some point, did TCI start selling its         ·9·   ·   · · · A.· ·Not to my knowledge.
      10·   ·   ·products through any other channels?                       10·   ·   · · · Q.· ·Any other wholesalers that TCI sold products
      11·   ·   · · · A.· ·Yes.                                             11·   ·   ·through?
      12·   ·   · · · Q.· ·When did that first happen?                      12·   ·   · · · A.· ·No.
      13·   ·   · · · A.· ·I don't remember the time when -- when it        13·   ·   · · · Q.· ·Were there any other channels that TCI sold
      14·   ·   ·first happened.                                            14·   ·   ·products through that we haven't mentioned yet?
      15·   ·   · · · Q.· ·What was the other channel that TCI sold         15·   ·   · · · A.· ·Not to my knowledge.
      16·   ·   ·through?                                                   16·   ·   · · · · · · · · MR. DIETRICH:· It's been about an hour.
      17·   ·   · · · A.· ·Wholesalers.                                     17·   ·   ·Lauren, Brendan, do you want to take a ten-minute break?
      18·   ·   · · · Q.· ·Can you -- do you know the names of the          18·   ·   · · · · · · · · MS. DE LILLY:· Sure.
      19·   ·   ·wholesalers?                                               19·   ·   · · · · · · · · MR. DIETRICH:· All right.· I'm going to
      20·   ·   · · · A.· ·I know a couple names.                           20·   ·   ·mute and turn off my video and we'll be back at -- it's
      21·   ·   · · · Q.· ·And what are they?                               21·   ·   ·now 10:26, so 10:36?
      22·   ·   · · · A.· ·Swink -- Swink Style Bar.                        22·   ·   · · · · · · · · MS. DE LILLY:· Sounds good.· Thank you.
      23·   ·   · · · Q.· ·Is that S-w-i-n-k?                               23·   ·   · · · · · · · · THE WITNESS:· Thanks.
      24·   ·   · · · A.· ·Yes.                                             24·   ·   · · · · · · · · MR. DIETRICH:· Thank you.
      25·   ·   · · · Q.· ·And who else?                                    25·   ·   · · · · · · · · · · ·(A break was taken from

                                                               Page 39                                                               Page 41
      ·1·   ·   · · · A.· ·I actually don't know the names of the           ·1·   ·   · · · · · · · · · · · 10:27AM to 10:36AM.)
      ·2·   ·   ·other -- the actual wholesale stores.                      ·2·   ·   · · · Q.· (By Mr. Dietrich) Brendan, you said that at
      ·3·   ·   · · · Q.· ·Was it a large store?· Small store?· What's      ·3·   ·   ·some point you left Boeing to go work for
      ·4·   ·   ·your recollection?                                         ·4·   ·   ·Thrive Causemetics; is that right?
      ·5·   ·   · · · A.· ·Small -- small boutiques.                        ·5·   ·   · · · A.· ·Yes.
      ·6·   ·   · · · Q.· ·Boutique, that was the word I was looking for.   ·6·   ·   · · · Q.· ·Do you recall when you actually -- I guess
      ·7·   ·   · · · · · ·How many other boutiques did TCI sell through?   ·7·   ·   ·strike that.
      ·8·   ·   · · · A.· ·Five or six.                                     ·8·   ·   · · · · · ·Did you start working full-time, at that
      ·9·   ·   · · · Q.· ·What products did TCI sell through these         ·9·   ·   ·point, for Thrive Causemetics?
      10·   ·   ·wholesalers?                                               10·   ·   · · · A.· ·Yes.
      11·   ·   · · · A.· ·I don't know.· I'm not sure what products were   11·   ·   · · · Q.· ·And do you recall when that was?
      12·   ·   ·sold through it.                                           12·   ·   · · · A.· ·I don't.
      13·   ·   · · · Q.· ·Do you recall if they were color cosmetics?      13·   ·   · · · Q.· ·How long have you been with
      14·   ·   · · · A.· ·I believe it was color cosmetics, yes.           14·   ·   ·Thrive Causemetics?
      15·   ·   · · · Q.· ·Do you know if they were skin care products?     15·   ·   · · · A.· ·I don't know how many years it's been now.
      16·   ·   · · · A.· ·I don't know if they -- they were skin care      16·   ·   · · · Q.· ·More than ten?
      17·   ·   ·products.                                                  17·   ·   · · · A.· ·No.
      18·   ·   · · · Q.· ·Has TCI ever sold on Amazon?                     18·   ·   · · · Q.· ·What -- what was your position when you
      19·   ·   · · · A.· ·No.                                              19·   ·   ·actually started working full-time for
      20·   ·   · · · Q.· ·Has TCI ever sold on any other online sales      20·   ·   ·Thrive Causemetics?
      21·   ·   ·channel?                                                   21·   ·   · · · A.· ·I think we called it -- I think we called it a
      22·   ·   · · · A.· ·No.                                              22·   ·   ·program manager at the time.
      23·   ·   · · · Q.· ·Just its website?                                23·   ·   · · · Q.· ·Was it just you and Karissa?
      24·   ·   · · · A.· ·Yes.                                             24·   ·   · · · A.· ·No.· Well, sorry, it would be -- yes, when I'm
      25·   ·   · · · Q.· ·At any point, has TCI sold through other         25·   ·   ·talking about that, it was Karissa and I.· Yes.


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      ·1·   ·   · · · Q.· ·We covered that -- sorry.· We covered that you   ·1·   ·   · · · A.· ·Admin, so put in the billing details.
      ·2·   ·   ·responded to customer tickets and that you built the       ·2·   ·   · · · Q.· ·Got it.
      ·3·   ·   ·website.· In addition to those things, what other tasks    ·3·   ·   · · · · · ·Did you post ads on Facebook?
      ·4·   ·   ·did you handle?                                            ·4·   ·   · · · A.· ·No.
      ·5·   ·   · · · A.· ·Built our operations.                            ·5·   ·   · · · Q.· ·Did somebody do that for Thrive Causemetics?
      ·6·   ·   · · · Q.· ·Anything else?                                   ·6·   ·   · · · A.· ·I believe so.
      ·7·   ·   · · · A.· ·Yes.                                             ·7·   ·   · · · Q.· ·Who?
      ·8·   ·   · · · Q.· ·What else?                                       ·8·   ·   · · · A.· ·I don't know who.· I wasn't involved.
      ·9·   ·   · · · A.· ·Set up our business infrastructure.              ·9·   ·   · · · Q.· ·Did Thrive Causemetics advertise anywhere else
      10·   ·   · · · Q.· ·What does that mean?                             10·   ·   ·besides Facebook during that time?
      11·   ·   · · · A.· ·How we do emails, documents, all that stuff.     11·   ·   · · · A.· ·I -- I think so.
      12·   ·   · · · Q.· ·What email system did Thrive Causemetics use     12·   ·   · · · Q.· ·That's fine.· I guess I just want to find out
      13·   ·   ·then?                                                      13·   ·   ·what you know, so if you don't know, that's fine.
      14·   ·   · · · A.· ·We used -- I'm not -- I'm not sure which one     14·   ·   · · · · · ·I'm going to follow-up and say:· Where else
      15·   ·   ·we used at that point in time.                             15·   ·   ·did Thrive Causemetics advertise during this period?
      16·   ·   · · · Q.· ·Is it the same one that you use now?             16·   ·   · · · A.· ·I mean, the only one that comes to mind is
      17·   ·   · · · A.· ·I believe so.                                    17·   ·   ·Google.
      18·   ·   · · · Q.· ·And what email system do you use now?            18·   ·   · · · Q.· ·And what kind of advertising did TCI do on
      19·   ·   · · · A.· ·Google Workspace.                                19·   ·   ·Google?
      20·   ·   · · · Q.· ·Does Thrive Causemetics have a document          20·   ·   · · · A.· ·Well, I believe it's AdWords.
      21·   ·   ·retention policy?                                          21·   ·   · · · Q.· ·What does that entail?
      22·   ·   · · · A.· ·No, not that's documented.                       22·   ·   · · · A.· ·It could be many things, and I don't know
      23·   ·   · · · Q.· ·Do you have an email retention policy?           23·   ·   ·exactly what we did at that time for that, so I -- I
      24·   ·   · · · A.· ·No.                                              24·   ·   ·can't answer what it entailed.
      25·   ·   · · · Q.· ·Are emails in Thrive Causemetics' system         25·   ·   · · · Q.· ·At some point did you get more involved with

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      ·1·   ·   ·deleted after a certain time?                              ·1·   ·   ·Google AdWords for TCI?
      ·2·   ·   · · · A.· ·No.· Our default is to keep everything because   ·2·   ·   · · · A.· ·No.
      ·3·   ·   ·we don't have a documented policy.                         ·3·   ·   · · · Q.· ·Do you have any involvement with
      ·4·   ·   · · · Q.· ·And to your knowledge, would that include        ·4·   ·   ·Google AdWords today?
      ·5·   ·   ·everything back to 2015?                                   ·5·   ·   · · · A.· ·No.
      ·6·   ·   · · · A.· ·Yes.                                             ·6·   ·   · · · Q.· ·How about -- let's go to the little bit later
      ·7·   ·   · · · Q.· ·Okay.· During your time as web product           ·7·   ·   ·date when you were a program manager at
      ·8·   ·   ·manager, were you involved in advertising?                 ·8·   ·   ·Thrive Causemetics.· That'd be January 2017 to May 2018.
      ·9·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Vague.           ·9·   ·   · · · · · ·Did you have further involvement in online
      10·   ·   · · · · · · · · THE WITNESS:· I mean --                     10·   ·   ·advertising during that time?
      11·   ·   · · · Q.· (By Mr. Dietrich) I didn't --                     11·   ·   · · · A.· ·Can you clarify what you mean by "further
      12·   ·   · · · A.· ·Oh, go ahead.                                    12·   ·   ·involvement"?
      13·   ·   · · · Q.· ·I think you said something but I didn't hear     13·   ·   · · · Q.· ·Well, you talked about being the admin for
      14·   ·   ·what it was.                                               14·   ·   ·Facebook and that someone else handled Facebook
      15·   ·   · · · · · ·Brendan?                                         15·   ·   ·advertising in the time before this.
      16·   ·   · · · A.· ·Oh, yes.                                         16·   ·   · · · · · ·Did you have any more involvement than that
      17·   ·   · · · Q.· ·What kind of advertising-related tasks did you   17·   ·   ·with Facebook advertisement?
      18·   ·   ·handle at that time?                                       18·   ·   · · · A.· ·Yes.
      19·   ·   · · · A.· ·I set up the account.                            19·   ·   · · · Q.· ·What did you do with regard to Facebook
      20·   ·   · · · Q.· ·What account?                                    20·   ·   ·advertising?
      21·   ·   · · · A.· ·I don't remember what ad platform we were on     21·   ·   · · · A.· ·I would help kind of iterate the technical
      22·   ·   ·at that time, but I was the admin on the Facebook          22·   ·   ·implementation of Facebook advertising.
      23·   ·   ·account.                                                   23·   ·   · · · Q.· ·And can you describe that?· What does that
      24·   ·   · · · Q.· ·Sorry.· You were the what on the Facebook        24·   ·   ·involve?
      25·   ·   ·account?                                                   25·   ·   · · · A.· ·Modifying the pixels that we placed on the


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      ·1·   ·   ·don't know what the information relates to?                ·1·   ·   · · · A.· ·We have, yes.
      ·2·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Argumentative.   ·2·   ·   · · · Q.· ·And who are they?
      ·3·   ·   · · · · · · · · THE WITNESS:· I collected a number of       ·3·   ·   · · · A.· ·I mean, advertising's a huge space, so we've
      ·4·   ·   ·documents for this case.                                   ·4·   ·   ·mentioned, like, Google, Facebook.
      ·5·   ·   · · · Q.· (By Mr. Dietrich) Does this document relate to    ·5·   ·   · · · Q.· ·Let's start there.· How about:· What platforms
      ·6·   ·   ·online advertising for TCI?                                ·6·   ·   ·does Thrive Causemetics advertise on today?
      ·7·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Calls for        ·7·   ·   · · · A.· ·Google and Facebook to name two.· Pinterest is
      ·8·   ·   ·speculation.                                               ·8·   ·   ·another one.
      ·9·   ·   · · · · · · · · THE WITNESS:· I can't say that it relates   ·9·   ·   · · · Q.· ·Any others?
      10·   ·   ·to online advertising or not.                              10·   ·   · · · A.· ·Yeah, there's -- there's -- yeah, a number of
      11·   ·   · · · Q.· (By Mr. Dietrich) Does this document relate to    11·   ·   ·others.
      12·   ·   ·Thrive Causemetics?                                        12·   ·   · · · Q.· ·Can you name them?
      13·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Calls for        13·   ·   · · · A.· ·LiveIntent is one that we used.· TikTok.
      14·   ·   ·speculation.                                               14·   ·   ·Yeah.· There's -- there's more.· I --
      15·   ·   · · · · · · · · THE WITNESS:· I can't say that either.      15·   ·   · · · Q.· ·Go ahead.
      16·   ·   · · · Q.· (By Mr. Dietrich) Is there any other company      16·   ·   · · · A.· ·Snapchat.
      17·   ·   ·that this document might relate to, to your knowledge?     17·   ·   · · · · · ·I'm trying to think of others we're currently
      18·   ·   · · · A.· ·I don't know what this document is, so no. I     18·   ·   ·using, so that's some of the big ones.
      19·   ·   ·don't know.                                                19·   ·   · · · Q.· ·Instagram?
      20·   ·   · · · Q.· ·But you collected it from the                    20·   ·   · · · A.· ·Yes, Instagram.· That's all lumped into
      21·   ·   ·Thrive Causemetics Google Drive file?                      21·   ·   ·Facebook, though; so...
      22·   ·   · · · A.· ·I made an assumption that it was pulled from     22·   ·   · · · Q.· ·Looking at the chart that we called
      23·   ·   ·Google Drive.· I actually don't know where this was        23·   ·   ·Exhibit 43, would this be something that is collected by
      24·   ·   ·collected from.                                            24·   ·   ·a -- a third party for Thrive Causemetics?
      25·   ·   · · · Q.· ·But you personally collected it?                 25·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Calls for

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      ·1·   ·   · · · A.· ·Yes.                                             ·1·   ·   ·speculation.
      ·2·   ·   · · · Q.· ·Is there a system within Thrive Causemetics      ·2·   ·   · · · · · · · · THE WITNESS:· No, not for
      ·3·   ·   ·that contains the information in this chart?               ·3·   ·   ·Thrive Causemetics, but, yes, collected by a third
      ·4·   ·   · · · A.· ·I don't know.                                    ·4·   ·   ·party.
      ·5·   ·   · · · Q.· ·Does Thrive Causemetics have an online           ·5·   ·   · · · Q.· (By Mr. Dietrich) What third party collected
      ·6·   ·   ·advertising system?                                        ·6·   ·   ·this information?
      ·7·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Vague.           ·7·   ·   · · · A.· ·I can't tell what third party collected this
      ·8·   ·   · · · · · · · · THE WITNESS:· Can you describe what you     ·8·   ·   ·information.
      ·9·   ·   ·mean by "have an online advertising system"?               ·9·   ·   · · · Q.· ·But you know it was a third party?
      10·   ·   · · · Q.· (By Mr. Dietrich) I guess I'm just trying to      10·   ·   · · · A.· ·I don't know if it was a third party.
      11·   ·   ·find out where this data came from, but you gathered it    11·   ·   · · · Q.· ·Do you receive reports like this from any
      12·   ·   ·from somewhere and you don't recall if it was              12·   ·   ·third parties?
      13·   ·   ·Google Drive or somewhere else; is that right?             13·   ·   · · · A.· ·I have not seen reports like this from third
      14·   ·   · · · A.· ·Correct.                                         14·   ·   ·parties -- or I don't receive.
      15·   ·   · · · Q.· ·And you don't know where this data came from?    15·   ·   · · · Q.· ·Does anybody else at TCI, to your knowledge?
      16·   ·   · · · A.· ·No.· From what I'm looking at here, I can't      16·   ·   · · · A.· ·Not to my knowledge.
      17·   ·   ·tell where this data came from.                            17·   ·   · · · Q.· ·Are you familiar with the name
      18·   ·   · · · Q.· ·And you don't know if it has any relation to     18·   ·   ·"Metric Theory"?
      19·   ·   ·Thrive Causemetics at all?                                 19·   ·   · · · A.· ·Yes.
      20·   ·   · · · A.· ·No.· I can't tell that this data is coming       20·   ·   · · · Q.· ·Who is that?
      21·   ·   ·from the Thrive Causemetics account.                       21·   ·   · · · A.· ·A third-party company.
      22·   ·   · · · Q.· ·Does Thrive Causemetics keep tracking --         22·   ·   · · · Q.· ·What do they do?
      23·   ·   ·strike that.                                               23·   ·   · · · A.· ·I don't know exactly what they do for us.
      24·   ·   · · · · · ·Does Thrive Causemetics work with any third      24·   ·   · · · Q.· ·Do you work with anybody at Metric Theory?
      25·   ·   ·parties in relation to online advertising?                 25·   ·   · · · A.· ·I have exchanged emails with some people at


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      ·1·   ·   ·Google search?                                             ·1·   ·   · · · A.· ·To my knowledge, no.
      ·2·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Calls for        ·2·   ·   · · · Q.· ·Do you know if TCI bought Amazon keywords?
      ·3·   ·   ·speculation and incomplete hypothetical.                   ·3·   ·   · · · A.· ·I don't know the ad platform on Amazon at all
      ·4·   ·   · · · · · · · · THE WITNESS:· I don't know how that         ·4·   ·   ·so I can't answer what we did or what happened.
      ·5·   ·   ·works.· I know there's bubbles, so people see different    ·5·   ·   · · · Q.· ·Do you know who would have had involvement and
      ·6·   ·   ·things based on their Google stuff, but that's not on      ·6·   ·   ·knowledge of that?
      ·7·   ·   ·our site.                                                  ·7·   ·   · · · A.· ·Again, that would have been the growth team.
      ·8·   ·   · · · Q.· (By Mr. Dietrich) On Facebook -- on Facebook      ·8·   ·   · · · Q.· ·Are you familiar with the term "upper funnel
      ·9·   ·   ·advertising, is TCI able to target certain populations     ·9·   ·   ·keyword"?
      10·   ·   ·with advertisements?                                       10·   ·   · · · A.· ·No.
      11·   ·   · · · A.· ·I'm not sure.                                    11·   ·   · · · Q.· ·Are you familiar with the process for
      12·   ·   · · · Q.· ·Do you know if TCI is able to serve ads on       12·   ·   ·purchasing ad words on Google?
      13·   ·   ·Facebook to certain demographics of people?                13·   ·   · · · A.· ·No.
      14·   ·   · · · A.· ·I don't know what parameters are available to    14·   ·   · · · Q.· ·Do you know if TCI bids on ad words?
      15·   ·   ·target ads.                                                15·   ·   · · · A.· ·I believe we do.
      16·   ·   · · · Q.· ·Do you know if TCI engages in any targeting of   16·   ·   · · · Q.· ·And can someone else outbid you for a certain
      17·   ·   ·certain consumers with Facebook advertising?               17·   ·   ·ad word?
      18·   ·   · · · A.· ·Can you clarify "certain consumers"?             18·   ·   · · · A.· ·With my knowledge of the Google ad network,
      19·   ·   · · · Q.· ·Consumers with any -- in any particular          19·   ·   ·yes.
      20·   ·   ·demographic.                                               20·   ·   · · · Q.· ·Do you know if TCI has ever bid on the ad
      21·   ·   · · · A.· ·I do not know.                                   21·   ·   ·word "Thrive"?
      22·   ·   · · · Q.· ·Do you know if TCI targets women, for example,   22·   ·   · · · A.· ·I do not know.
      23·   ·   ·with Facebook ads?                                         23·   ·   · · · Q.· ·Do you know if TCI has ever bid on --
      24·   ·   · · · A.· ·I don't know if gender is something that is      24·   ·   ·actually, strike that.
      25·   ·   ·targeted in ads for Facebook.                              25·   ·   · · · · · ·Do you know if you can bid on multiple words

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      ·1·   ·   · · · Q.· ·Do you know if TCI targets women with Google     ·1·   ·   ·as a Google ad word?
      ·2·   ·   ·ads?                                                       ·2·   ·   · · · A.· ·I believe you can.
      ·3·   ·   · · · A.· ·Again, I don't know the filters that are         ·3·   ·   · · · Q.· ·Do you know if TCI has ever bid on the ad word
      ·4·   ·   ·available -- parameters for Google either.                 ·4·   ·   ·"Thrive Natural Care"?
      ·5·   ·   · · · Q.· ·Does TCI sell products to men?                   ·5·   ·   · · · A.· ·To my knowledge, we have not bid on that.
      ·6·   ·   · · · A.· ·Yes.                                             ·6·   ·   · · · Q.· ·How do you know?
      ·7·   ·   · · · Q.· ·Does TCI target men with any advertisements?     ·7·   ·   · · · A.· ·Based on the report generation for this case.
      ·8·   ·   · · · A.· ·I do not know.                                   ·8·   ·   · · · Q.· ·Did you generate a report for this case?
      ·9·   ·   · · · Q.· ·Does TCI sell skin care products to men?         ·9·   ·   · · · A.· ·I did.
      10·   ·   · · · A.· ·Yes.                                             10·   ·   · · · Q.· ·Where did you generate that report from?
      11·   ·   · · · Q.· ·How do you know?                                 11·   ·   · · · A.· ·Google Ads.
      12·   ·   · · · A.· ·Because we sell to everyone.                     12·   ·   · · · Q.· ·Do you know -- strike that.
      13·   ·   · · · Q.· ·Do you receive some information that indicates   13·   ·   · · · · · ·What did the report you generated -- what data
      14·   ·   ·a purchaser is male?                                       14·   ·   ·did it contain?
      15·   ·   · · · A.· ·No.                                              15·   ·   · · · A.· ·It contained our Google ad words reporting or
      16·   ·   · · · Q.· ·Do you know what percentage of purchasers of     16·   ·   ·history.
      17·   ·   ·products are men?                                          17·   ·   · · · Q.· ·That would be a history of ad words purchased
      18·   ·   · · · A.· ·No.                                              18·   ·   ·by TCI?
      19·   ·   · · · Q.· ·Has TCI ever advertised on Amazon?               19·   ·   · · · A.· ·Yes.
      20·   ·   · · · A.· ·I believe so.                                    20·   ·   · · · · · · · · · · ·(Exhibit No. 45 marked.)
      21·   ·   · · · Q.· ·What advertising has TCI done on Amazon?         21·   ·   · · · Q.· (By Mr. Dietrich) Sending you what I believe is
      22·   ·   · · · A.· ·I don't know the details of it.                  22·   ·   ·Exhibit 45.
      23·   ·   · · · Q.· ·Do you know when that occurred?                  23·   ·   · · · · · · · · MR. DIETRICH:· Lauren, if you could just
      24·   ·   · · · A.· ·I don't know the years that occurred either.     24·   ·   ·let me know when you've had a chance to look.
      25·   ·   · · · Q.· ·Is it still occurring?                           25·   ·   · · · · · · · · MS. DE LILLY:· I'm looking at it now, and


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      ·1·   ·   ·my only question is:· Is this an excerpt?                  ·1·   ·   · · · A.· ·I do not know.
      ·2·   ·   · · · Q.· (By Mr. Dietrich) It is an excerpt.               ·2·   ·   · · · Q.· ·The next column, it says "ad group" and it
      ·3·   ·   · · · · · · · · MS. DE LILLY:· Okay.· Thank you.            ·3·   ·   ·says "Thrive Lip Gloss."
      ·4·   ·   · · · · · · · · MR. DIETRICH:· The entire document was,     ·4·   ·   · · · · · ·Do you see that?
      ·5·   ·   ·like, 3,500 pages long, so this is select pages from the   ·5·   ·   · · · A.· ·Yes.
      ·6·   ·   ·whole document.                                            ·6·   ·   · · · Q.· ·What does "ad group" mean?
      ·7·   ·   · · · · · · · · MS. DE LILLY:· Understood.· Yes, I've had   ·7·   ·   · · · A.· ·I don't know what that means in this scenario
      ·8·   ·   ·a chance to review.                                        ·8·   ·   ·here.
      ·9·   ·   · · · · · · · · MR. DIETRICH:· Thank you.                   ·9·   ·   · · · Q.· ·Next column is "Keyword Max CPC."· What does
      10·   ·   · · · Q.· (By Mr. Dietrich) Brendan, just looking at the    10·   ·   ·that mean?
      11·   ·   ·first page, do you have the exhibit in front of you?       11·   ·   · · · A.· ·The maximum amount of the cost per click.
      12·   ·   · · · A.· ·I do.                                            12·   ·   · · · Q.· ·And the column stating "clicks," is that the
      13·   ·   · · · Q.· ·Is this page from the report that you referred   13·   ·   ·number of people that clicked on an ad?
      14·   ·   ·to?                                                        14·   ·   · · · A.· ·From my understanding, yes, during this
      15·   ·   · · · A.· ·Yes, I believe so.                               15·   ·   ·timeframe.· I don't see a timeframe, but yes.
      16·   ·   · · · Q.· ·All right.· Is the format consistent with the    16·   ·   · · · Q.· ·That was actually one of my questions.
      17·   ·   ·report that you ran from Google Ads?                       17·   ·   · · · · · ·What is the timeframe for this report?
      18·   ·   · · · A.· ·From my recollection, yes.                       18·   ·   · · · A.· ·Are we talking about the report that I
      19·   ·   · · · Q.· ·And to your understanding, do these pages show   19·   ·   ·generated for this?
      20·   ·   ·Google ad words purchased by TCI?                          20·   ·   · · · Q.· ·Yes.
      21·   ·   · · · A.· ·I guess I would clarify it to be keywords, but   21·   ·   · · · A.· ·It was all time.
      22·   ·   ·yes.                                                       22·   ·   · · · Q.· ·All of TCI's keywords over all time?
      23·   ·   · · · Q.· ·Is there a difference between ad words and       23·   ·   · · · A.· ·Yup.
      24·   ·   ·keywords?                                                  24·   ·   · · · Q.· ·Do you know when that advertising practice
      25·   ·   · · · A.· ·I guess I don't know how to define ad words,     25·   ·   ·began?

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      ·1·   ·   ·so yeah.                                                   ·1·   ·   · · · A.· ·I do not know when.
      ·2·   ·   · · · Q.· ·So these are Google search keywords; is that     ·2·   ·   · · · Q.· ·Is there any way to tell -- so looking at the
      ·3·   ·   ·correct?                                                   ·3·   ·   ·row that we're on -- when that particular keyword was
      ·4·   ·   · · · A.· ·That's my understanding, yes.                    ·4·   ·   ·purchased or used?
      ·5·   ·   · · · Q.· ·And these are keywords purchased by TCI for      ·5·   ·   · · · A.· ·I don't know how to tell that in the -- in the
      ·6·   ·   ·advertising on Google?                                     ·6·   ·   ·system there.
      ·7·   ·   · · · A.· ·Correct.                                         ·7·   ·   · · · Q.· ·At the very bottom, there's an entry "+Thrive
      ·8·   ·   · · · Q.· ·And I just had some questions about this         ·8·   ·   ·+lip +balm."
      ·9·   ·   ·document.· I'm looking kind of at the bottom-third of      ·9·   ·   · · · · · ·Do you see that?
      10·   ·   ·the page.· There's an entry under searched keyword.        10·   ·   · · · A.· ·Yes.
      11·   ·   ·There's "+thrive cosmetics+lip gloss."                     11·   ·   · · · Q.· ·And next to it, it's under the search keyword,
      12·   ·   · · · · · ·Do you seen that?                                12·   ·   ·match type, it states "broad."
      13·   ·   · · · A.· ·Yes.                                             13·   ·   · · · · · ·Do you see that?
      14·   ·   · · · Q.· ·What do the pluses indicate?                     14·   ·   · · · A.· ·Yes.
      15·   ·   · · · A.· ·I don't know what they indicate.                 15·   ·   · · · Q.· ·Do you know what that means?
      16·   ·   · · · Q.· ·And just sticking with this row, there's a --    16·   ·   · · · A.· ·I do not know what that means.
      17·   ·   ·a column titled "campaign."                                17·   ·   · · · Q.· ·Some of the other ones state "exact."· Do you
      18·   ·   · · · · · ·Do you know what that means?                     18·   ·   ·know what that means?
      19·   ·   · · · A.· ·Advertising campaign.                            19·   ·   · · · A.· ·No.
      20·   ·   · · · Q.· ·That's a campaign that would be run by TCI?      20·   ·   · · · Q.· ·But this would indicate that TCI purchased
      21·   ·   · · · A.· ·No, not -- not necessarily.                      21·   ·   ·keywords "Thrive lip balm;" is that correct?
      22·   ·   · · · Q.· ·Who would the campaign be run by?                22·   ·   · · · A.· ·I can't confirm that.
      23·   ·   · · · A.· ·It could be TCI; it could be a third party.      23·   ·   · · · Q.· ·But it's in the report generated by TCI?
      24·   ·   · · · Q.· ·Does TCI have third parties that run ad          24·   ·   · · · A.· ·But I don't know what "broad" means and I
      25·   ·   ·campaigns for it?                                          25·   ·   ·don't know what the plus signs mean.


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      ·1·   ·   · · · Q.· ·Do you have any reason to believe that TCI did   ·1·   ·   ·report for a certain keyword?
      ·2·   ·   ·not purchase this keyword?                                 ·2·   ·   · · · A.· ·Because it was put into a bidding strategy.
      ·3·   ·   · · · A.· ·Yeah.· I don't know how the Google system        ·3·   ·   · · · Q.· ·What does that mean?
      ·4·   ·   ·works with these with plus signs, so I can't say that we   ·4·   ·   · · · A.· ·That means that keyword showed up and was part
      ·5·   ·   ·purchased those three in that combination.                 ·5·   ·   ·of our overall -- or a overall Google strategy.
      ·6·   ·   · · · Q.· ·Do you know of any other reason they would       ·6·   ·   · · · Q.· ·To bid on keywords?
      ·7·   ·   ·appear on this report?                                     ·7·   ·   · · · A.· ·To bid on keywords.
      ·8·   ·   · · · A.· ·Well, no, it's in our database -- or in the      ·8·   ·   · · · Q.· ·So these search keywords are words that
      ·9·   ·   ·Google database, I guess I should clarify.                 ·9·   ·   ·Thrive Causemetics bid on?
      10·   ·   · · · Q.· ·And the report you ran was keywords that         10·   ·   · · · A.· ·In our account?· Yes, but not necessarily us
      11·   ·   ·Thrive had purchased -- Thrive Causemetics had             11·   ·   ·selecting specific keywords to bid on.
      12·   ·   ·purchased?                                                 12·   ·   · · · Q.· ·Do you know if Thrive Causemetics won the bid
      13·   ·   · · · A.· ·It is -- "purchased" is not the right word       13·   ·   ·on any particular keyword?
      14·   ·   ·there, so, no, I can't say that it's ones that we've       14·   ·   · · · A.· ·On any keyword in this chart?
      15·   ·   ·purchased.                                                 15·   ·   · · · Q.· ·Yes.
      16·   ·   · · · Q.· ·Is there a better word to use there?             16·   ·   · · · A.· ·Yes.· Well, I guess, again, I don't know what
      17·   ·   · · · A.· ·I mean, it's showing in this report, but the     17·   ·   ·you mean by "won," because there's not really a "won."
      18·   ·   ·example you gave there, there was no purchasing.           18·   ·   ·So I guess I can't answer yes to that, so it would be I
      19·   ·   · · · Q.· ·Did Thrive Causemetics use those keywords?       19·   ·   ·don't know.
      20·   ·   · · · A.· ·It might have been put into their Google         20·   ·   · · · Q.· ·Well, you said Thrive Causemetics bid on these
      21·   ·   ·system.· That does not necessarily mean that we            21·   ·   ·keywords; right?
      22·   ·   ·purchased those keywords.                                  22·   ·   · · · A.· ·Correct.
      23·   ·   · · · Q.· ·How else would they be put into the Google       23·   ·   · · · Q.· ·Do you know what the term "winning a bid"
      24·   ·   ·system if they hadn't been purchased?                      24·   ·   ·means?
      25·   ·   · · · A.· ·There's many ways to do Google ads.· Not all     25·   ·   · · · A.· ·I know what winning a bid means, yes.

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      ·1·   ·   ·of them -- yeah, there's -- there's a lot of ways to do    ·1·   ·   · · · Q.· ·And with regard to the bids Thrive Causemetics
      ·2·   ·   ·Google ads.                                                ·2·   ·   ·put on these keywords, can you tell if it won those
      ·3·   ·   · · · Q.· ·What are the other ways besides purchasing       ·3·   ·   ·bids?
      ·4·   ·   ·them?                                                      ·4·   ·   · · · A.· ·No, I can't.
      ·5·   ·   · · · A.· ·There's automated ways.                          ·5·   ·   · · · Q.· ·So what we can tell from this chart is that
      ·6·   ·   · · · Q.· ·What do you mean by that?                        ·6·   ·   ·these are keywords Thrive Causemetics did choose to bid
      ·7·   ·   · · · A.· ·There are systems built on top of Google ads     ·7·   ·   ·on; is that correct?
      ·8·   ·   ·that help companies automate.                              ·8·   ·   · · · A.· ·I -- I don't know if I can -- I mean, I -- I
      ·9·   ·   · · · Q.· ·Are the ad words still purchased from Google?    ·9·   ·   ·can't say that we chose to bid on it, not necessarily,
      10·   ·   · · · A.· ·No, not necessarily.                             10·   ·   ·no.· I don't know what goes into putting that keyword
      11·   ·   · · · Q.· ·But advertising is run under those keywords?     11·   ·   ·in.
      12·   ·   · · · A.· ·No, not necessarily.· It's not run.              12·   ·   · · · Q.· ·They are keywords that Thrive Causemetics did
      13·   ·   · · · Q.· ·So when this report states "search keyword,"     13·   ·   ·bid on or a third party bid on on Thrive Causemetics'
      14·   ·   ·what does that mean?                                       14·   ·   ·behalf; is this correct?
      15·   ·   · · · A.· ·That keyword shows up in our Google ads          15·   ·   · · · A.· ·I don't know.· I have never put in the bid
      16·   ·   ·database in the reporting history of what has happened     16·   ·   ·before.
      17·   ·   ·in our Thrive Causemetics account.                         17·   ·   · · · Q.· ·Turning to the second page, Bates number ends
      18·   ·   · · · Q.· ·And what does that mean?                         18·   ·   ·in 110.· Towards the bottom, there's an entry, a search
      19·   ·   · · · A.· ·That means that there was an entry added for a   19·   ·   ·keyword "Thrive cleanser."
      20·   ·   ·reason on that keyword.                                    20·   ·   · · · · · ·Do you see that?
      21·   ·   · · · Q.· ·Does it mean that TCI used that keyword on       21·   ·   · · · A.· ·Yes.
      22·   ·   ·Google?                                                    22·   ·   · · · Q.· ·Does that mean that at some time
      23·   ·   · · · A.· ·I guess you're going to have to clarify "used    23·   ·   ·Thrive Causemetics bid on the keyword "Thrive cleanser"?
      24·   ·   ·on Google."· I don't know what you mean by that.           24·   ·   · · · A.· ·Yes.
      25·   ·   · · · Q.· ·Why would an entry have been made on this        25·   ·   · · · Q.· ·And how would that bid have affected a


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      ·1·   ·   ·consumer who searched for Thrive cleanser on Google?       ·1·   ·   ·Google where ads show up, so I can't say where it showed
      ·2·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Calls for        ·2·   ·   ·up.
      ·3·   ·   ·speculation.                                               ·3·   ·   · · · Q.· (By Mr. Dietrich) And do you know if this would
      ·4·   ·   · · · · · · · · THE WITNESS:· I can't tell you.· Google     ·4·   ·   ·be an ad that appears in search results?
      ·5·   ·   ·searches are different for every person.                   ·5·   ·   · · · A.· ·I -- I -- I don't know.
      ·6·   ·   · · · Q.· (By Mr. Dietrich) So if I had typed in Thrive     ·6·   ·   · · · Q.· ·But it indicates that an ad with the keyword
      ·7·   ·   ·cleanser, at that time, would I have seen a TCI ad?        ·7·   ·   ·"Thrive cleanser" was placed on Google; is that correct?
      ·8·   ·   · · · · · · · · MS. DE LILLY:· Objection.                   ·8·   ·   · · · A.· ·Yes.
      ·9·   ·   · · · · · · · · THE WITNESS:· Not necessarily.              ·9·   ·   · · · Q.· ·And the impressions column next to it says
      10·   ·   · · · · · · · · MS. DE LILLY:· Incomplete hypothetical --   10·   ·   ·516.· What does that mean?
      11·   ·   ·sorry, Brendan.· Incomplete hypothetical and calls for     11·   ·   · · · A.· ·The number of times it showed up on a Google
      12·   ·   ·speculation.                                               12·   ·   ·property.
      13·   ·   · · · · · · · · Go ahead, Brendan.                          13·   ·   · · · Q.· ·Over a few columns, there's a column "Impr.,"
      14·   ·   · · · · · · · · THE WITNESS:· And no, not necessarily.      14·   ·   ·and in parentheses, "Abs. Top."
      15·   ·   · · · Q.· (By Mr. Dietrich) Moving over in the same         15·   ·   · · · · · ·Do you see that?
      16·   ·   ·column, under Thrive cleanser -- or row, sorry.· Under     16·   ·   · · · A.· ·Yes.
      17·   ·   ·the column "clicks" there's a number, 107.                 17·   ·   · · · Q.· ·And it states 93.65 percent for this ad that
      18·   ·   · · · · · ·Do you see that?                                 18·   ·   ·we're looking at.
      19·   ·   · · · A.· ·Yes.                                             19·   ·   · · · · · ·What does that mean?
      20·   ·   · · · Q.· ·What does that mean?                             20·   ·   · · · A.· ·I don't know what that means.
      21·   ·   · · · A.· ·The number of clicks that keyword resulted in.   21·   ·   · · · Q.· ·Next to it is "Impr top percent," and it
      22·   ·   · · · Q.· ·Would that indicate that TCI did win the bid     22·   ·   ·states 96.7 percent.
      23·   ·   ·to place this keyword?                                     23·   ·   · · · · · ·What does that mean?
      24·   ·   · · · A.· ·Again, the "winning" definition.· I can't say    24·   ·   · · · A.· ·I don't know what that means either.
      25·   ·   ·we won the bid.                                            25·   ·   · · · Q.· ·Conversion next to it says 17.68.

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      ·1·   ·   · · · Q.· ·What's the right terminology to use there?       ·1·   ·   · · · · · ·What does that mean?
      ·2·   ·   · · · A.· ·There's multiple winners of bids, so I don't     ·2·   ·   · · · A.· ·Conversions on the way to find in Google, so
      ·3·   ·   ·know what the right terminology is there.                  ·3·   ·   ·it was the number of conversions from that keyword.
      ·4·   ·   · · · Q.· ·So you say the number of people who clicked on   ·4·   ·   · · · Q.· ·And what do you mean when you say "number of
      ·5·   ·   ·an advertisement; is that right?                           ·5·   ·   ·conversions from that keyword"?
      ·6·   ·   · · · A.· ·For that column?                                 ·6·   ·   · · · A.· ·I don't know how conversion was defined there,
      ·7·   ·   · · · Q.· ·Right.                                           ·7·   ·   ·there's many ways to define conversion.
      ·8·   ·   · · · A.· ·Yes.                                             ·8·   ·   · · · Q.· ·Would that mean somebody who made a purchase
      ·9·   ·   · · · Q.· ·How is that advertisement seen by the person     ·9·   ·   ·from Thrive Causemetics?
      10·   ·   ·who's clicking on it?                                      10·   ·   · · · A.· ·That's the most traditional meaning, but
      11·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Calls for        11·   ·   ·there's others as well.
      12·   ·   ·speculation.                                               12·   ·   · · · Q.· ·Do you know of any other meaning applicable to
      13·   ·   · · · · · · · · MR. DIETRICH:· And I can clarify.           13·   ·   ·this report?
      14·   ·   · · · Q.· (By Mr. Dietrich) Does that show up in a Google   14·   ·   · · · A.· ·No, because I don't know the meaning of
      15·   ·   ·search results?· Does it show up above search results as   15·   ·   ·conversion in this report necessarily.
      16·   ·   ·Google ads?· Where is a person clicking that's one of      16·   ·   · · · Q.· ·But the most traditional meaning would be
      17·   ·   ·those 107 people?                                          17·   ·   ·somebody who clicked on an ad and then went to your site
      18·   ·   · · · A.· ·There's multiple --                              18·   ·   ·and bought a product; is that correct?
      19·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Calls --         19·   ·   · · · A.· ·Correct.
      20·   ·   · · · · · · · · THE WITNESS:· Sorry.                        20·   ·   · · · Q.· ·Going to the next page, Bates number ends in
      21·   ·   · · · · · · · · MS. DE LILLY:· It's okay, Brendan.          21·   ·   ·095.
      22·   ·   · · · · · · · · Objection.· Calls for speculation and       22·   ·   · · · · · ·Are you with me?
      23·   ·   ·compound.                                                  23·   ·   · · · A.· ·Yes.
      24·   ·   · · · · · · · · Go ahead.                                   24·   ·   · · · Q.· ·At the very bottom, there's an entry for
      25·   ·   · · · · · · · · THE WITNESS:· There's multiple places in    25·   ·   ·"Thrive."


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      ·1·   ·   · · · · · ·Do you see that?                                 ·1·   ·   · · · A.· ·I don't know if we have that information or
      ·2·   ·   · · · A.· ·Yes.                                             ·2·   ·   ·not.
      ·3·   ·   · · · Q.· ·And does that mean that Thrive Causemetics bid   ·3·   ·   · · · Q.· ·I guess I'm asking, for instance, there's a
      ·4·   ·   ·on the keyword "Thrive"?                                   ·4·   ·   ·campaign identified here.
      ·5·   ·   · · · A.· ·Again, I don't know what the phrase search       ·5·   ·   · · · · · ·Is there a way to tell when that campaign was
      ·6·   ·   ·keyword match is, so I can't say how -- that we did.       ·6·   ·   ·in place?
      ·7·   ·   · · · Q.· ·But it appears in this report showing keywords   ·7·   ·   · · · A.· ·Again, I don't know.· I don't -- yeah.
      ·8·   ·   ·that Thrive Causemetics bid on; correct?                   ·8·   ·   · · · Q.· ·Understand.
      ·9·   ·   · · · A.· ·Yes.                                             ·9·   ·   · · · · · ·I'm going to go a couple pages on to Bates
      10·   ·   · · · Q.· ·And if you move over to impressions, it states   10·   ·   ·number ending in 139.
      11·   ·   ·252,561.                                                   11·   ·   · · · · · ·Are you with me?
      12·   ·   · · · · · ·Do you see that?                                 12·   ·   · · · A.· ·Yes.
      13·   ·   · · · A.· ·Yes.                                             13·   ·   · · · Q.· ·Fourth row down, there's another entry that's
      14·   ·   · · · Q.· ·Does that indicate that an ad was placed using   14·   ·   ·"Thrive" under search keyword.
      15·   ·   ·this keyword "Thrive"?                                     15·   ·   · · · · · ·Do you see that?
      16·   ·   · · · A.· ·Yes.                                             16·   ·   · · · A.· ·Yes.
      17·   ·   · · · Q.· ·And that it was seen 252,561 times?              17·   ·   · · · Q.· ·And it has a different number of clicks and
      18·   ·   · · · A.· ·No, not necessarily seen that many times.        18·   ·   ·impressions; right?
      19·   ·   · · · Q.· ·That it appeared on the consumers' computer      19·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Vague.
      20·   ·   ·that many times?                                           20·   ·   · · · Q.· (By Mr. Dietrich) Than the "Thrive" entry that
      21·   ·   · · · A.· ·It appeared on the page somewhere that many      21·   ·   ·we looked at last.
      22·   ·   ·times.                                                     22·   ·   · · · A.· ·Yes, I'm on Page 95.
      23·   ·   · · · Q.· ·And under impressions it's 17,265.· Do you see   23·   ·   · · · Q.· ·Is this a different instance of TCI bidding on
      24·   ·   ·that?                                                      24·   ·   ·the keyword "Thrive"?
      25·   ·   · · · · · · · · MS. DE LILLY:· Objection.· Misstates the    25·   ·   · · · A.· ·I can't tell you.· I don't know the

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      ·1·   ·   ·document.                                                  ·1·   ·   ·difference.
      ·2·   ·   · · · · · · · · MR. DIETRICH:· It does.· Thank you for      ·2·   ·   · · · Q.· ·The campaign description is different, isn't
      ·3·   ·   ·correcting that.                                           ·3·   ·   ·it?
      ·4·   ·   · · · · · · · · · · ·(Stenographer clarification.)          ·4·   ·   · · · A.· ·Yes.
      ·5·   ·   · · · · · · · · MR. DIETRICH:· I can strike the question.   ·5·   ·   · · · Q.· ·So would that indicate this is a different
      ·6·   ·   ·I misstated it.· Let me rephrase that.                     ·6·   ·   ·instance?
      ·7·   ·   · · · Q.· (By Mr. Dietrich) Under clicks, it states         ·7·   ·   · · · A.· ·I don't know.
      ·8·   ·   ·17,265.                                                    ·8·   ·   · · · Q.· ·Below that three rows, there's an entry for
      ·9·   ·   · · · · · ·Do you see that?                                 ·9·   ·   ·Thrive moisturizer.
      10·   ·   · · · A.· ·Yes.                                             10·   ·   · · · · · ·Do you see that?
      11·   ·   · · · Q.· ·So am I correct that means that ad with the      11·   ·   · · · A.· ·Yes.
      12·   ·   ·keyword "Thrive" was clicked on over 17,000 times?         12·   ·   · · · Q.· ·And would that indicate TCI bid on the keyword
      13·   ·   · · · A.· ·Yes.                                             13·   ·   ·"Thrive moisturizer"?
      14·   ·   · · · Q.· ·Do you know if TCI has ever purchased the        14·   ·   · · · A.· ·Yes.· But, again, I don't know the keyword
      15·   ·   ·keywords "Thrive natural"?                                 15·   ·   ·match type there and if that impacts things.
      16·   ·   · · · A.· ·I don't believe we have.                         16·   ·   · · · Q.· ·But it states there were 791 impressions.
      17·   ·   · · · Q.· ·Do you know if TCI has ever bid on the           17·   ·   · · · · · ·Do you see that?
      18·   ·   ·keywords "Thrive Natural Care"?                            18·   ·   · · · A.· ·I do see that.
      19·   ·   · · · A.· ·I don't believe we have.                         19·   ·   · · · Q.· ·And that indicates that an ad was placed using
      20·   ·   · · · Q.· ·Do you know if TCI's ever bid on the keywords    20·   ·   ·the keywords "Thrive moisturizer;" correct?
      21·   ·   ·"Thrive skin care"?                                        21·   ·   · · · A.· ·Yes.
      22·   ·   · · · A.· ·I do not know that.                              22·   ·   · · · Q.· ·And it was clicked on 161 times?
      23·   ·   · · · Q.· ·On this row, with the Thrive keywords, does      23·   ·   · · · A.· ·Correct.
      24·   ·   ·TCI have any information in its possession that would      24·   ·   · · · Q.· ·Do you know when TCI started selling
      25·   ·   ·allow you to tell the dates that this keyword was used?    25·   ·   ·moisturizer?


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                                                            Page 138
      ·1· · · · · · · · · · · REPORTER'S CERTIFICATE
      ·2
      ·3· · · · · · · ·I, Nicole A. Bulldis, CCR No. 3384, Registered
      ·4· · ·Professional Reporter, certify:
      ·5· · · · · · · ·That the foregoing proceedings were taken
      ·6· · ·before me at the time and place therein set forth, at
      ·7· · ·which time the witness was put under oath by me;
      ·8· · · · · · · ·That the testimony of the witness, the
      ·9· · ·questions propounded, and all objections and statements
      10· · ·made at the time of the examination were recorded
      11· · ·stenographically by me and were thereafter transcribed;
      12· · · · · · · ·That a review of the transcript by the
      13· · ·deponent was requested;
      14· · · · · · · ·That the foregoing is a true and correct
      15· · ·transcript of my shorthand notes so taken.
      16· · · · · · · ·I further certify that I am not a relative or
      17· · ·employee of any attorney of the parties, nor financially
      18· · ·interested in the action.
      19· · · · · · · ·I declare under penalty of perjury under the
      20· · ·laws of Washington that the foregoing is true and
      21· · ·correct.
      22· · · · · · · · Dated this 27th day of July 2021.
      23
      24· · · · · · · · · · · · ·____________________________________
      · · · · · · · · · · · · · ·NICOLE A. BULLDIS, RPR, CCR No. 3384
      25




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  Depo. Ex. 45




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Brendan Gardner-Young
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                                Exhibit C




                                                           MCARTHUR OPP. 82
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  · · · · · · · · ·UNITED STATES DISTRICT COURT

  · · · · · · · · CENTRAL DISTRICT OF CALIFORNIA

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  ·   · · · THRIVE NATURAL CARE,
  ·   · · · INC.,
  ·
  ·   · · · · · · · · · ·Plaintiff,
  ·
  ·   · · · · · ·vs.· · · · · · · · · · ·No. 2:20-cv-9091-PA-AS
  ·
  ·   · · · THRIVE CAUSEMETICS,
  ·   · · · INC.,

  · · · · · · · · · · ·Defendant.
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  ·   · · · · · · · · · ·*** CONFIDENTIAL ***
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  ·   ·   ·   · · · · · · DEPOSITION OF NED MENNINGER
  ·   ·   ·   ·APPEARING REMOTELY FROM KING COUNTY, WASHINGTON
  ·   ·   ·   · · · · ·Taken on behalf of the Plaintiff
  ·   ·   ·   · · · · · · · ·*Via Videoconference*

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  · · July 13, 2021
  · · Portland, Oregon
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  · · Ariel Badenhop, CSR, RPR
  · · Court Reporter
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      ·1·   · · · · · · ·BE IT REMEMBERED that the deposition of                  ·1·   · MULTNOMAH COUNTY, OREGON; WEDNESDAY, APRIL 29, 2021
      ·2·   NED MENNINGER was taken remotely, on behalf of the                    ·2·   · · · · · · · · · · · 9:43 a.m.
      ·3·   Plaintiff, before Ariel Badenhop, Registered
                                                                                  ·3·   · · · · · · · · · · · · · ***
      ·4·   Professional Reporter and Certified Shorthand Reporter
      ·5·   No. 21005543 for Washington, on Tuesday, July                         ·4·   · · · · ·THE VIDEOGRAPHER:· We're now on the record.
      ·6·   13, 2021, in MULTNOMAH COUNTY, OREGON, commencing at                  ·5·   Participants should be aware that this proceeding is
      ·7·   the hour of 9:43 a.m.                                                 ·6·   being recorded, and as such, all conversations held
      ·8
      ·9                                                                          ·7·   will be recorded unless there is a request and
      10·   · · · · · · · · · REMOTE APPEARANCES                                  ·8·   agreement to go off the record.
      11                                                                          ·9·   · · · · ·This is the remote video recorded deposition
      12·   ·   ·   For   Plaintiff:·   ·   ·   ·STEPHEN MCARTHUR
                                                                                  10·   of Ned Menninger being taken by counsel for the
      ··    ·   ·   ··    ······        ·   ·   ·THE MCARTHUR LAW FIRM
      13·   ·   ·   ··    ······        ·   ·   ·11400 W OLYMPIC BOULEVARD        11·   plaintiff.· Today is Tuesday, July 13, 2021.· The time
      ··    ·   ·   ··    ······        ·   ·   ·SUITE 200                        12·   is now 9:43 a.m. in the Pacific Time Zone.· We are
      14·   ·   ·   ··    ······        ·   ·   ·LOS ANGELES, CA 90064            13·   here in the matter of Thrive Natural Care, Inc.,
      ··    ·   ·   ··    ······        ·   ·   ·(323) 639-4455
      15·   ·   ·   ··    ······        ·   ·   ·stephen@smcarthurlaw.com         14·   versus Thrive Causemetics, Inc.
      16                                                                          15·   · · · · ·My name is Vlad Korneychuck, remote video
      17·   ·   ·   For   Defendant:·   ·   ·   ·LAUREN DE LILLY                  16·   technician on behalf of US Legal Support.· I am not
      ··    ·   ·   ··    ······        ·   ·   ·SIDLEY AUSTIN                    17·   related to any party in this action, nor am I
      18·   ·   ·   ··    ······        ·   ·   ·555 WEST FIFTH STREET
      ··    ·   ·   ··    ······        ·   ·   ·SUITE 4000                       18·   financially interested in the outcome.
      19·   ·   ·   ··    ······        ·   ·   ·LOS ANGELES, CA 90013            19·   · · · · ·At this time, will the reporter please swear
      ··    ·   ·   ··    ······        ·   ·   ·(213) 896-6000                   20·   in the witness.
      20·   ·   ·   ··    ······        ·   ·   ·ldelilly@sidley.com
                                                                                  21·   · · · · · · · · · · · · · ***
      21
      22·   · · Videographer:· · · · VLADIMIR KORNEYCHUCK                         22·   · · · · · · · · · · ·NED MENNINGER
      ··    · · · · · · · · · · · · ·US LEGAL                                     23·   · was called as a witness on behalf of the Plaintiff
      23·   · · · · · · · · · · · · ·(503) 505-6598                               24·   · · and, being first duly sworn, was examined and
      24
      25·   · · · · · · · · · · · ·--o0o--                                        25·   · · · · · · · · ·testified as follows:

                                                                         Page 3                                                        Page 5
      ·1·   · · · · · · · · · · · ·I N D E X                                      ·1
      ·2                                                                          ·2·   · · · · · · · · · · ·EXAMINATION
      ·3·   · · · · · · ·DEPOSITION OF NED MENNINGER                              ·3·   BY MR. MCARTHUR:
      ·4·   Examination by Mr. McArthur· · · · · · · · · · · ·5                   ·4·   · · Q.· ·Mr. Menninger, will you please state your
      ·5                                                                          ·5·   full name for the record?
      ·6
                                                                                  ·6·   · · A.· ·It is Ned Anthony Menninger.
      ·7
                                                                                  ·7·   · · Q.· ·Where are you located right now?
      ·8·   ····          ··    · · · · · ·EXHIBITS
                                                                                  ·8·   · · A.· ·Sammamish, Washington.
      ·9·   ····          ··    ···················                        Page
                                                                                  ·9·   · · Q.· ·Have you ever had your deposition taken
      10·   Exhibit       37·   TCI Revenue Spread Sheet· · · · · · ·      22
      11·   Exhibit       38·   TCI Revenue Spread Sheet· · · · · · ·      31     10·   before?
      12·   Exhibit       39·   TCI Revenue Spread Sheet· · · · · · ·      42     11·   · · A.· ·Yes.
      13·   Exhibit       40·   Thrive Causemetics in Reported Talks              12·   · · Q.· ·How many times?
      ··    ····          ··    with Goldman Sachs over Buyout· · · ·      76     13·   · · A.· ·Twice.
      14                                                                          14·   · · Q.· ·Other than the 30(b)(6) deposition that we
      15·   Exhibit 41· Skin Care Sets· · · · · · · · · · · · 84                  15·   did recently, is there only one other time you've been
      16                                                                          16·   deposed?
      17                                                                          17·   · · A.· ·Yes.
      18                                                                          18·   · · Q.· ·Can you tell me about that? when that was?
      ··    · · · · · · · · · · · ·--oOo--
                                                                                  19·   · · A.· ·Approximately --
      19
                                                                                  20·   · · · · ·MS. DE LILLY:· Just give me a second.
      20
                                                                                  21·   · · · · ·Objection.· Compound.
      21
      22                                                                          22·   · · · · ·But go ahead.
      23                                                                          23·   · · · · ·THE WITNESS:· Would you restate the question,
      24                                                                          24·   please?
      25                                                                          25·   · · · · ·(Multiple people speaking simultaneously.)


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      ·1·   your attorney, are there any other documents that you    ·1·   skin care industries?
      ·2·   reviewed?                                                ·2·   · · A.· ·No.
      ·3·   · · A.· ·No.                                             ·3·   · · Q.· ·If you had no experience in the cosmetics
      ·4·   · · Q.· ·Did you speak to anyone at Thrive Causemetics   ·4·   industry, how did it come about that you became the
      ·5·   other than your attorney to prepare for this             ·5·   CFO of Thrive Causemetics?
      ·6·   deposition?                                              ·6·   · · A.· ·I was initially a contract CFO introduced via
      ·7·   · · A.· ·No.                                             ·7·   my firm at the time, which was CFO Selections, which
      ·8·   · · Q.· ·You didn't speak to Ms. Bodnar?                 ·8·   is a contract CFO company.
      ·9·   · · A.· ·I didn't.                                       ·9·   · · Q.· ·How long were you a contract CFO?
      10·   · · Q.· ·Mr. Menninger, did you go to college?           10·   · · A.· ·Approximately two years.
      11·   · · A.· ·Yes.                                            11·   · · Q.· ·After your contract CFO, what was your next
      12·   · · Q.· ·What college did you go to?                     12·   role at Thrive Causemetics?
      13·   · · A.· ·I graduated from the University of Southern     13·   · · A.· ·I was an employee CFO.
      14·   California.                                              14·   · · Q.· ·And when -- what month did that occur?
      15·   · · Q.· ·What year was that?                             15·   · · A.· ·Approximately July of 2019.
      16·   · · A.· ·1984.                                           16·   · · Q.· ·Did your day-to-day job duties and
      17·   · · Q.· ·What degree or degrees did you get from USC?    17·   responsibilities change in July 2019, or were they
      18·   · · A.· ·Bachelor of Science in business.                18·   essentially the same under a different title?
      19·   · · Q.· ·Did you go to graduate school?                  19·   · · A.· ·They changed.· As I was now a fiduciary of
      20·   · · A.· ·No.                                             20·   the company.
      21·   · · Q.· ·What was your first real job whether in         21·   · · Q.· ·Can you explain how else your job
      22·   college or after college?                                22·   responsibilities changed other than becoming a
      23·   · · A.· ·Pricewaterhouse as a staff accountant.          23·   fiduciary?
      24·   · · Q.· ·Okay.· So your first job that utilized your     24·   · · A.· ·Managing personnel, power of attorney to sign
      25·   college degree was at Pricewaterhouse?                   25·   documents and payments and standard items that would

                                                          Page 11                                                        Page 13
      ·1·   · · A.· ·Yes.                                            ·1·   be typical of a full-time employee CFO.
      ·2·   · · Q.· ·What was your next job after that?              ·2·   · · Q.· ·As a contract CFO, you didn't --
      ·3·   · · A.· ·Assistant controller for Wrinkle Free, Inc.     ·3·   · · A.· ·Not in the sense where I can't fine the
      ·4·   · · Q.· ·And after that, did you move on to --           ·4·   company.
      ·5·   · · A.· ·Yes.                                            ·5·   · · Q.· ·What does it mean exactly that you --
      ·6·   · · Q.· ·What was your job title at --                   ·6·   · · · · ·(Reporter clarification.)
      ·7·   · · A.· ·Controller and then CFO.                        ·7·   BY MR. MCARTHUR:
      ·8·   · · Q.· ·Was this your first time working as a CFO for   ·8·   · · Q.· ·What does it mean that you became a fiduciary
      ·9·   a company?                                               ·9·   of Thrive Causemetics?
      10·   · · A.· ·Yes.                                            10·   · · A.· ·That I was able to sign and bind on behalf of
      11·   · · Q.· ·Was this back in about 1989?                    11·   the company whether it were payments or contracts.
      12·   · · A.· ·'89 through '92.                                12·   · · Q.· ·Are there any other obligations that arise
      13·   · · Q.· ·Have you been a CFO or held a position at       13·   from being a fiduciary of Thrive Causemetics?
      14·   companies ever since?                                    14·   · · A.· ·As I mentioned before, I was managing and
      15·   · · A.· ·Yes.                                            15·   reviewing personnel.
      16·   · · Q.· ·You've been a CFO for over 20 years.            16·   · · Q.· ·Do you owe a fiduciary duty to Thrive
      17·   · · · · ·Is that fair?                                   17·   Causemetics?
      18·   · · A.· ·Based on that time line, yes.                   18·   · · A.· ·Yes.
      19·   · · Q.· ·And when did you begin working with Thrive      19·   · · · · ·MS. DE LILLY:· Object.· Asked and answered.
      20·   Causemetics in any capacity?                             20·   BY MR. MCARTHUR:
      21·   · · A.· ·July of 2017.· As a contract CFO.               21·   · · Q.· ·Do you own stock in Thrive Causemetics?
      22·   · · Q.· ·Before July 2017, had you ever heard of         22·   · · A.· ·No.
      23·   Thrive Causemetics?                                      23·   · · Q.· ·Is your compensation at Thrive Causemetics
      24·   · · A.· ·No.                                             24·   reliant at all on the profitability of Thrive
      25·   · · Q.· ·Did you have any experience in the makeup or    25·   Causemetics?


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      ·1·   · · A.· ·Not directly, no.                               ·1·   · · A.· ·No.
      ·2·   · · Q.· ·Is it relied indirectly on --                   ·2·   · · Q.· ·Do you know if it was more than 20 employees?
      ·3·   · · A.· ·If the company was not profitable for a         ·3·   · · A.· ·I --
      ·4·   continued period of time, there would be no funds        ·4·   · · · · ·(Multiple people speaking simultaneously.)
      ·5·   available for salary.                                    ·5·   BY MR. MCARTHUR:
      ·6·   · · Q.· ·Were you involved in the -- in Thrive           ·6·   · · Q.· ·Did TCI hire fewer than 10 employees --
      ·7·   Causemetics's decision to begin selling skin care        ·7·   · · · · ·MS. DE LILLY:· Objection.
      ·8·   products?                                                ·8·   · · · · ·THE WITNESS:· No.· Wait.· Excuse me.· Repeat
      ·9·   · · A.· ·No.                                             ·9·   the question.
      10·   · · Q.· ·Do you know who made that decision?             10·   BY MR. MCARTHUR:
      11·   · · A.· ·I do not.                                       11·   · · Q.· ·Did TCI hire fewer than 10 employees for its
      12·   · · · · ·I could only speculate.· I don't have all the   12·   skin care line division?
      13·   information in front of me at this time.                 13·   · · · · ·MS. DE LILLY:· Same objection.
      14·   · · Q.· ·Do you know when Thrive Causemetics -- I will   14·   · · · · ·THE WITNESS:· The -- excuse me.· We don't
      15·   call it TCI -- withdraw the question.                    15·   hire people specific to a launch.· We hire for the
      16·   · · · · ·Do you understand that, if I say, "TCI," I'm    16·   overall growth of the business, and at the time of the
      17·   referring to Thrive Causemetics?                         17·   launch, we didn't hire more than 10 people.
      18·   · · A.· ·Yes.                                            18·   BY MR. MCARTHUR:
      19·   · · Q.· ·Okay.· Do you know when TCI first moved into    19·   · · Q.· ·How many people at TCI, to the best of your
      20·   the skin care industry?                                  20·   knowledge, work solely on the skin care line?
      21·   · · · · ·MS. DE LILLY:· Objection.· Vague.               21·   · · A.· ·None.
      22·   · · · · ·THE WITNESS:· 2018.                             22·   · · Q.· ·Did TCI open any new physical retail
      23·   BY MR. MCARTHUR:                                         23·   locations for its skin care line?
      24·   · · Q.· ·And what was TCI's first skin care product?     24·   · · A.· ·No.· We are direct to consumer only via
      25·   · · A.· ·I don't have that information in front of me    25·   online sales.

                                                          Page 15                                                        Page 17
      ·1·   to answer.                                               ·1·   · · Q.· ·Did you have to lease or otherwise obtain new
      ·2·   · · Q.· ·You just don't remember?                        ·2·   office space for its skin care line?
      ·3·   · · A.· ·I don't specifically.                           ·3·   · · · · ·MS. DE LILLY:· Objection.· Vague.
      ·4·   · · Q.· ·When TCI moved into the skin care industry,     ·4·   · · · · ·THE WITNESS:· No.
      ·5·   did you have to build any -- for its skin care line?     ·5·   BY MR. MCARTHUR:
      ·6·   · · A.· ·No.                                             ·6·   · · Q.· ·Do you know why Ms. Bodnar would have
      ·7·   · · Q.· ·How many new employees did it hire devoted      ·7·   testified at her deposition that you were involved in
      ·8·   directly to the skin care line?                          ·8·   the decision to expand into skin care products?
      ·9·   · · · · ·MS. DE LILLY:· Objection.· Calls for            ·9·   · · · · ·MS. DE LILLY:· Objection.· Calls for
      10·   speculation.                                             10·   speculation.
      11·   · · · · ·THE WITNESS:· I don't have that information     11·   · · · · ·THE WITNESS:· I don't.
      12·   available, in front of me at this time.                  12·   BY MR. MCARTHUR:
      13·   BY MR. MCARTHUR:                                         13·   · · Q.· ·If Ms. Bodnar said that you and her were the
      14·   · · Q.· ·As the CFO of the company, you don't know how   14·   only people involved in the decision to expand into
      15·   many employees the company hired for its skin care       15·   skin care products, you don't know what she was
      16·   line division?                                           16·   referring to?
      17·   · · · · ·MS. DE LILLY:· Objection.· Argumentative and    17·   · · · · ·MS. DE LILLY:· Objection.· Asked and answered
      18·   asked and answered.                                      18·   and calls for speculation.
      19·   · · · · ·THE WITNESS:· I don't have that information     19·   · · · · ·THE WITNESS:· I was informed about the
      20·   in front of me at this time as I mentioned.              20·   decision.· But the ultimate decision was hers to make.
      21·   BY MR. MCARTHUR:                                         21·   BY MR. MCARTHUR:
      22·   · · Q.· ·You're going off of your own memory.· You       22·   · · Q.· ·And do you remember when she informed you
      23·   don't have to look at a document.                        23·   about the decision?
      24·   · · · · ·Do you know if it was more than 10 employees    24·   · · A.· ·I don't.
      25·   that TCI hired?· Was it more than 10 employees --        25·   · · Q.· ·Do you remember what your advice to her was


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      ·1·   about the decision?                                      ·1·   witnesses that TCI has hired in this litigation?
      ·2·   · · A.· ·I don't.                                        ·2·   · · A.· ·I don't know the names.
      ·3·   · · Q.· ·Would this have been in 2018 or a different     ·3·   · · Q.· ·Do you know how many expert witnesses TCI has
      ·4·   year?                                                    ·4·   hired in this litigation?
      ·5·   · · · · ·MS. DE LILLY:· Objection.· Vague.               ·5·   · · A.· ·I don't recall the specifics.
      ·6·   · · · · ·THE WITNESS:· I don't have the specific         ·6·   · · Q.· ·You are the person that TCI is responsible,
      ·7·   information on when that would have occurred.            ·7·   ultimately, for paying these outside parties; is that
      ·8·   BY MR. MCARTHUR:                                         ·8·   correct?
      ·9·   · · Q.· ·Is TCI's skin care line profitable?             ·9·   · · A.· ·Yes.
      10·   · · A.· ·Based on the information provided to you or     10·   · · Q.· ·And you don't know how many you're currently
      11·   to -- in this matter that would show that, yes, it is    11·   paying right now?
      12·   profitable.                                              12·   · · · · ·MS. DE LILLY:· Objection.· Calls for
      13·   · · Q.· ·Not based on the information that you showed    13·   speculation and asked and answered.
      14·   to me, just asking you, on your numbers and your         14·   · · · · ·THE WITNESS:· I don't have the specifics in
      15·   understanding of the company, is the skin care line      15·   front of me as to who we paid nor if there's others
      16·   profitable?                                              16·   that have -- I haven't yet been informed about.
      17·   · · A.· ·The information I provided to you are one and   17·   BY MR. MCARTHUR:
      18·   the same.· That is the -- that is our information that   18·   · · Q.· ·Other than ones that you might not have been
      19·   ties to our reported financial statements.               19·   informed about, how many are you aware of?
      20·   · · Q.· ·How do you know that the information provided   20·   · · · · ·MS. DE LILLY:· Objection.· Calls for
      21·   to Thrive Natural Care in this case regarding the        21·   speculation and asked and answered and argumentative.
      22·   revenue profitability at TCI is completely accurate?     22·   · · · · ·THE WITNESS:· I don't have the specifics in
      23·   · · A.· ·Because I ensured that all of that              23·   front of me at this time.
      24·   information tied to our reported financial statements.   24·   BY MR. MCARTHUR:
      25·   · · Q.· ·Are skin care products a major source of        25·   · · Q.· ·To be clear, is it your testimony today that

                                                          Page 19                                                        Page 21
      ·1·   TCI's revenue?                                           ·1·   you were not part of the decision for TCI to go into
      ·2·   · · A.· ·Could you clarify "major," please?              ·2·   skin care?
      ·3·   · · Q.· ·What do you understand the major source of      ·3·   · · · · ·MS. DE LILLY:· Objection.· Asked and
      ·4·   revenue to be?                                           ·4·   answered.
      ·5·   · · A.· ·They represent approximately 20 percent of      ·5·   · · · · ·THE WITNESS:· I was involved in the
      ·6·   our revenue.                                             ·6·   discussion.· But the ultimate decision was with
      ·7·   · · Q.· ·About how much of TCI's total advertising is    ·7·   Ms. Bodnar.
      ·8·   spent on skin care products?                             ·8·   BY MR. MCARTHUR:
      ·9·   · · A.· ·I don't have that information.· We don't        ·9·   · · Q.· ·Other than you and Ms. Bodnar, who else was
      10·   track it in that manner on a product basis.              10·   involved in the discussion?
      11·   · · Q.· ·In 2019 you became the CFO of TCI; right?       11·   · · A.· ·I don't recall at this time.
      12·   · · A.· ·Yes.                                            12·   · · Q.· ·What can you tell me about that discussion?
      13·   · · Q.· ·What is your job title today?                   13·   What was discussed?
      14·   · · A.· ·VP of finance.                                  14·   · · A.· ·It would have been focused on potential in
      15·   · · Q.· ·Have you had any job titles between CFO and     15·   the market, the cost of the products.· Would it be
      16·   VP of finance?                                           16·   appealing to our customers?· You know, things of that
      17·   · · A.· ·No.                                             17·   nature and primarily related to the potential, or lack
      18·   · · Q.· ·What is the difference between a CFO and a VP   18·   thereof, profitability and the ability to manufacture
      19·   of finance?                                              19·   said products.
      20·   · · A.· ·No functional difference.· You align with the   20·   · · Q.· ·Are the products manufactured in the same
      21·   other members of the management team that have been      21·   place that TCI's products are manufactured?
      22·   added.                                                   22·   · · A.· ·Generally, no.· I don't have the specifics
      23·   · · Q.· ·It's mostly just a title change?                23·   for all of them, but there is some crossover.
      24·   · · A.· ·Yes.                                            24·   · · Q.· ·Are these skin care products generally more
      25·   · · Q.· ·Are you aware of the names of any extra         25·   or less profitable than the cosmetics products?


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      ·1·   · · A.· ·Meaning, it's that the landed COGS, for         ·1·   · · Q.· ·So I'll represent this document is a
      ·2·   instance -- let's go to the Overnight Sensation.· The    ·2·   combination of Exhibit 37 plus the document you sent
      ·3·   landed COGS should be 122,881, and allocated COGS        ·3·   last night.· I replaced the first page of 37 with
      ·4·   should be 124,154.                                       ·4·   31132, which is a document you sent to us last night.
      ·5·   · · Q.· ·The allocated COGS and the landed COGS were     ·5·   So I want you to review all three pages of this, and
      ·6·   flipped between 2018 and 2020; is that correct?          ·6·   let me know whether you think that this document
      ·7·   · · A.· ·Correct.                                        ·7·   accurately reflects the revenue and costs associated
      ·8·   · · · · ·(Multiple people speaking simultaneously.)      ·8·   with TCI's skin care products.
      ·9·   BY MR. MCARTHUR:                                         ·9·   · · · · ·MS. DE LILLY:· Just to clarify, this is a
      10·   · · Q.· ·So all the totals are the same.                 10·   document that was made by combining --
      11·   · · · · ·The new spread sheet that you sent us           11·   · · · · ·(Multiple people speaking simultaneously.)
      12·   yesterday -- does that have the correct information on   12·   · · · · ·MR. MCARTHUR:· This is just the spread sheet
      13·   it?                                                      13·   that was provided last night with pages 2 and 3 from
      14·   · · A.· ·If it's what I provided to counsel, then,       14·   Exhibit 37 I just showed him.· It's three pages of the
      15·   yes.· I don't know what exactly was forwarded to you.    15·   spread sheets.· It's combined -- two documents
      16·   · · Q.· ·How did you discover this error?                16·   combined into one file.
      17·   · · A.· ·In preparation for this deposition, I was       17·   · · · · ·MS. DE LILLY:· Okay.· Thank you.
      18·   reviewing the information that had been provided and     18·   BY MR. MCARTHUR:
      19·   realized that I had swapped the columns.                 19·   · · Q.· ·Do the numbers in this exhibit look accurate
      20·   · · Q.· ·Okay.                                           20·   to you?
      21·   · · · · ·MR. MCARTHUR:· I don't believe the new          21·   · · A.· ·Yes.
      22·   document you sent was marked attorney's eyes only. I     22·   · · Q.· ·Okay.· Do you have any reason to believe any
      23·   assume that was probably an error.                       23·   of these numbers are inaccurate?
      24·   · · · · ·MS. DE LILLY:· I think it is attorney's eyes    24·   · · A.· ·No.
      25·   only.                                                    25·   · · Q.· ·Let's move back to Exhibit 37.

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      ·1·   · · · · ·MR. MCARTHUR:· Okay.· I'll treat it as such.    ·1·   · · · · ·Are you back on Exhibit 37?
      ·2·   · · · · ·MS. DE LILLY:· We are going to designate the    ·2·   · · A.· ·Yes.
      ·3·   entirety of this transcript as confidential in light     ·3·   · · Q.· ·Let's go to 30183, page 2.· Are you there?
      ·4·   of the exhibits being discussed and the testimony        ·4·   · · A.· ·Yes.
      ·5·   being elicited, but during the review period, we'll,     ·5·   · · Q.· ·So it appears to be revenue and COGS
      ·6·   obviously, adjust that designation as appropriate.       ·6·   information for Buildable Blur CC Cream between 2018
      ·7·   · · · · ·MR. MCARTHUR:· I'm going to upload Exhibit      ·7·   and 2020; is that correct?
      ·8·   38.                                                      ·8·   · · A.· ·Yes.
      ·9·   · · · · ·(ExhibitNo. 38 marked for identification.)      ·9·   · · Q.· ·And you understand that you're under oath
      10·   · · · · ·(Discussion off the record.)                    10·   right now under the penalty of perjury; right?
      11·   · · · · ·MS. DE LILLY:· This was designated as           11·   · · A.· ·Yes.
      12·   attorney's eyes only.                                    12·   · · Q.· ·It's your testimony under oath that all of
      13·   · · · · ·MR. MCARTHUR:· Great.· Then we will treat it    13·   these numbers here are 100 percent accurate and
      14·   as such.                                                 14·   correct?
      15·   · · · · ·MS. DE LILLY:· Great.· Thank you.               15·   · · A.· ·Are you referring to the CC Cream or all --
      16·   · · · · ·THE WITNESS:· I'm able to open the document     16·   when you say all --
      17·   that's labeled TCI, underscore, 00031132.                17·   · · Q.· ·30183.· I'm referring to this page.
      18·   BY MR. MCARTHUR:                                         18·   · · A.· ·I'm on the wrong page.· Excuse me.
      19·   · · Q.· ·Great.· And do you see that it is a             19·   · · · · ·As I mentioned before, the revenue is exact
      20·   three-page document?                                     20·   because that ties to Shopify, and the costs are
      21·   · · A.· ·Yes.                                            21·   allocated.· We don't report it broken out by product
      22·   · · Q.· ·That first page is 31132, the second page is    22·   in this manner for our purposes, but the sum total of
      23·   30183, and the third page is 30184.                      23·   the cost, all of them, tie to our financial
      24·   · · · · ·Do you see that?                                24·   statements.· And so I would say, yes, these numbers
      25·   · · A.· ·Yes.                                            25·   are accurate to that extent.


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      ·1·   · · A.· ·It would be the latter.· It might have          ·1·   separated from the other products if at all?
      ·2·   happened, and I don't remember.                          ·2·   · · A.· ·They are not.
      ·3·   · · Q.· ·Does TCI market its skin care products to men   ·3·   · · Q.· ·Is there any way at all to untangle
      ·4·   or only to women?                                        ·4·   individual products or categories of products from one
      ·5·   · · A.· ·It's primarily -- all of our products are       ·5·   another in this profit projection?
      ·6·   marketed to primarily women.· Although we do use male    ·6·   · · · · ·MS. DE LILLY:· Calls for speculation.
      ·7·   models at times.· The majority, vast majority, of our    ·7·   · · · · ·THE WITNESS:· I presume there's a way.· But
      ·8·   customers are women.                                     ·8·   that's not how we view it.· It's on an all up basis.
      ·9·   · · Q.· ·Are TCI's product ever marketed as unisex?      ·9·   BY MR. MCARTHUR:
      10·   · · A.· ·Not that I'm aware, no.                         10·   · · Q.· ·Are the TCI's revenue and profit projections
      11·   · · Q.· ·Are you aware of any times that Thrive          11·   for 2021 higher than they were for 2020?
      12·   Causemetics has received an inquiry from a customer      12·   · · A.· ·Yes.
      13·   related to Thrive Natural Care?                          13·   · · Q.· ·Why is that?
      14·   · · A.· ·I am not aware.                                 14·   · · A.· ·The overall growth of the business and our
      15·   · · Q.· ·Have you done revenue or profit projections     15·   increased advertising spend.
      16·   for TCI?                                                 16·   · · Q.· ·Has TCI been increasing advertising spend
      17·   · · A.· ·We have just produced this information for --   17·   every year?
      18·   · · · · ·(Multiple people speaking simultaneously.)      18·   · · A.· ·Yes.
      19·   BY MR. MCARTHUR:                                         19·   · · Q.· ·How much money does TCI plan to spend on
      20·   · · Q.· ·Have you ever done revenue or profit            20·   advertising in 2021?
      21·   projections for TCI?                                     21·   · · · · ·MS. DE LILLY:· Objection.· Calls for
      22·   · · A.· ·Yes.                                            22·   speculation.
      23·   · · Q.· ·When would you do those?                        23·   · · · · ·THE WITNESS:· The amount would be consistent
      24·   · · A.· ·We do it for budgeting purposes at the          24·   with a growth of revenue from 2020 through '21.· The
      25·   beginning of each fiscal year.                           25·   advertising spend is directly tied to our revenue --

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      ·1·   · · Q.· ·At the beginning of 2021, you did revenue and   ·1·   · · · · ·(Multiple people speaking simultaneously.)
      ·2·   profit projections for TCI; is that correct?             ·2·   BY MR. MCARTHUR:
      ·3·   · · A.· ·Yes.                                            ·3·   · · Q.· ·What percentage of TCI's revenue do you spend
      ·4·   · · Q.· ·Would that have been in January?· What month    ·4·   on advertising?
      ·5·   would that have been in?                                 ·5·   · · · · ·MS. DE LILLY:· Objection.· Vague.
      ·6·   · · A.· ·December of 2020 and January of 2021.           ·6·   · · · · ·THE WITNESS:· If you look right here in
      ·7·   · · Q.· ·These revenue and profit projections would      ·7·   roughly -- it's going to be consistent.· It's going to
      ·8·   have included revenue and profit projections for TCI's   ·8·   be between -- overall, it's going to be 50 to 52
      ·9·   skin care line; is that correct?                         ·9·   percent.
      10·   · · A.· ·Not specifically for skin care.· It would       10·   BY MR. MCARTHUR:
      11·   have been on an all up basis.                            11·   · · Q.· ·30183?
      12·   · · Q.· ·It would have included TCI's skin care          12·   · · A.· ·Yes.
      13·   products; right?                                         13·   · · Q.· ·Is there a formula that TCI uses to determine
      14·   · · A.· ·Yes.                                            14·   how much it spends on advertising?
      15·   · · Q.· ·And how far into the future did those profit    15·   · · A.· ·Yes.· We look at the return on ad spend on an
      16·   projections go?· For a single year or multiple years?    16·   all up.· We don't track it via each product, but it's
      17·   · · A.· ·Single year for 2021.                           17·   at the all up level by the channel.· When I say,
      18·   · · Q.· ·What format is the eventual work product?· An   18·   "channel," it's our -- the various social media
      19·   Excel file?· A PDF file?· What does it look like?        19·   outlets and other areas where we spend and derive
      20·   · · A.· ·Excel.· Could be presented as -- it was         20·   revenue.
      21·   Excel.                                                   21·   · · Q.· ·When you say all up level, what do you mean
      22·   · · Q.· ·There is a 2021 revenue and profit projection   22·   by the term "all up"?
      23·   for TCI's products in an Excel file; is that correct?    23·   · · A.· ·When I say -- if Thrive -- if TCI is
      24·   · · A.· ·Yes.                                            24·   generating $10 in revenue, then I would say that that
      25·   · · Q.· ·And how are skin care products in this file     25·   would be the total amount and, then, the ad spend, as


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      ·1·   we look -- we look at the profitability and look to      ·1·   · · Q.· ·Okay.· My question, Mr. Menninger, is, is
      ·2·   spend between 50 to 55 percent of that revenue on ad     ·2·   each individual entry 100 percent accurate?
      ·3·   spend in order to ensure that the business is            ·3·   · · A.· ·As I mentioned, the entries, the sum total
      ·4·   profitable.                                              ·4·   for which for the skin care and other products, tie to
      ·5·   · · Q.· ·Are you saying that 50 percent of all of        ·5·   our financials, and the allocations that are done for
      ·6·   TCI's revenue is spent on advertising?                   ·6·   purposes of this matter were done consistently across
      ·7·   · · · · ·(Multiple people speaking simultaneously.)      ·7·   all products.· And so the sum total of each of
      ·8·   · · · · ·MS. DE LILLY:· Misstates prior testimony.       ·8·   those -- of all the COGS and the revenue tie to our
      ·9·   · · · · ·THE WITNESS:· A significant amount of our       ·9·   financial statements.
      10·   revenue, yes, is spent on advertising.                   10·   · · Q.· ·I'm not asking about whether they tie to your
      11·   BY MR. MCARTHUR:                                         11·   financial statements.· I'm asking about each
      12·   · · Q.· ·Is it about 50 percent?                         12·   individual entry.
      13·   · · A.· ·Thereabouts, yes.· Probably up to 52 percent.   13·   · · · · ·Let's take SKU TSC003, Liquid Balm Lip
      14·   · · · · ·MS. DE LILLY:· We've been going over an hour    14·   Treatment, in 2020.
      15·   now.· Is it a good time to take a break?                 15·   · · · · ·Do you see that?
      16·   · · · · ·MR. MCARTHUR:· I'm good with that.              16·   · · A.· ·Yes.
      17·   · · · · ·(Recess, 11:02 a.m. to 11:19 a.m.)              17·   · · Q.· ·Okay.· Let's go to the other overhead,
      18·   · · · · ·(Exhibit No. 39 marked for identification.)     18·   $126,765.
      19·   BY MR. MCARTHUR:                                         19·   · · · · ·Do you see that?
      20·   · · Q.· ·Let me know when you are ready to answer        20·   · · A.· ·Yes.
      21·   questions about Exhibit 39.                              21·   · · Q.· ·Now, for revenue, $693,249.
      22·   · · A.· ·I've opened the file.· One page; correct?       22·   · · · · ·Under penalty of perjury, is this $693,249 --
      23·   · · Q.· ·Yes.                                            23·   is that 100 percent accurate?
      24·   · · · · ·Do you recognize this document,                 24·   · · A.· ·Yes.
      25·   Mr. Menninger?                                           25·   · · Q.· ·Okay.· For other overhead --

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      ·1·   · · A.· ·Yes.                                            ·1·   · · · · ·(Reporter clarification.)
      ·2·   · · Q.· ·What is this document?                          ·2·   BY MR. MCARTHUR:
      ·3·   · · A.· ·It is the summary of revenue and COGS for       ·3·   · · Q.· ·For other overhead, $126,765, is that number
      ·4·   each of our skin care products by SKU from inception     ·4·   100 percent accurate?
      ·5·   in 2018 through May 31st of 2021.                        ·5·   · · A.· ·Again, as I mentioned before, that's an
      ·6·   · · Q.· ·So under oath and under penalty of perjury,     ·6·   allocated cost.· We don't -- for purposes of our
      ·7·   is every single number in this document 100 percent      ·7·   internal financial statements, we don't produce a
      ·8·   accurate?                                                ·8·   similar report.
      ·9·   · · A.· ·As I mentioned before, the revenue ties         ·9·   · · Q.· ·Why is it so important to you that you tie
      10·   directly to Shopify, our e-commerce platform, and the    10·   these numbers directly to your financial statements?
      11·   COGS as have been allocated in this sheet, the total     11·   · · A.· ·To ensure that I've allocated the correct
      12·   for which tie along with other -- the other products     12·   amounts, not too much and not enough.
      13·   tie to our general ledger.                               13·   · · Q.· ·For 2021 SKU TSC002, Overnight Sensation
      14·   · · Q.· ·So my question is, under oath and the penalty   14·   Sleep Mask -- do you see that entry?
      15·   of perjury, yes or no, are these numbers accurate?       15·   · · A.· ·Yes.
      16·   · · A.· ·The totals are accurate, yes.                   16·   · · Q.· ·Why are there two entries for the same SKU
      17·   · · Q.· ·Is each individual entry -- are they 100        17·   number here?
      18·   percent accurate?                                        18·   · · A.· ·That is how it was produced in Shopify.
      19·   · · A.· ·As I mentioned, to the extent -- as they have   19·   Hence, sometimes it's -- it could be an anomaly with
      20·   been allocated, the allocation methodology is            20·   the reporting, but the sum total of the revenue
      21·   consistent for all products.                             21·   through 2021, for instance, is the 5,776 plus the
      22·   · · Q.· ·The allocation methodology is consistent for    22·   1,444.
      23·   all products.                                            23·   · · Q.· ·Why is the 1,444 in parenthesis?
      24·   · · · · ·Is that your testimony?                         24·   · · A.· ·That was when it represented returns, which
      25·   · · A.· ·Yes.                                            25·   might ordinarily have been netted out.· But Shopify


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      ·1· · · · · · ·DECLARATION UNDER PENALTY OF PERJURY

      ·2

      ·3· · · · · · I, Ned Menninger, do hereby certify under
      ·4· ·penalty of perjury that I have read the foregoing

      ·5· ·transcript of my deposition taken on 07/13/2021;

      ·6· ·that I have made such corrections as appear noted on the

      ·7· ·Deposition Errata Page, attached hereto, signed by me;

      ·8· ·that my testimony as contained herein, as corrected, is
      ·9· ·true and correct.

      10

      11· · · · · · Dated this _____ day of _________________,

      12· ·20__, at _____________________________________________,
      13· ·____________.

      14

      15

      16· · · · · · · · · · · · ·_____________________________

      17· · · · · · · · · · · · ·Ned Menninger
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  Depo. Ex. 38




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                                                                                                                        Thrive Natural Care, Inc v. Thrive Causemetics,                           Inc , Case No.2:20-cv-9091 (C.D. Cal.)




                                                                                                                                                                                        2018


      SKU              Produ<t                                                                                              Revenue             Landed    COGS        ARocated         COGS         Total    COGS          Ad Spend               Merchant    Fees        Shopity                OtilerOverhead        Total    Costs        Net income
      TSCOO2           Ove:n     ght Sensat              on Br:ghten           ng    Sicep       Mast                         $1    023.597              $122,881                 $124,154                    $247,035            $210    505                $13 887                $1    858            5.100 254             $573    538           $450 059
      Grartà   Total                                                                                                          $1,023,597                 $122,881                 $124,154                    $247,035            $210,505                   $13,887                $1,858               $100,254              $573.538              $450,059


                                                                                                                                                                                        2019


      SKU              Product                                                                                              Revenue             Landed    COGS        Allocated        COGS         Total    COGS          Ad Spend               Merchant    Fees        Shopify                Other Overlicad       Total    Costs        Net locome
      TSCOO2           Der:::ght          Se        ,al:or:    B:    ghter::rig      5       000 Mask                         $1722       961            $214,129                 $187    497                 $401626             $410    331                $19 621                $3 191               $118 SSA              $953    634           5769     327
      TSCOO3           tigt;:d   Bairi:        to     Tre alment                                                                   $473   544             $39,479                 $109    439                 $148 917            $239    503                $11 453                $1    863             $69 179              $371    114              52    430
      GrandTotal                                                                                                              $2,196,505                 $253,608                 $296,936                    $550,543            $649,834                   $31,074                $5,054               $188,244         $1,424,748                 $771757



                                                                                                                                                                                        2020


      SKU              Product                                                                                              Revenue             Landed    COGS        Allocated        COGS         Total    COGS          Ad   Sperd             Merchart    Fees        Shopify                Other Overhead        Total    Costs        Net    Irttome
      TSLOO2           Overnight          Sensation            Brightening           Sleep       Mask                         $1,904,528                 $320,386                 $268,651                    $589,037            3593,009                   $23,730                $4,416               $210,193         31,420,385                 $484,142
      TSCOO3LiquidBalmLipTreatment                                                                                                 $693,249               $61,033                 $162,020                    $223,053            $357,636                   $14,312                $2,663               $126,765$724,428($31,179)
      TSCOO4           DefyingGravityTransformingMoisturizer                                                                  $4,394,286                 $411,970                 $581,722                    $993,692          $1,284,070                   $51,385                $9,563               $455,141         $2,793,850           $1,600,436
      TSCOO5BrightBalance3-in-1Cleanser                                                                                       $2,314,120                 $219,782                 $517,218                    $737,000$1,141,685                             $45,687                $8,502               $404,672$2,337,547($23,427)
      TSCOO6           Defying     Gravity            Eye Lifting        Cream                                                $2,347,034                 $161,352                 $331,018                    $492,369            $730,675                   $29,239                $5,442               $258,989         $1,516,714                 $830,320
      TSCOO7           Liquid    Light Therapy                 All-in-One           Face Serum                                $2,982,886                 $258,364                 $333,301                    $591,665            $735,715                   $29,441                $5,479               $260,775         $1,623,075           $1,359,811
      TSCOO8           Moisture      Flash Active                   Nutrient Toner                                                 $924,832               $73,456                 $161,085                    $234,541            $355,573                   $14,229                $2,648               $126,033              $733,025              $191,807
      TSSOO2           Deluxe     Travel            Defying         Gravity Transforming                  Moisturizer              $197,039               $49,900                 $228,886                    $278,786            $505,234                   $20,218                $3,763               $179,081              $987,081             ($790,042)
      TSSOO3           Deluxe     Travel            Bright     Balance        3-in-1         Cleanser                              $176,253               $48,058                 $257,229                    $305,288            $567,798                   $22,722                $4,229               $201,257         $1,101,293                ($925,040)
      TSSOO4           Moisture-Enriched                      Hand Sanitizer                                                       $168,066               $64,344                 $379,014                    $443,358            $836,621                   $33,479                $6,231               $296,541         $1,616,230           ($1,448,164)
      TVGOO7LiquidBalmLipTreatment                                                                                            $1,177,915                 $117,989                 $313,217                    $431,206            $691,383                   $27,667                $5,149               $245,062$1,400,466($222,551)
      TVGO70           Defying Gravity Eye                    Lifting    Cream                                                $2,124,819                 $143,354                 $294,096                    $437,450            $649,175                   $25,978                $4,835               $230,101         $1,347,538                 $777,281
      TVG133           Overnight Sensation                     Gentle      Resurfacing             Peel                            $569,661               $36,359                  $54,673                     $91,032            $120,682                    $4,829                     $899             $42,776              $260,217              $309,444
      TVG134           Pumpkin       Spice Latte               Liquid     Balm       Lip      Treatment                            $616,716               $53,825                 $137,297                    $191,122            $303,064                   $12,128                $2,257               $107,421              $615,992                      $725
      TVG138   OvernightSensationBrighteningsleepMask                                                                                      $0                  $78                       $140                      $217                  $309                    $12                       $2                 $109                    $650               ($650)
      TVG1415martMicrodermabrasion2-in-1|nstantFacial                                                                                      $0                    $0                          $0                      $0                      $0                      $0                    $0                       $0$0$0
      TVG142           Defying     Gravity            Aourishing          ½and           ÷
                                                                                             tsail cream                           $194   904             $18.264                  $63.363                     $81.627            $139    865                 $5 597                $: 042                $49,575              $277,706              ($82,802)
      Grand    Total                                                                                                         $20,786,308             $2,038,515               $4,082,928                    $6,121,443          59,012,493               $360,653               $67,119                $3,194,491       $18,756,199            $2,030,109




                                                                                                                                                                          2021     -
                                                                                                                                                                                       YTD   thru May

      SKU              Product                                                                                              Revenue             Landed    COGS        Allocated        COGS         Total    COGS          Ad   Sperd             Merchart    Fees        Shopify                Other Overhead        Total    Costs        Net Income
      TSCOO2           OvernightSensationBrighteningSieepMask                                                                         $5,776                 $816                        $621                   $1,437               $1,941                     $124                      $13                 $446               $3,961                $1,815
      TSCOO2           Overnight Sensation Brightening Sleep Mask                                                                    ($1,444)                ($204)                     ($146)                    ($350)              ($472)                     ($31)                    ($3)                ($87)                ($943)                ($501)
      TSCOO4           DefyingGravityTransformingMoisturizer                                                                  $1,907,570                 $154,307                 $152,795                    $307,102            $494,233                   $31,214                $3,268               $117,574              $953,391              $954,179
      TSCOO5BrightBalance3-in-1Cleanser                                                                                            $784,544               $57,318                  $96,251$153,570$310,762                                                   $19,703                $2,054                $72,458$558,546$225,998
      TSCOO7           Liquid    Light Therapy                 All-in-One           Face Serum                                $1,068,903                  $78,588                  $71,227                    $149,815            $230,101                   $14,536                $1,522                $54,591              $450,563              $618,340
      TSC008           Moisture      Flash Active                   Nutrient Toner                                                 $420,948               $29,838                  $46,133                     $75,971            $148,647                    $9,387                     $984             $35,425              $270,413              $150,535
      TSSOO2           Deluxe     Travel            Defying         Gravity Transforming                  Moisturizer              $136,230               $16,620                  $50,749                     $67,369            $174,485                   $10,653                $1,121                $42,163              $295,790             ($159,560)
      TSSOO3           Deluxe     Travel            Bright     Balance        3-in-1         Cleanser                              $127,300               $13,309                  $47,574                     $60,883            $163,456                    $9,950                $1,052                $40,229              $275,569             ($148,269)
      TSSOO4           Moisture-Enriched                      Hand Sanitizer                                                       $125,190               $23,786                  $98,667                    $122,454            $312,860                   $20,561                $2,050                $56,989              $514,913             ($389,723)
      TSSOO5           Deluxe     Travel            Defying         Gravity    Eye Lifting         Cream                           $293,360               $34,292                  $56,734                     $91,026            $190,978                   $11,481                $1,244                $51,177              $345,907              ($52,547)
      TVGOO7LiquidBalmLipTreatment                                                                                                 $899,626               $72,939                 $143,039                    $215,978            $445,690                   $28,151                $2,926                $95,217$787,962$111,664
      TVGO70           Defying Gravity Eye                    Lifting    Cream                                                $3,396,288                 $189,062                 $268,839                    $457,901            $881,290                   $55,097                $5,828               $221,349         $1,621,465           $1,774,823
      TVG133           Overnight Sensation                     Gentle      Resurfacing             Peel                            $915,802               $54,970                  $57,757                    $112,727            $186,920                   $11,870                $1,233                $42,904              $355,654              $560,148
      TVG134           Pumpkin       Spice Latte               Liquid     Balm       Lip      Treatment                              ($1,920)                 ($85)                     ($144)                    ($230)              ($494)                     ($32)                    ($3)                ($88)                ($848)              ($1,072)
      TVG136           Sunproofâ,,ClntensiveLipBalmSPF24                                                                           $217,980               $16,070                  $41,667                     $57,737            $150,613                    $9,043                $1,019                $53,389              $271,801              ($53,821)
      TVG137           Sunproofâ,,ClntensiveLipBalmSPF24                                                                           $217,926               $16,066                  $41,657                     $57,723            $150,575                    $9,041                $1,019                $53,376              $271,733              ($53,807)
      TVG138           OvernightSensationBrighteningSleepMask                                                                      $393,262               $32,110                  $41,109                     $73,219            $131,104                    $8,392                     $866             $28,823              $242,403              $150,859
      TVG138           Overnight Sensation Brightening   Sleep Mask 1.7                                       oz                      $1,520                 $124                        $142                      $266                  $493                    $31                       $3                  $85                    $878                   $642
      TVG141           Smart Microdermabrasion 2-in-1 Instant Facial                                                               $801,944               $51,055                  $76,880                    $127,934            $236,561                   $14,621                $1,567                $57,350              $438,034              $363,910
      TVG142           Defying Gravity Nourishing   Hand + Nail Cream                                                              $215,748               $19,333                  $47,118                     $66,451            $152,024                    $9,662                     $999             $33,768              $262,904              ($47,156)
      Grand    Total                                                                                                         $11,926,553                 $860,315             $1,338,661                    $2,198,982          $4,361,765               $273,453               $28,162                51,057,135         $7,92(1,(198             $4,006,455




                                                                                                                                                                                                                                                                                                                       EXHIBIT
                                                                                                                                                                                                                                                                                                                       EXHIBIT 38
                                                                                                                                                                                                                                                                                                                        Witness:
                                                                                                                                                                                                                                                                                                                        Witness: N.
                                                                                                                                                                                                                                                                                                                                 N. Menninger
                                                                                                                                                                                                                                                                                                                        Date:
                                                                                                                                                                                                                                                                                                                        Date: 7/13/21



                                                                                                                                                                                                                                                                                                MCARTHUR OPP. 93
CONFIDENTIAL              -
                                 ATTORNEYS EYES ONLY                                                                                                                                                                                                                                                                                          TCl_00031132
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                                                          Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)




                                                                                                     2018




      TCCOO1       Buildable Blur   CC   Cream                        $151,468         $13,911       $17,503        $31,415          $43,576         $2,875         $385            $20,753         $99,003              $52,465
      TCC002       Buildable Blur   CC   Cream                        $289,750         $26,611       $33,483        $60,094          $83,358         $5,499         $736            $39,700        $189,387             $100,363
      TCCOO3       Buildable Blur   CC   Cream                        $944,946         $86,786      $109,197       $195,982         $271,852        $17,933        $2,399          $129,470        $617,637             $327,309
      TCC004       Buildable Blur   CC   Cream                        $743,128         $68,250       $85,875       $154,125         $213,791        $14,103        $1,887          $101,818        $485,724             $257,404
      TCCOO5       Buildable Blur   CC   Cream                        $441,142         $40,515       $50,978        $91,493         $126,912         $8,372        $1,120           $60,442        $288,340             $152,802
      TCC006       Buildable Blur   CC   Cream                        $646,760         $59,400       $74,739       $134,138         $186,067        $12,274        $1,642           $88,615        $422,736             $224,024
      TCCOO7       Buildable Blur   CC   Cream                        $120,954         $11,109       $13,977        $25,086          $34,797         $2,296         $307            $16,572         $79,058              $41,896
      TCC008       Buildable Blur   CC   Cream                        $158,346         $14,543       $18,298        $32,841          $45,555         $3,005         $402            $21,696        $103,498              $54,848
      TCCOO9       Buildable Blur   CC   Cream                         $48,830          $4,485        $5,643        $10,127          $14,048           $927         $124             $6,690         $31,916              $16,914
      TCC010       Buildable Blur   CC   Cream                         $30,400          $2,792        $3,513         $6,305           $8,746           $577          $77             $4,165         $19,870              $10,530
      TCC011       Buildable Blur   CC   Cream                         $25,004          $2,296        $2,889         $5,186           $7,193           $475          $63             $3,426         $16,343               $8,661
      TCC012       Buildable Blur   CC   Cream                         $10,754            $988        $1,243         $2,230           $3,094           $204          $27             $1,473          $7,029               $3,725
      TCC013       Buildable Blur   CC   Cream                          $3,306            $304         $382            $686            $951             $63              $8            $453          $2,161               $1,145
      TCC014       Buildable Blur   CC   Cream                         $10,678            $981        $1,234         $2,215           $3,072           $203          $27             $1,463          $6,979               $3,699
      TCC015       Buildable Blur   CC   Cream                         $11,552          $1,061        $1,335         $2,396           $3,323           $219          $29             $1,583          $7,551               $4,001
      TCC016       Buildable Blur   CC   Cream                          $4,446            $408         $514            $922           $1,279            $84          $11               $609          $2,906               $1,540
      TCC017       Buildable Blur   CC   Cream                          $2,014            $185         $233            $418            $579             $38              $5            $276          $1,316                $698
      TCC019       Buildable Blur   CC   Cream                            $950            $87          $110            $197            $273             $18              $2            $130              $621              $329
      GrandTotal                                                     $3,644,428       $334,712      $421,145       $755,857    $1,048,467           $69,165       $9.252           $499,335     $2,382,076          $1,262,352



                                                                                                     2019


      SKU          Product                                          Revenue       LandedCOGS   Allocated COGS   Total COGS     Ad   Spend      Merchant Fees   Shopify        Other Overhead   Total   Costs      Net   Income
      1CCOO1       BuildabieBlurCCCream                               $252,320         522,935        $26,956        $49,890         586,597         $4,141         5673             $25,085      $166,387               585,933
      TCCOO2       Buildable Blur CC Cream                            $455,524         $47,313        $55,608      $102,921         $178,645         $8,543        $1,389            $51,750      $343,248              $112,276
      TCC003       Buildable Blur CC Cream                          $1,703,424        $218,459       $256,760      $475,219         $824,861        $39,444        $6,415           $238,945     $1,584,884             $118,540
      TCCOO4       Buildable Blur CC Cream                          $1,182,510        $143,842       $169,061      $312,903         $543,122        $25,971        $4,224           $157,331     $1,043,551             $138,959
      TCC005       Buildable Blur CC Cream                            $636,836         $76,064        $89,400      $165,464         $287,204        $13,734        $2,234            $83,197      $551,833               $85,003
      TCCOO6       Buildable Blur CC Cream                          $1,012,178        $119,270       $140,181      $259,451         $450,343        $21,535        $3,502           $130,455      $865,286              $146,892
      TCC007       Buildable Blur CC Cream                            $201,940         $22,900        $26,915        $49,815         $86,466         $4,135         $672             $25,048      $166,136               $35,804
      TCC008       Buildable Blur CC Cream                            $265,544         $24,137        $28,368        $52,505         $91,135         $4,358         $709             $26,400      $175,107               $90,437
      TCC009       Buildable Blur CC Cream                             $82,878          $7,533         $8,854        $16,387         $28,444         $1,360         $221              $8,240        $54,652              $28,226
      TCC010       Buildable Blur CC Cream                             $40,888          $3,717         $4,368         $8,085         $14,033           $671         $109              $4,065        $26,963              $13,925
      TCC011       Buildable Blur CC Cream                             $37,772          $3,433         $4,035         $7,468         $12,963           $620         $101              $3,755        $24,908              $12,864
      TCC012       Buildable Blur CC Cream                             $14,630          $1,330         $1,563         $2,893          $5,021           $240          $39              $1,454         $9,647               $4,983
      TCC013       Buildable Blur CC Cream                              $5,168            $470           $552         $1,022          $1,774            $85          $14                $514         $3,408               $1,760
      TCC014       Buildable Blur CC Cream                             $18,164          $1,651         $1,940         $3,591          $6,234           $298          $48              $1,806        $11,978               $6,186
      TCC015       Buildable Blur CC Cream                             $19,722          $1,793         $2,107         $3,900          $6,769           $324          $53              $1,961        $13,005               $6,717
      TCC016       Buildable Blur CC Cream                              $4,598            $418           $491           $909          $1,578            $75          $12               $457          $3,032               $1,566
      TCC017       Buildable Blur CC Cream                              $3,040            $276           $325           $601          $1,043            $50              $8            $302          $2,005               $1,035
      lCC019       BuddableblurCCCream                                    $532            $48            $57           $109            $183              $9              $1             $53               $391.            $181
      GlandTotal                                                     $5,937,668       $695,587      $817,542     $1,513,130    $2,626,416          $125,591      $20,426           $760,818     $5,046,380              $891,288


                                                                                                     2020


      SKU          Ploduct                                          Revenue       LandedCOGS   Allocated COGS   Total COGS     Ad   Spend      Merchant Fees   Shoptfy        Other Overhead   Total   Costs      Net   income
      1CCOO1       BuildableBlurCCCream                               $269,918         $26,795        $30,688        $57,483         $93,602         $3,746         $697             $33,177      $188,705               $81,213
      TCC002       Buildable Blur CC Cream                            $569,609         $58,601        $67,115      $125,716         $204,708         $8,192        $1,525            $72,559      $412,700              $156,909
      TCCOO3       Buildable Blur CC Cream                          $2,683,817        $265,358       $303,912      $569,270         $926,964        $37,094        $6,903           $328,564     $1,868,796             $815,021
      TCC004       Buildable Blur CC Cream                          $1,743,290        $172,000       $196,989      $368,989         $600,839        $24,044        $4,475           $212,968     $1,211,315             $531,976
      TCCOO5       Buildable Blur CC Cream                          $1,038,750        $102,579       $117,482      $220,061         $358,334        $14,339        $2,669           $127,012      $722,414              $316,336
      TCC006       Buildable Blur CC Cream                          $1,555,108        $152,198       $174,310      $326,508         $531,666        $21,276        $3,959           $188,450     $1,071,858             $483,250
      TCCOO7       Buildable Blur CC Cream                            $302,334         $29,998        $34,357        $64,355        $104,791         $4,193         $780             $37,143      $211,263               $91,071
      TCC008       Buildable Blur CC Cream                            $274,893         $26,855        $30,757        $57,613         $93,813         $3,754         $699             $33,252      $189,131               $85,763




                                                                                                                                                                                  MCARTHUR OPP. 94
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                       ATTORNEYS EYES ONLY                                                                                                                                                                                 TCl_00030183
                                          Case 2:20-cv-09091-PA-AS Document 89-2 Filed 09/21/21 Page 95 of 95 Page ID #:4526
                                                          Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)



      TCC009       Buildable Blur   CC   Cream                         $95,382          $9,264            $10,610           $19,873          $32,361         $1,295         $241            $11,470            $65,240          $30,142
      TCC010       Buildable Blur   CC   Cream                         $42,713          $4,239             $4,855            $9,095          $14,809           $593         $110             $5,249            $29,857          $12,856
      TCC011       Buildable Blur   CC   Cream                         $43,358          $4,310             $4,936            $9,246          $15,056           $602         $112             $5,336            $30,353          $13,006
      TCC012       Buildable Blur   CC   Cream                         $13,133          $1,325             $1,517            $2,842           $4,628           $185          $34             $1,640             $9,330           $3,803
      TCC013       Buildable Blur   CC   Cream                          $6,501            $647              $741             $1,389           $2,261            $90          $17               $802             $4,559           $1,942
      TCC014       Buildable Blur   CC   Cream                         $10,426          $1,053             $1,206            $2,259           $3,679           $147          $27             $1,304             $7,417           $3,009
      TCC015       Buildable Blur   CC   Cream                         $12,366          $1,281             $1,467            $2,749           $4,476           $179          $33             $1,586             $9,023           $3,343
      TCC016       Buildable Blur   CC   Cream                          $4,151            $423              $484               $907           $1,476            $59          $11               $523             $2,976           $1,175
      TCC017       Buildable Blur   CC   Cream                          $2,323            $231              $265               $496            $808             $32              $6            $287             $1,630            $693
      lcC019BadableslurCCCream                                            $260            $27                  $31              GSS             $94              Sa              $1             $33$189                            $

      GlandTotal                                                     $8,668,333       $857,185           $981,723         $1,838,908   $2,994,365          $119,826      $22,300         $1,061,357     $6,036,756        $2,631,577


                                                                                                 2021-   YTD   thru May



      SKU          Pioduct                                          Revenue       LandedCOGS   Allocated COGS         Total COGS       Ad   Spend      Merchant Fees   Shoptfy        Other Overhead   Total   Costs     Net   income
      1CCOO1       BuildableBlurCCCream                                $71,668          $6,326         $7,512              $13,837           $23,556         $1,561         $155              $4,289        $43,399             $28,269
      TCC002       Buildable Blur CC Cream                            $224,922         $19,852        $24,365              $44,217           $74,869         $4,866         $497             $15,107       $139,557             $85,365
      TCCOO3       Buildable Blur CC Cream                          $1,018,210         $89,870       $101,166            $191,037           $333,413        $21,475       $2,221             $79,655       $627,800            $390,410
      TCC004       Buildable Blur CC Cream                            $694,488         $61,298        $75,078            $136,375           $231,415        $14,968       $1,537             $48,183       $432,479            $262,009
      TCCOO5       Buildable Blur CC Cream                            $379,734         $33,517        $37,858              $71,375          $124,358         $8,027         $829             $29,541       $234,130            $145,604
      TCC006       Buildable Blur CC Cream                            $660,402         $58,289        $65,585            $123,874           $216,751        $13,834       $1,449             $54,983       $410,890            $249,512
      TCCOO7       Buildable Blur CC Cream                            $241,034         $21,274        $26,346              $47,620           $82,171         $5,160         $539             $17,849       $153,340             $87,694
      TCC008       Buildable Blur CC Cream                             $34,162          $3,015         $3,317               $6,332           $11,097           $725          $71              $1,947        $20,172             $13,990
      TCCOO9       Buildable Blur CC Cream                            $108,528          $9,579        $10,922              $20,501           $36,365         $2,249         $241              $9,751        $69,107             $39,421
      TCC010       Buildable Blur CC Cream                             $24,396          $2,153         $2,540               $4,693            $8,177           $514          $54              $1,996        $15,434              $8,962
      TCC011       Buildable Blur CC Cream                             $25,004          $2,207         $2,555               $4,762            $8,378           $524          $55              $2,089        $15,808              $9,196
      TCC012       Buildable Blur CC Cream                              $6,688            $590           $683               $1,274            $2,230           $141          $15               $528          $4,188              $2,500
      TCC013       Buildable Blur CC Cream                              $3,306            $292           $343                 $634            $1,110            $69              $7            $265          $2,087              $1,219
      TCC014       Buildable Blur CC Cream                              $5,054            $446           $527                 $973            $1,694           $107          $11               $399          $3,184              $1,870
      TCC015       Buildable Blur CC Cream                              $5,092            $449           $526                 $975            $1,703           $107          $11               $406          $3,202              $1,890
      TCC016       Buildable Blur CC Cream                              $1,786            $158           $184                 $342             $594             $38              $4            $138          $1,116               $670
      TCC017       Buildable Blur CC Cream                               $684             $60                  $69            $130             $231             $14              $1             $54              $430             $254
      TCC019       Buildable Blur CC Cream                                $570            $50                  $58            $108             $190             $12              $1             $52              $363             $207
      GrandTotal                                                     $3,505,728       $309,427           $359,633          $669,D6D    $1,158,303           $74,391       $7.700           $267,232     $2,176,655         $1,329,043




                                                                                                                                                                                          MCARTHUR OPP. 95
CONFIDENTIAL       -
                       ATTORNEYS EYES ONLY                                                                                                                                                                                        TCl_00030184
